         Case: 21-4072   Document: 52     Filed: 08/22/2023   Page: 1




           No. 21-4072 (consolidated with Nos. 22-3351, 23-3196,
                     23-3324, 23-3366, and 23-3417)

                  UNITED STATES COURT OF APPEALS
                       FOR THE SIXTH CIRCUIT

     DAYTON POWER & LIGHT COMPANY, dba AES OHIO, ET AL.,
                        Petitioners,
                                    v.
           FEDERAL ENERGY REGULATORY COMMISSION,
                         Respondent.


             ON PETITIONS FOR REVIEW OF ORDERS OF
          THE FEDERAL ENERGY REGULATORY COMMISSION



    OPENING BRIEF OF INTERVENOR BUCKEYE POWER, INC.
                IN SUPPORT OF PETITIONER
        OFFICE OF THE OHIO CONSUMERS’ COUNSEL


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                     Case: 21-4072          Document: 52           Filed: 08/22/2023         Page: 2

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 21-4072 (L)                          Case Name: Dayton Power & Light, et al. v. FERC
 Name of counsel: Cynthia S. Bogorad

 Pursuant to 6th Cir. R. 26.1, Buckeye Power, Inc.
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:
  Proposed Intervenor Buckeye Power, Inc. states that it is a non-profit generation and
  transmission cooperative, owned and governed by its member distribution cooperatives, which
  are in turn each Ohio non-profit cooperatives owned by their retail member-consumers.
  Buckeye Power, Inc. has no parent corporation, and no publicly held corporation has a 10% or
  greater ownership interest in Buckeye Power, Inc.



 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  This case affects wholesale electric transmission rates of the Dayton Power & Light
  Company; the Ohio affiliates of American Electric Power Service Corporation; Duke Energy
  Ohio, LLC; and the American Transmission Systems, Inc. As a result, all wholesale
  customers may be affected by the outcome. Buckeye does not have specific information
  about other wholesale customers that maybe affected.




                                             CERTIFICATE OF SERVICE

                                 August 22, 2023
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Cynthia S. Bogorad




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




6CA-1
8/08                                                          i
                 Case: 21-4072             Document: 52            Filed: 08/22/2023             Page: 3




                                          TABLE OF CONTENTS

                                                                                                                      Page

Corporate Disclosure Statement ................................................................................ i

Table of Contents ...................................................................................................... ii

Table of Authorities ................................................................................................. iv

Statement in Support of Oral Argument ....................................................................1
Introduction ................................................................................................................1

Jurisdictional Statement .............................................................................................2
Issues Presented .........................................................................................................3

Statement of the Case.................................................................................................3
Summary of the Argument.........................................................................................3
Argument....................................................................................................................5

I.       Standard of Review..........................................................................................5
II.      FERC’s conclusion that OCC failed to demonstrate that Duke’s and
         ATSI’s rates are unjust and unreasonable is arbitrary, capricious, and
         contrary to law. ................................................................................................6

         A.        Duke’s rate includes a 50-basis point RTO Adder. ..............................7

         B.        ATSI’s rate includes a 50-basis point RTO Adder. ..............................8

         C.        OCC sufficiently demonstrated that Duke’s and ATSI’s rates
                   are unjust and unreasonable because they include unjustified
                   RTO Adders. .......................................................................................10




                                                             ii
                 Case: 21-4072             Document: 52              Filed: 08/22/2023             Page: 4




III.     FERC’s decision to allow Duke and ATSI to retain RTO Adders for
         which they do not qualify is arbitrary, CAPRICIOUS, and contrary to
         law. .................................................................................................................13

         A.        FERC failed to provide a reasoned basis for allowing Duke and
                   ATSI to retain RTO Adders because they were initially
                   approved in settlement packages. ........................................................13
         B.        FERC’s policy argument about encouraging settlements is not a
                   reasoned or principled basis for immunizing Duke and ATSI. ..........17
Conclusion ...............................................................................................................21

Certificate of Compliance with Type-Volume Limit ..............................................23

Certificate of Service ...............................................................................................24
Addendum

Index for Addendum




                                                              iii
                Case: 21-4072           Document: 52           Filed: 08/22/2023           Page: 5




                                     TABLE OF AUTHORITIES

                                                                                                               Page

FEDERAL COURT CASES

Boston Edison Co. v. FERC, 856 F.2d 361 (1st Cir. 1988) .....................................18

Canadian Ass’n of Petroleum Producers v. FERC,
     254 F.3d 289 (D.C. Cir. 2001).......................................................................16

Emera Me. v. FERC, 854 F.3d 9 (D.C. Cir. 2017) ............................................11, 12

FERC v. Elec. Power Supply Ass’n, 577 U.S. 260 (2016) ....................................... 5

Int’l Transmission Co. v. FERC, 988 F.3d 471(D.C. Cir. 2021) .............................19

Michigan v. Thomas, 805 F.2d 176 (6th Cir. 1986) ................................................16

MISO Transmission Owners v. FERC, 45 F.4th 248 (D.C. Cir. 2022) ..................... 8

Mont.-Dakota Utils. Co. v. Nw. Pub. Serv. Co., 341 U.S. 246 (1951) ....................14

Morgan Stanley Cap. Grp. Inc. v. Pub. Util. Dist. No. 1 of Snohomish Cty.,
     554 U.S. 527 (2008).........................................................................................5

Office of Consumers’ Counsel, State of Ohio v. FERC, 783 F.2d 206
      (DC Cir. 1986) ...............................................................................................20

Pac. Gas & Elec. v. FERC, 306 F.3d 1112 (D.C. Cir. 2002) ..................................12

Papago Tribal Util. Auth. v. FERC, 723 F.2d 950 (D.C. Cir. 1983).......................19

PPL Wallingford Energy LLC v. FERC, 419 F.3d 1194 (D.C. Cir. 2005) .............. 16

SEC v. Chenery Corp., 318 U.S. 80 (1943) ............................................................... 9




                                                         iv
                Case: 21-4072           Document: 52           Filed: 08/22/2023           Page: 6




FEDERAL AGENCY CASES
Ass’n of Businesses Advocating Tariff v. Midcontinent Indep. Sys.
      Operator, Inc., 173 FERC ¶ 61,159 (2020)...............................................9, 15

Constellation Mystic Power, LLC., 176 FERC ¶ 61,019,
      order set aside in part, 177 FERC ¶ 61,106 (2021),
      modified on reh’g, 178 FERC ¶ 61,116 (2022) .........................................9, 15

DATC Path 15, LLC., 177 FERC ¶ 61,115 (2021) ..............................................9, 15

Duke Energy Ohio, Inc., 151 FERC ¶ 61,029 (2015) ................................................ 7

Electric Transmission Incentives Policy Under Section 219 of the
      Federal Power Act, Supplemental Notice of Proposed Rulemaking,
      175 FERC ¶ 61,035 (2021) .............................................................................. 4

The Dayton Power & Light Co., 176 FERC ¶ 61,025 (2021),
     reh’g denied, 178 FERC ¶ 61,102 (2022) ....................................................... 1

Off. of the Ohio Consumers’ Couns. v. Am. Elec. Power Serv. Corp., et al.,
       181 FERC ¶ 61,214 (2022) ......................................... 2, 4, 6, 9, 10, 12, 13, 15

Off. of the Ohio Consumers’ Couns. v. Am. Elec. Power Serv. Corp.,
       183 FERC ¶ 61,034 (2023) ................. 2, 6, 7, 8, 10, 11, 13, 14, 15, 16, 17, 20

N. C. Eastern Mun. Power Agency v. Duke Energy Progress, LLC, 172 FERC
      ¶ 61,030 (2020) ..............................................................................................19

Pac. Gas & Elec. Co., 178 FERC ¶ 61,175 (2022) ............................................9, 15

PJM Interconnection, L.L.C., 153 FERC ¶ 61,106 (2015) ........................................ 8

PJM Interconnection, L.L.C., 152 FERC ¶ 63,020 (2015) ........................................ 8

PJM Interconnection, L.L.C., Docket No. ER15-303-002 (Mar. 11, 2016)
     (delegated order) ..............................................................................................8




                                                          v
                Case: 21-4072            Document: 52           Filed: 08/22/2023           Page: 7




FEDERAL STATUTES
5 U.S.C. § 706(2)(A)..................................................................................................6

16 U.S.C. § 796(29) ...................................................................................................1

16 U.S.C. § 824d ............................................................................................3, 13, 20

16 U.S.C. 824e .........................................................................................3, 19, 20, 22

16 U.S.C. § 824e(a)..................................................................................................20

16 U.S.C. § 824s ................................................................................................13, 20

16 U.S.C. § 824s(d)..................................................................................................11

FEDERAL REGULATIONS
18 C.F.R. § 35.35(e)...................................................................................3, 6, 11, 13




                                                          vi
           Case: 21-4072     Document: 52     Filed: 08/22/2023   Page: 8




            STATEMENT IN SUPPORT OF ORAL ARGUMENT

      Buckeye requests oral argument for the reasons set forth in the July 31, 2023

Opening Brief of Petitioner Office of the OCC. 1

                                 INTRODUCTION

      These consolidated cases involve petitions for review of two sets of Federal

Energy Regulatory Commission (“FERC” or the “Commission”) orders. Both

center on FERC’s decisions concerning a fifty-basis point increase to the return on

equity (“ROE”) component of certain utilities’ FERC-jurisdictional rates. This

increase is meant to induce entities to join a Transmission Organization 2 and is

referred to as an “RTO Adder.”

      The first set of petitions challenges FERC’s denial of a filing by the Dayton

Power & Light Company (“Dayton”) seeking an RTO Adder. The Dayton Power

& Light Co., 176 FERC ¶ 61,025 (2021) (JA____), reh’g denied, 178 FERC

¶ 61,102 (2022) (JA____). FERC found that (1) entities must voluntarily join a

Transmission Organization to be eligible for an RTO Adder; and (2) Ohio law


1
 Opening Br. of Pet’ Off. of the Ohio Consumers’ Couns. in Nos. 23-3324 and 23-
3417, 6th Cir. No. 21-4072, ECF 47 (“OCC Br.”).
2
  Transmission Organization is defined in the Federal Power Act to include
Regional Transmission Organization (“RTO”): “The term ‘Transmission
Organization’ means a Regional Transmission Organization, Independent System
Operator, independent transmission provider, or other transmission organization
finally approved by the Commission for the operation of transmission facilities.”
16 U.S.C. § 796(29).

                                          1
           Case: 21-4072    Document: 52     Filed: 08/22/2023   Page: 9




mandates Ohio transmission owners, like Dayton, to join such organizations. The

second set of petitions involves FERC’s orders on a complaint filed by the Office

of the Ohio Consumers’ Counsel (“OCC”) seeking to remove the RTO Adders

from the existing rates of the Ohio affiliates of American Electric Power (“AEP”),

Duke Energy Ohio, LLC (“Duke”), and American Transmission Systems, Inc.

(“ATSI”). Off. of the Ohio Consumers’ Couns. v. Am. Elec. Power Serv. Corp., et

al., 181 FERC ¶ 61,214 (2022) (“OCC Complaint Order”) (JA____), reh’g denied,

183 FERC ¶ 61,034 (2023) (“OCC Complaint Rehearing Order”) (JA____). In

those orders, FERC (1) granted OCC’s Complaint with respect to AEP, and

(2) denied OCC’s Complaint with respect to Duke and ATSI.

      This Brief is submitted by Intervenor Buckeye Power, Inc. (“Buckeye”) in

support of OCC’s Petitions for Review (Nos. 23-3324 and 23-3417) of FERC’s

denial of OCC’s Complaint with respect to Duke and ATSI in the OCC Complaint

Order and OCC Complaint Rehearing Order (collectively the “Orders”). 3

                      JURISDICTIONAL STATEMENT

      Buckeye adopts the jurisdictional statement set forth in Petitioner OCC’s

Opening Brief with the following additional facts. Intervenor Buckeye filed timely



3
  Buckeye has separately intervened in support of FERC in the cases involving
AEP’s Petitions for Review of FERC’s granting of the OCC Complaint with
respect to AEP, and arguments in support of FERC on those issues will be
addressed in a later intervenor brief in support of FERC.

                                         2
           Case: 21-4072    Document: 52     Filed: 08/22/2023   Page: 10




motions to intervene in No. 23-3196 on April 6, 2023; in No. 23-3324 on April 28,

2023; in No. 23-3366 on May 24, 2023; and in No. 23-3417 on May 24, 2023.

Those motions were granted on August 9, 2023. On July 12, 2023, this Court

granted the joint motion to consolidate Nos. 21-4072, 22-3351, 23-3196, 23-3324,

23-3366, and 23-3417.

                              ISSUES PRESENTED

      Buckeye adopts the Statement of Issues set forth in Petitioner OCC’s

Opening Brief.

                           STATEMENT OF THE CASE

      Buckeye adopts the Statement of the Case set forth in Petitioner OCC’s

Opening Brief.

                      SUMMARY OF THE ARGUMENT

      FERC’s statutory mandate is to ensure that rates subject to its jurisdiction

are just, reasonable, and not unduly discriminatory. 16 U.S.C. § 824d, 824e. In

certain circumstances, FERC allows utilities to increase the return on equity

component of their rates above what FERC “might otherwise allow” as an

incentive for joining a Transmission Organization. 18 C.F.R. § 35.35(e) (codifying

rules implementing 16 U.S.C. § 824s).4 To qualify for this incentive-based rate


4
 Although the regulation does not specify the amount of this increase in return on
equity, FERC’s longstanding practice is to allow for an increase of 50 basis points


                                         3
           Case: 21-4072    Document: 52      Filed: 08/22/2023   Page: 11




treatment, known as an RTO Adder, FERC “requires a showing of voluntary

membership in a Transmission Organization.” OCC Complaint Order P 63

(JA____) (emphasis added). Because transmission owners in Ohio “are required to

join a Transmission Organization under Ohio law,” FERC ruled that Dayton and

AEP cannot increase their rates above what would otherwise be allowed, through

an RTO Adder. Id. (JA____) (emphasis added).

      FERC, however, denied OCC’s Complaint with respect to Duke and ATSI,

allowing them to continue charging RTO Adders in their rates. It did so despite

acknowledging, and making no findings contrary to, the premise of OCC’s

Complaint: that Duke’s and ATSI’s rates contain RTO Adders, and that Duke and

ATSI do not qualify for RTO Adders. The two reasons FERC gave for allowing

Duke and ATSI to continue to charge inflated rates fall short of FERC’s obligation

to engage in reasoned and principled decision making.

      First, FERC claims that OCC failed to show that Duke’s and ATSI’s rates

are unjust and unreasonable. But OCC did show that Duke and ATSI do not

qualify for the RTO Adder, and that they nevertheless include it in their rates,

costing customers dearly. FERC’s claim that OCC had to further demonstrate that




(0.50%). See Electric Transmission Incentives Policy Under Section 219 of the
Federal Power Act, Supplemental Notice of Proposed Rulemaking, 175 FERC
¶ 61,035, PP 2, 5, 12 (2021).

                                          4
           Case: 21-4072     Document: 52      Filed: 08/22/2023   Page: 12




the overall return on equity components of Duke’s and ATSI’s rates was outside of

a zone of reasonableness is internally inconsistent and contrary to precedent.

      Second, FERC emphasized that Duke’s and ATSI’s rates were approved as

part of settlement packages. While true, that is not a basis for allowing Duke and

ATSI to continue to charge unjust and unreasonable rates. Neither the statute nor

FERC’s regulations support FERC’s conclusion, and FERC’s claim that it did not

authorize Duke’s and ATSI’s RTO Adders is incorrect and contrary to multiple

prior FERC orders. FERC’s cursory reliance on a general policy of encouraging

settlements is also insufficient, as FERC neither explains its reasoning nor engages

with the specific settlement agreements at issue.

      Accordingly, FERC’s denial of OCC’s Complaint with respect to Duke and

ATSI should be vacated and remanded.

                                    ARGUMENT

I.    STANDARD OF REVIEW

      The FERC Orders on review are subject to the Administrative Procedure

Act’s arbitrary and capricious standard of review, and a reviewing court cannot

uphold a FERC order unless “the agency has ‘examine[d] the relevant

[considerations] and articulate[d] a satisfactory explanation for its action[,]

including a rational connection between the facts found and the choice made.’”

FERC v. Elec. Power Supply Ass’n, 577 U.S. 260, 292 (2016) (quoting Morgan



                                           5
             Case: 21-4072   Document: 52    Filed: 08/22/2023   Page: 13




Stanley Cap. Grp. Inc. v. Pub. Util. Dist. No. 1 of Snohomish Cty., 554 U.S. 527,

532 (2008)). FERC’s Orders cannot stand to the extent that they are “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A).

II.   FERC’S CONCLUSION THAT OCC FAILED TO DEMONSTRATE
      THAT DUKE’S AND ATSI’S RATES ARE UNJUST AND
      UNREASONABLE IS ARBITRARY, CAPRICIOUS, AND
      CONTRARY TO LAW.

      The RTO Adder at issue in this case is “incentive-based rate treatment” that,

as defined in FERC’s regulations, provides for “a return on equity that is higher

than the return on equity the Commission might otherwise allow.” 18 C.F.R.

§ 35.35(e) (emphasis added). In other words, the RTO Adder enables a utility to

charge customers a higher return on equity rate component—and thus higher

rates—than what FERC would permit but for its eligibility for this incentive-based

treatment.

      As shown below, and acknowledged by FERC, Duke and ATSI each receive

the RTO Adder. The OCC Complaint Order and OCC Complaint Rehearing Order

also confirm that neither Duke nor ATSI qualifies for this RTO Adder under

FERC’s incentives policy. Accordingly, Duke and ATSI are receiving rates that are

higher than what FERC would have otherwise allowed if FERC had been properly




                                         6
           Case: 21-4072     Document: 52     Filed: 08/22/2023   Page: 14




applying its incentives policy at the time those rates were filed.5 Nevertheless,

FERC concluded that OCC failed to demonstrate that Duke’s and ATSI’s rates are

unjust and unreasonable. The Commission’s reasoning for this conclusion falls

short of its obligation to engage in reasoned and principled decisionmaking.

      A.     Duke’s rate includes a 50-basis point RTO Adder.

      Duke did not dispute that it receives a 50-basis point RTO Adder in the

proceeding before FERC. Duke Answer to OCC Complaint at 16 (JA____)

(“[Duke] admits that FERC authorized [Duke] to include the RTO Participation

Adder in its transmission formula rate in 2015”). As FERC explained, the

settlement that established Duke’s rate explicitly specifies that Duke’s return on

equity “is comprised of a 10.88% base cost of common equity and a 50 basis point

RTO Adder for a total [return on equity] of 11.38%.” OCC Complaint Rehearing

Order P 10 (JA____) (citing Duke Energy Ohio, Inc., 151 FERC ¶ 61,029, at PP

10, 14 (2015)).6


5
 For simplicity, we refer to Duke’s and ATSI’s rates as being higher than FERC
would otherwise allow in the remainder of this Brief.
6
  Specifically, the settlement agreement establishing Duke’s rate states “until
changed by order of the Commission, the return on common equity (‘ROE’) . . .
shall be a total of 11.38%, consisting of a 10.88% base cost of common equity and
a 0.5% ROE adder as permitted by Commission policy for participation in a
regional transmission organization.” Duke, Settlement Agreement, Att. 2, Art.
3.3.a, PJM Interconnection, L.L.C., FERC Docket Nos. ER12-91-000, et al. (Oct.
30, 2014) (“Duke Settlement Agreement”). A copy of the Duke Settlement
Agreement is included in an addendum to this Brief, A-1 through A-84.

                                          7
            Case: 21-4072     Document: 52      Filed: 08/22/2023    Page: 15




       B.     ATSI’s rate includes a 50-basis point RTO Adder.

       FERC explained that the settlement agreement establishing ATSI’s rate

provides for “a 10.38% ROE on ATSI’s revenue requirement for transmission

service, ‘inclusive of any RTO Adder.’” OCC Complaint Rehearing Order

P 11(JA____) (citing PJM Interconnection, L.L.C., 152 FERC ¶ 63,020, PP 12-13

(2015); PJM Interconnection, L.L.C., 153 FERC ¶ 61,106, P 3 (2015); PJM

Interconnection, L.L.C., Docket No. ER15-303-002 (Mar. 11, 2016) (delegated

order)).7 Thus, that settlement makes clear that ATSI’s 10.38% return on equity

rate component includes an RTO Adder.

       The fact that ATSI’s rate includes a 50-basis point RTO Adder has been

confirmed in multiple prior FERC orders. In past cases where FERC has

established rates by, in part, considering the returns on equity of other utilities, 8 it



7
 A copy of the settlement agreement establishing ATSI’s rates (“ATSI Settlement
Agreement”) is included in the Addendum to the Brief of Petitioners Dayton
Power & Light Co., American Electric Power Service Corp., and FirstEnergy
Service Co. (6th Cir. No. 21-4072, ECF 51), at A70-A95 (“Dayton et al. Br.”).
Section II.C.2 of the ATSI Settlement states that the “ROE values . . . are inclusive
of an incentive adder for RTO participation.” Id. at A87 (emphasis added).
8
 A 2022 D.C. Circuit found that FERC had “failed to offer a reasoned explanation
for its decision to reintroduce the risk-premium model,” which is methodology in
which FERC looks to other utilities’ returns on equity to establish a utility’s return
on equity. MISO Transmission Owners v. FERC, 45 F.4th 248, 264 (D.C. Cir.
2022). FERC has yet to act on remand. The issue of FERC’s use of the risk-
premium model to determine appropriate returns on equity, however, has no
bearing on its factual findings about Duke’s and ATSI’s current returns on equity.

                                            8
           Case: 21-4072    Document: 52       Filed: 08/22/2023   Page: 16




has consistently found that ATSI’s “Base ROE” is 50 basis points less than the

total return on equity stated in the settlement agreement. Pac. Gas & Elec. Co., 178

FERC ¶ 61,175, App. D (2022); DATC Path 15, LLC, 177 FERC ¶ 61,115, App. D

(2021); Constellation Mystic Power, LLC, 176 FERC ¶ 61,019, App. D, order set

aside in part, 177 FERC ¶ 61,106 (2021), modified on reh’g, 178 FERC ¶ 61,116

(2022); Ass’n of Businesses Advocating Tariff v. Midcontinent Indep. Sys.

Operator, Inc., 173 FERC ¶ 61,159, App. 1 (2020).9 Indeed, as FERC explained,

“ATSI’s affiliates testified on other proceedings that ATSI’s base ROE is 9.88%,

rather than the 10.38% ROE contained in the ATSI settlement.” OCC Complaint

Order P 65 (JA____) (citations omitted).

      Despite its own affiliates’ prior statements, ATSI claimed before FERC that

OCC did not demonstrate that ATSI’s rate includes a 50-basis point RTO Adder.

See id. PP 39, 52 (JA____, JA____) (summarizing ATSI’s argument and OCC’s

and Buckeye’s responses). That claim, however, cannot be a basis for upholding

FERC’s denial of OCC’s Complaint with respect to ATSI. “The grounds upon

which an administrative order must be judged are those upon which the record

discloses that its action was based.” SEC v. Chenery Corp., 318 U.S. 80, 87 (1943).

Here, FERC did not dismiss OCC’s Complaint with respect to ATSI on that basis.

9
  The same portions of these orders addressing ATSI’s base return on equity
likewise confirm that Duke’s base return on equity is 50-basis points below its total
return on equity.

                                           9
           Case: 21-4072     Document: 52      Filed: 08/22/2023   Page: 17




In fact, FERC found that ATSI, as well as Duke, “had RTO Adders embedded in

the [return on equity]” used for their current rates. OCC Complaint Rehearing

Order P 34 (JA____).

      C.     OCC sufficiently demonstrated that Duke’s and ATSI’s rates are
             unjust and unreasonable because they include unjustified RTO
             Adders.

      FERC “recognize[d]” the RTO Adders included in Duke’s and ATSI’s rates,

OCC Complaint Order P 65 (JA____), and FERC explicitly stated that “we have

not found that Duke and ATSI are entitled to an RTO Adder,” id. P 66 (JA____).

The Orders on OCC’s Complaint confirm why Duke and ATSI are not eligible for

the RTO Adder: (1) “the Commission’s incentives policy . . . requires a showing of

voluntary membership in a Transmission Organization” to qualify for incentive-

based rate treatment; and (2) entities that own or control transmission facilities in

Ohio “are required to join a Transmission Organization under Ohio law,” making

such membership not voluntary. Id. P 63 (JA____) (citations omitted) (emphasis

added).

      Although FERC’s Orders affirm the basis of the OCC Complaint—that

Duke and ATSI are receiving RTO Adders for which they are ineligible—FERC

nevertheless concluded that “OCC has failed to provide any evidence to

demonstrate that the overall ROEs are unjust and unreasonable, such as by

showing that the overall rate is outside of the ‘zone of reasonableness.’” OCC


                                          10
             Case: 21-4072    Document: 52     Filed: 08/22/2023   Page: 18




Complaint Rehearing Order P 28 (JA____) (citing Emera Me. v. FERC, 854 F.3d

9, 23 (D.C. Cir. 2017)). The Commission’s reasoning suffers at least two critical

flaws.

         First, OCC did provide sufficient evidence to demonstrate that Duke and

ATSI have unjust and unreasonable returns on equity. The inclusion of an RTO

Adder, according to FERC’s own definition of incentive-based rate treatment,

results in “a return on equity that is higher than the return on equity the

Commission might otherwise allow.” 18 C.F.R. § 35.35(e) (emphasis added). It is

patently unjust and unreasonable for Duke and ATSI to charge rates exceeding

what they otherwise would be allowed due to an RTO Adder for which they do not

qualify.

         Second, FERC is wrong to claim that OCC was required to demonstrate that

Duke’s and ATSI’s overall return on equity components fall outside of a zone of

reasonableness. OCC Complaint Rehearing Order P 28 (JA____). Although a

combined base return on equity and RTO Adder must be just and reasonable, 16

U.S.C. § 824s(d), it does not follow that it is just and reasonable for ineligible

entities to receive an RTO Adder for which they do not qualify. The Orders on

review concede this point by directing AEP to remove the RTO Adder from the

rates of its Ohio affiliates, even though “the Commission separately granted the

RTO Adder to the AEP East Companies and the AEP East Transmission


                                          11
           Case: 21-4072     Document: 52      Filed: 08/22/2023   Page: 19




Companies on the condition that the additional 50 basis points did not result in an

ROE above the zone of reasonableness.” OCC Complaint Order P 8 (JA____)

(citations omitted).

      Moreover, the case law FERC cites does not support its conclusion that OCC

must demonstrate an overall return on equity outside of a zone of reasonableness in

order to challenge the current, improperly inflated return on equity components of

Duke’s and ATSI’s rates. Rather, that case states that “[w]hether a rate, even one

within the zone of reasonableness, is unlawful depends on the particular

circumstances of the case.” Emera Me. v. FERC, 854 F.3d 9, 23 (D.C. Cir. 2017)

(emphasis added). “[A] reviewing court must set aside any rate, even one within

the zone of reasonableness, if FERC’s procedure or methodology was flawed,” id.

(citing Pac. Gas & Elec. v. FERC, 306 F.3d 1112, 1116 (D.C. Cir. 2002)), and

FERC cannot allow rates, even within this zone, without providing a reasoned

basis, id. at 30. Here, it is arbitrary, capricious, and contrary to law for FERC to

conclude that OCC’s Complaint was insufficient in demonstrating unjust and

unreasonable rates when OCC showed that Duke and ATSI charge customers

increased rates pursuant to RTO Adders for which they are ineligible.




                                          12
            Case: 21-4072   Document: 52      Filed: 08/22/2023   Page: 20




III.   FERC’S DECISION TO ALLOW DUKE AND ATSI TO RETAIN
       RTO ADDERS FOR WHICH THEY DO NOT QUALIFY IS
       ARBITRARY, CAPRICIOUS, AND CONTRARY TO LAW.

       A.    FERC failed to provide a reasoned basis for allowing Duke and
             ATSI to retain RTO Adders because they were initially approved in
             settlement packages.

       FERC also justified its denial of OCC’s Complaint with respect to Duke and

ATSI because “the Commission did not grant the utilities [Duke and ATSI] RTO

Adders under section 219 and their rates were instead the products of

comprehensive settlements.” OCC Complaint Rehearing Order P 26 (JA____)

(citing OCC Complaint Order P 60 (JA____)). This basis for denying OCC’s

Complaint with respect to Duke and ATSI is arbitrary, capricious, and contrary to

law.

       At the outset, nothing in the statute, 16 U.S.C. § 824s, or FERC’s regulation,

18 C.F.R. § 35.35(e), establishes a different standard for allowing incentive-based

rates depending on whether an RTO Adder is submitted through a settlement

package versus a different type of filing also pursuant section 205 of the Federal

Power Act, 16 U.S.C. § 824d. Nor is there a separate mechanism for utilities to file

for rates “under section 219.” OCC Complaint Rehearing Order P 26 (JA____).

Rather, all filings seeking “incentive-based rate treatment must [be submitted] with

the Commission under section 205 of the Federal Power Act.” 18 C.F.R.

§ 35.35(e) (emphasis added). Likewise, neither the statute nor regulation allows an


                                         13
           Case: 21-4072     Document: 52       Filed: 08/22/2023   Page: 21




otherwise unlawful RTO Adder to be included or remain in rates if approved via a

settlement package. FERC’s contrary conclusion would nonsensically allow

utilities that leave a Transmission Organization to retain an RTO Adder, despite

their clear ineligibility for such an Adder, so long as it was originally filed as part

of a settlement package. In sum, there is no basis in the statute nor FERC’s

regulation to support FERC’s conclusion that Duke and ATSI can continue to

collect an RTO Adder for which they do not qualify, despite that Adder being

challenged, just because it had been approved as part of a settlement.

      FERC’s claim that it did not actually approve Duke and ATSI’s RTO

Adders is also incorrect, as well as an unexplained departure from prior precedent.

See OCC Complaint Rehearing Order P 30 (JA____) (“The Commission approved

a comprehensive settlement package, with a single overall figure for Duke’s and

ATSI’s ROEs, without authorizing an RTO Adder in the settling parties’ rates at

the time of settlement.”) (citations omitted). It is axiomatic that FERC-regulated

utilities cannot charge rates “other than the filed rate, whether fixed or merely

accepted by the Commission.” Mont.-Dakota Utils. Co. v. Nw. Pub. Serv. Co., 341

U.S. 246, 251 (1951). Because Duke and ATSI are charging customers a rate that

is higher than what FERC would otherwise allow due to the inclusion of the RTO

Adder—a fact FERC’s Orders do not dispute—FERC’s claim that it did not

specifically authorize those adders is arbitrary and capricious. As shown in OCC’s


                                           14
           Case: 21-4072    Document: 52     Filed: 08/22/2023   Page: 22




Opening Brief (at 37-43), FERC’s refusal to address its approval of the RTO

Adder in Duke’s and ATSI’s rates was also internally inconsistent and contrary to

FERC precedent on rates authorized through settlement filings.

      In addition, the Orders on review are contrary to the multiple previous FERC

orders that expressly recognized and separated the RTO Adders from both Duke’s

and ATSI’s overall returns on equity.10 FERC does not, and cannot, explain why it

could identify Duke’s and ATSI’s RTO Adders in those proceedings but could not

do so in the OCC Complaint proceeding.

      OCC raised this very point in its request for rehearing of the OCC Complaint

Order. See OCC Complaint Rehearing Order P 25 (JA____) (“OCC states that the

RTO Adder Order is also inconsistent with the Commission’s findings in other

ATSI proceedings where the Commission did previously separate the base ROE

and RTO Adder . . . .”) (quoting OCC Request for Rehearing at 12 (JA____)).

FERC, however, failed to address this argument, thereby falling short of its

obligations under the Administrative Procedure Act in two ways.




10
  Those cases include Pac. Gas & Elec. Co., 178 FERC ¶ 61,175, App. D (2022);
DATC Path 15, LLC, 177 FERC ¶ 61,115, App. D (2021); Constellation Mystic
Power, LLC, 176 FERC ¶ 61,019, App. D, order set aside in part, 177 FERC ¶
61,106 (2021), modified on reh’g, 178 FERC ¶ 61,116 (2022); Ass’n of Bus.
Advocating Tariff v. Midcontinent Indep. Sys. Operator, Inc., 173 FERC ¶ 61,159,
App. 1 (2020).

                                        15
           Case: 21-4072     Document: 52      Filed: 08/22/2023   Page: 23




      First, “‘[u]nless the [agency] answers objections that on their face seem

legitimate, its decision can hardly be classified as reasoned.’” PPL Wallingford

Energy LLC v. FERC, 419 F.3d 1194, 1198 (D.C. Cir. 2005) (quoting Canadian

Ass’n of Petroleum Producers v. FERC, 254 F.3d 289, 299 (D.C. Cir. 2001)).

Second, although “[a]n administrative agency may reexamine its prior decisions

and may depart from its precedents,” that departure must be “explicitly and

rationally justified.” Michigan v. Thomas, 805 F.2d 176, 184 (6th Cir. 1986)

(citations omitted) (emphasis added). Here, FERC provided no explanation—let

alone a rational one—for its departure from its past findings that the Duke and

ATSI rates have RTO Adders separate and distinct from their base returns on

equity.

      Finally, FERC also wrongly relied on its prior statements, in its orders

approving the Duke and ATSI settlements, that those orders do “not constitute

approval of, or precedent regarding, any principle or issue in this proceeding.”

OCC Complaint Rehearing Order P 30 n.81 (JA____) (citing settlement orders).

This boilerplate language merely indicates that those orders cannot be cited as

precedent for particular issues in future cases. For instance, other utilities seeking

to include RTO Adders in their rates may not cite these orders as precedent on

when RTO Adders are appropriate. This language does not, however, change the

fact that FERC approved—and customers are today paying—the RTO Adders


                                          16
           Case: 21-4072       Document: 52    Filed: 08/22/2023   Page: 24




currently included in Duke’s and ATSI’s rates. The inclusion of these RTO Adders

produces returns on equity exceeding what FERC would otherwise allow, as FERC

itself has repeatedly recognized in past orders analyzing Duke’s and ATSI’s

returns.

      B.     FERC’s policy argument about encouraging settlements is not a
             reasoned or principled basis for immunizing Duke and ATSI.

      In denying OCC’s Complaint with respect to Duke and ATSI, FERC relied

on “policy considerations caution[ing] against adjusting settlement rates on a

piecemeal basis.” OCC Complaint Rehearing Order P 29 (JA____). Specifically,

FERC claimed that “modifying individual components of settlements [(1)] would

undermine the certainty provided to settling parties and [(2)] would be inconsistent

with the Commission’s longstanding policy.” Id. (JA____). Neither reason is a

rational basis for allowing Duke and ATSI to continue to receive RTO Adders for

which they are not eligible.

      First, FERC failed to examine the specific settlements at issue before relying

on supposed concerns about undermining the certainty provided to settling parties.

The Duke and ATSI settlements expressly contemplate and allow challenges to the

return on equity components of their rates. The Duke Settlement Agreement states

that “[n]o Settling Party shall make a unilateral filing seeking a reduction in the

Base/RTO ROE that would become effective before June 1, 2017, nor shall any

Settling Party support a request made by any other entity seeking a reduction in the

                                          17
           Case: 21-4072     Document: 52      Filed: 08/22/2023   Page: 25




Base/RTO ROE that would become effective before June 1, 2017.” Duke

Settlement Agreement, Art. 3.3.b (emphasis added) (see infra at A-10 to A-11).

Similarly, section II.C.3 of the ATSI Settlement Agreement states that “[t]he

10.38% ROE value established by section II.C.1.c shall remain in effect until

changed pursuant to section 205 or section 206 of the Federal Power Act, 16

U.S.C. § 824d or § 824e, provided that the effective date for any change to the

10.38% ROE value made pursuant to section 205 or section 206 shall be no earlier

than January 1, 2018.” Dayton et al. Br. at A87 (emphasis added). Thus, under the

particular settlement packages at issue here, there can be no settled expectation that

the return on equity rate components, and the RTO Adder to that component,

would remain unchanged (after June 1, 2017 in the case of Duke and January 1,

2018 in the case of ATSI).

      Because the procedure used and relief sought by OCC are fully consistent

with the settlement packages establishing Duke and ATSI’s returns on equity,

FERC failed to engage in reasoned decisionmaking by resting its decision on

vague, generic statements about settled expectations. The terms of the settlement

agreement, like any contract, are “to be treated as an integral part of the rate

schedule and the filed rate.” Boston Edison Co. v. FERC, 856 F.2d 361, 371-72

(1st Cir. 1988). Just as FERC cannot ignore the return on equity values stated in

those settlements and allow Duke and ATSI to charge different values, it also


                                          18
             Case: 21-4072    Document: 52     Filed: 08/22/2023   Page: 26




cannot ignore the provisions allowing for challenges to these values after certain

dates.

         Moreover, FERC identifies nothing in the settlements that supports imposing

a higher burden on OCC’s Complaint with respect to Duke and ATSI than what

would otherwise apply (and that applied to OCC’s Complaint with respect to

AEP). After the moratorium periods on challenges to the settled return on equity

values, which have long since passed, the standard rule of section 206 applies:

customers and their representatives may challenge any formula rate component by

showing that prospective application of that particular component would be unjust,

unreasonable, or unduly discriminatory. See Int’l Transmission Co. v. FERC, 988

F.3d 471, 484-86 (D.C. Cir. 2021) (concluding that FERC complied with Federal

Power Act section 206 in granting a complaint alleging that then-existing return on

equity adders for certain transmission companies were unjust and unreasonable);

N. C. Eastern Mun. Power Agency v. Duke Energy Progress, LLC, 172 FERC

¶ 61,030, PP 51-60 (2020) (allowing single-issue complaint regarding a rate

component of a formula rate that had been established through agreement). There

is nothing inherent in settlements to support FERC imposing a heightened burden

on OCC’s Complaint regarding Duke and ATSI. See Papago Tribal Util. Auth. v.

FERC, 723 F.2d 950, 954 (D.C. Cir. 1983) (holding that FERC can apply the

ordinary “just-and-reasonable standard” in a Federal Power Act section 206


                                          19
           Case: 21-4072     Document: 52      Filed: 08/22/2023   Page: 27




proceeding to modify a rate established by contract where parties so contract).

Here, where the settlements specifically contemplate future challenges to the return

on equity component of the rates, it is arbitrary and capricious for FERC to require

OCC to “show[] that the overall rate is outside the ‘zone of reasonableness.’” OCC

Complaint Rehearing Order P 28 (JA____) (citation omitted).

      Second, FERC’s general policy of encouraging settlements is insufficient to

sustain the Orders on review here. As a threshold matter, this policy cannot

supersede FERC’s statutory obligations under Federal Power Act sections 205,

206, and 219, 16 U.S.C. §§ 824d, 824e, 824s. In the instance of unjust and

unreasonable rates—here, Duke’s and ATSI’s collection of RTO Adders in clear

violation of eligibly requirements of FERC’s incentives policy—FERC is obligated

under the Federal Power Act to establish just and reasonable rates. 16 U.S.C.

§ 824e(a) (“Whenever the Commission . . . shall find that any rate . . . unjust,

unreasonable, unduly discriminatory or preferential, the Commission shall

determine the just and reasonable rate . . . and shall fix the same by order.”)

(emphasis added); see also Office of Consumers’ Counsel, State of Ohio v. FERC,

783 F.2d 206, 236 (DC Cir. 1986) (holding, under analogous provision of the

Natural Gas Act, that “the Commission has no authority to decline to issue a

remedy where a clear violation has been found”) (citation omitted).




                                          20
           Case: 21-4072     Document: 52       Filed: 08/22/2023   Page: 28




      Moreover, FERC’s cursory reference to this policy fails to provide any

explanation as to how its denial of OCC’s Complaint with respect to Duke and

ATSI is consistent with the goal of encouraging settlements. In fact, the Orders are

likely to have the opposite effect. These Orders stand for the proposition that

otherwise unlawful rate components are shielded from future challenges if they go

into effect as part of a settlement package—even after any moratorium on

challenges to those specific rate components stated in a settlement agreement has

expired. That would not be the case had customers litigated the issue of Duke’s and

ATSI’s RTO Adder, even if they had been unsuccessful at the time. This outcome

thus encourages customers to litigate, not settle. To the extent there are any

countervailing policy considerations, those are not identified in FERC’s Orders.

      Ultimately, FERC’s superficial reliance on its policy of encouraging

settlements, without grappling with the actual settlements at issue or the

implications of its decision on future settlements, falls short of its obligations to

both engage in reasoned decisionmaking and ensure just and reasonable rates.

                                   CONCLUSION

      For the reasons stated above, and in OCC’s Opening Brief, this Court should

vacate and remand FERC’s decision to leave the RTO Adder in Duke’s and

ATSI’s rates, with directions that FERC order the utilities to remove the RTO




                                           21
           Case: 21-4072    Document: 52     Filed: 08/22/2023   Page: 29




Adder from their rates and provide refunds to the full extent allowed under Federal

Power Act section 206, 16 U.S.C. § 824e.




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                                        22
            Case: 21-4072   Document: 52      Filed: 08/22/2023   Page: 30




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      Dated this 22nd day of August, 2023.


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                                         23
           Case: 21-4072    Document: 52     Filed: 08/22/2023   Page: 31




                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day caused the foregoing document to be

served upon each person designated on the official service list compiled by the

Secretary in this proceeding.



      Dated this 22nd day of August, 2023.


                                             /s/ Cynthia S. Bogorad
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                                        24
Case: 21-4072   Document: 52   Filed: 08/22/2023   Page: 32




                     ADDENDUM
             Case: 21-4072        Document: 52        Filed: 08/22/2023       Page: 33




                                 INDEX FOR ADDENDUM

FERC Docket No. ER12-91, Duke Energy Ohio, Inc. and Duke
Energy Kentucky, Inc., Settlement Agreement (Oct. 30, 2014),
FERC eLibrary No. 20141030-5068 ................................................................ A-1
        Case: 21-4072      Document: 52       Filed: 08/22/2023    Page: 34




                      UNITED STATES OF AMERICA
                             BEFORE THE
               FEDERAL ENERGY REGULATORY COMMISSION

                                          )
PJM Interconnection, L.L.C.               )              Docket Nos. ER12-91-000
Duke Energy Ohio, Inc.                    )                          ER12-91-002
Duke Energy Kentucky, Inc.                )                          ER12-91-004
                                          )                          ER12-91-005
                                          )                          ER12-91-007
                                          )                          ER12-91-008
                                          )                          ER12-92-000
                                          )                          ER12-92-002
                                          )                          ER12-92-004
                                          )                          ER12-92-005
                                          )                          ER12-92-007
                                          )                      and ER12-92-008


                           SETTLEMENT AGREEMENT

       This Settlement Agreement ("Settlement Agreement") is made pursuant to

Rule 602 of the Rules of Practice and Procedure of the Federal Energy Regulatory

Commission ("Commission" or "FERC"), 18 C.F.R. § 385.602 (2014), by and

among Duke Energy Ohio, Inc. ("DEO"), a corporation organized and existing

under the laws of the State of Ohio, Duke Energy Kentucky, Inc. ("DEK"), a

corporation existing under the laws of the Commonwealth of Kentucky, American

Municipal Power, Inc. ("AMP"), on behalf of itself and its members, Buckeye

Power, Inc. ("Buckeye"), on behalf of itself and its members, The Dayton Power

and Light Company ("Dayton"), East Kentucky Power Cooperative, Inc. ("East

Kentucky"), on behalf of itself and its members, the Indiana Municipal Power

Agency ("IMPA"), the City of Hamilton, Ohio ("Hamilton"), and the Village of

Blanchester, Ohio (each a "Settling Party" and all collectively, the "Settling

Parties"). The Settling Parties enter into this Settlement Agreement to resolve all


                                     Page 1 of 20



                                        A-1
        Case: 21-4072     Document: 52       Filed: 08/22/2023   Page: 35




issues in Docket Nos. ER12-91-000, ER12-92-000, and the above-referenced sub-

dockets.

                                    ARTICLE I

      1.1.   On October 14, 2011, in Docket Nos. ER12-91-000 and ER12-92-

000, DEO and DEK Uointly, the "Duke Companies") jointly filed, pursuant to

section 205 of the Federal Power Act ("FPA"), proposed modifications to the PJM

Interconnection, L.L.C. ("PJM") Open Access Transmission Tariff ("PJM Tariff") in

connection with the Duke Companies' move from the Midwest Independent

Transmission System Operator, Inc. n/k/a Midcontinent Independent System

Operator, Inc. ("MISO" or "Midcontinent ISO") Regional Transmission Organization

("RTO") to the PJM RTO. The Duke Companies' proposed modifications to the

PJM Tariff pertained to establishing and recovering the Duke Companies'

transmission revenue requirement, including formula rate protocols. In addition,

under section 205 of the FPA, PJM submitted proposed modifications to the PJM

Tariff, the Amended and Restated Operating Agreement of PJM, the Reliability

Assurance Agreement Among Load Serving Entities in the PJM Region, and the

Consolidated Transmission Owners Agreement (collectively, the "PJM

Agreements"). The Duke Companies and PJM jointly requested an effective date

of January 1, 2012, for the proposed changes.

      1.2.   On November 4, 2011, AMP, on behalf of itself and its members

Hamilton, Lebanon, and Williamstown (Hamilton, Lebanon, and Williamstown

collectively referred to herein as the "AMP Members"), filed a timely motion to

intervene, protest, and request for suspension and hearings in this proceeding.



                                    Page 2 of20



                                       A-2
        Case: 21-4072      Document: 52      Filed: 08/22/2023    Page: 36




Also on November 4, 2011, IMPA filed a timely motion to intervene and protest in

this proceeding. No other party protested the filings.

       1.3.   On December 27, 2011, the Duke Companies filed a Request for

Deferral of Action requesting that the Commission enable the Duke Companies,

AMP and IMPA to continue settlement discussions that, if successful, would

resolve all issues in this proceeding. The request was submitted on the condition

that it would have no effect on the requested effective date of January 1, 2012.

Solely in order to defer Commission action on the pending tariff change filing, the

Duke Companies and PJM submitted on December 29, 2011, a ministerial filing

that contained no changes to the existing tariff records filed in these dockets on

October 14, 2011. The Commission issued public notice of the filing. No

comments were filed.

       1.4.   On January 10, 2012, Hamilton filed a motion to intervene in this

proceeding in its own right.

       1.5.   On February 24, 2012, the Duke Companies filed a second Request

for Deferral of Action. The Commission issued public notice of the filing. No

comments were filed.

       1.6.   On April 5, 2012, the Duke Companies and IMPA filed a settlement

agreement in this proceeding that resolved all issues between the Duke

Companies and IMPA ("April 5 Settlement").

       1.7.   On April 24, 2012, the Commission issued an order that denied

recovery by the Duke Companies from wholesale transmission customers of

Legacy MTEP Costs (as hereinafter defined) and PJM Transition Costs and



                                     Page 3 of 20



                                       A-3
        Case: 21-4072      Document: 52       Filed: 08/22/2023    Page: 37




Internal Integration Costs (as hereinafter defined), without prejudice to a new filing

under section 205 of the FPA seeking to justify such recovery, established hearing

and settlement judge procedures pursuant to section 206 of the FPA for

determination of the Duke Companies' rate of return on equity, and approved the

April 5 Settlement. PJM Interconnection, L.L.C., et al., 139 FERC ,i 61,068 (2012)

("April 24 Order"). IMPA subsequently withdrew its protest of the Duke

Companies' filing, leaving AMP as the only party (on its own behalf and on behalf

of the AMP Members) with a protest in the proceeding.

       1.8.   On May 24, 2012, the Duke Companies filed revised tariff records in

compliance with the April 24 Order. On the same date, the Duke Companies filed

a request for rehearing of the April 24 Order.

       1.9.   On February 4, 2013, the Duke Companies, AMP, and the AMP

Members filed a settlement agreement in this proceeding. That settlement

agreement provided, among other things, for the recovery of Legacy MTEP Costs,

PJM Transition Costs and Internal Integration Costs (each as defined in that

settlement agreement) from all wholesale transmission customers, together with a

reimbursement to AMP and the AMP Members for 75 percent of the Legacy MTEP

Costs and 100 percent of the PJM Transition Costs.

       1.10. By order issued September 19, 2013, the Commission rejected that

settlement agreement, stating, among other things, that it was "unclear ... that all

customers were on notice that these issues [the recovery of Legacy MTEP Costs,

PJM Transition Costs, and Internal Integration Costs] would be resolved [in this

proceeding]" and that the Duke Companies had not shown that the settlement was



                                     Page 4 of20



                                        A-4
        Case: 21-4072     Document: 52       Filed: 08/22/2023    Page: 38




not unduly discriminatory in failing to extend the benefits offered to AMP to the

Duke Companies' other customers. PJM Interconnection, L.L.C., et al., 144 FERC

,i 61,217 at PP 19-20 (2013). Thereafter, the parties resumed settlement

discussions.

       1.11. On October 18, 2013, AMP filed a request for rehearing of the

September 19, 2013 order.

       1.12. On December 17, 2013, the Duke Companies provided notice to all of

their wholesale transmission customers that settlement discussions in this

proceeding had resumed, and that the settlement negotiations may address

transmission rate matters beyond the return on equity issue specifically set for

hearing and settlement procedures in the April 24 Order, including the Duke

Companies' recovery in rates of all or a portion of the legacy MISO Transmission

Expansion Plan costs incurred by the Duke Companies. A copy of that notice is

attached as Exhibit A. The Duke Companies stated that the outcome of the

settlement negotiations could affect the amount paid for wholesale transmission

service in the DEOK Zone (as hereinafter defined), and that any customer wishing

to intervene in the proceeding out of time should do so by January 7, 2014.

       1.13. On December 18, 2013, Dayton filed a motion to intervene. On

January 3, 2014, Buckeye filed a motion to intervene. On January 10, 2014, East

Kentucky filed a motion to intervene. These motions were granted by the Chief

Judge by orders issued January 9, 2014 and January 22, 2014.

       1.14. Settlement discussions resumed following the Chief Judge's orders

granting the additional interventions. By order issued March 10, 2014, the



                                     Page 5 of 20



                                       A-5
        Case: 21-4072      Document: 52      Filed: 08/22/2023   Page: 39




Settlement Judge issued a report stating that the parties had reached an impasse

in their settlement negotiations, and recommending that settlement judge

procedures be terminated. By order issued March 11, 2014, the Chief Judge

accepted the recommendation of the Settlement Judge to terminate settlement

judge procedures, and designated the Honorable Philip C. Baten to preside over

the evidentiary hearing.   On March 24, 2014, the Chief Judge issued an order

making a substitute designation of the Honorable Jennifer Whang to preside over

the evidentiary hearing.

       1.15. By order issued April 2, 2014, Presiding Judge Whang adopted a

procedural schedule for the trial in this proceeding. On July 11, 2014, Presiding

Judge Whang issued an order modifying the procedural schedule for the trial in

this proceeding.

       1.16. Informal settlement discussions continued during this period. On

July 30, 2014, the Duke Companies, AMP, Buckeye, East Kentucky, and Hamilton

submitted to Presiding Judge Whang an unopposed joint motion informing her

that the parties had reached agreement on the terms of a negotiated resolution of

the issues in these dockets, and requesting that the procedural schedule be

suspended. By order dated August 1, 2014, the Chief Judge suspended the

procedural schedule to permit the preparation and filing of formal settlement

documents.

       NOW, THEREFORE, in consideration of the promises and the mutual

covenants and agreements contained herein, and for other good and valuable




                                    Page 6 of20



                                       A-6
        Case: 21-4072      Document: 52       Filed: 08/22/2023      Page: 40




consideration, the receipt and sufficiency of which are hereby acknowledged, the

Settling Parties, intending to be legally bound, agree as follows:

                                     ARTICLE II

      All defined terms have the meanings set forth in this Settlement Agreement.

All rules of construction and interpretation of this Settlement Agreement shall be

as set forth in the PJM Tariff or PJM Agreements.

       "DEOK Zone" means the DEOK Zone as set forth in the PJM Tariff.

       "Internal Integration Costs" means the internal administrative costs incurred

by the Duke Companies to accomplish their move from MISO into PJM.

       "Legacy MTEP Costs" means all costs arising from obligations of the Duke

Companies or the Wholesale Transmission Customers to pay any portion of the

costs of identified transmission expansion projects included in any Midcontinent

ISO Transmission Expansion Plan ("MTEP") that was approved by the MISO

Board of Directors prior to the date of the Duke Companies' integration into PJM,

including any such costs that arise from Multi-Value Projects, as defined in Section

11.C of Attachment FF to the MISO open access transmission tariff, that were

approved by the MISO Board of Directors prior to the date of the Duke Companies'

integration into PJM.

       "MISO" or "Midcontinent ISO" means the Midcontinent Independent System

Operator, Inc. or the Midwest Independent Transmission System Operator, Inc., as

it was formerly known, or the successor thereto.

       "PJM" means PJM Interconnection, L.L.C., or the successor thereto.

       "PJM Agreements" means the Amended and Restated Operating

Agreement of PJM Interconnection, L.L.C., the Reliability Assurance Agreement

                                     Page 7 of20



                                        A-7
        Case: 21-4072     Document: 52       Filed: 08/22/2023   Page: 41




Among Load Serving Entities in the PJM Region, and the Consolidated

Transmission Owners Agreement.

       "PJM Formula Rate" means PJM Tariff Attachment H-22A, which was

submitted by the Duke Companies in the filing in the above-referenced Docket

Nos. ER12-91-000 and ER12-92-000.

       "PJM RTEP Costs" means costs defined by PJM in Schedule 12 of the PJM

Tariff and charged under Schedule 12-Appendix and Schedule 12-Appendix A of

the PJM Tariff.

       "PJM Tariff" means the PJM Interconnection, L.L.C. Open Access

Transmission Tariff.

       "PJM Transition Costs" means costs identified as "Transition Costs" in the

Duke Companies' filings submitted in the above-referenced proceeding and

therein proposed to be included in the PJM Formula Rate, specifically, costs

associated with: (1) the Duke Companies' obligation under Article Five, Section

11.B of the MISO Transmission Owners' Agreement ("MISO TOA") to pay certain

amounts to MISO as an exit fee; (2) the Duke Companies' agreement, approved

by the Commission in Docket No. ER11-2059-000, to pay MISO $1.8 million to

resolve a dispute over MISO tariff revisions proposed to address alleged adverse

effects on the feasibility of Long-Term Firm Transmission Rights resulting from the

withdrawal of the Duke Companies from MISO; and (3) the Duke Companies'

agreement to pay PJM approximately $1 million as compensation for PJM's costs

incurred in connection with the Duke Companies' transition to PJM ("PJM

Integration Costs").



                                    Page 8 of 20



                                       A-8
        Case: 21-4072     Document: 52       Filed: 08/22/2023   Page: 42




       "Wholesale Transmission Customers" means all entities receiving

wholesale transmission service from PJM for electrical load in the DEOK Zone,

either directly or indirectly as members of AMP, Buckeye, East Kentucky, or IMPA.

                                    ARTICLE Ill

       3.1.   PJM Transition Costs and Internal Integration Costs. Effective

January 1, 2012, the Duke Companies' revenue requirement for wholesale

transmission service provided by PJM for electrical load in the DEOK Zone shall

exclude one hundred percent (100%) of PJM Transition Costs and Internal

Integration Costs. This one hundred percent (100%) exclusion of such costs shall

not be subject to change at any time or for any reason.

       3.2.   Legacy MTEP Costs

       a.     During the period beginning January 1, 2012 and through the day

before the date this Settlement Agreement becomes effective in accordance with

Section 4.3, the charges for wholesale transmission service for electrical load in

the DEOK Zone shall exclude one hundred percent (100%) of Legacy MTEP

Costs. The exclusion of one hundred percent (100%) of such costs shall not be

subject to change at any time or for any reason.

       b.     On and after the date this Settlement Agreement becomes effective

in accordance with Section 4.3 and continuing for so long as the Duke Companies

remain subject to Legacy MTEP Costs, the charges for wholesale transmission

service for electrical load in the DEOK Zone shall exclude seventy percent (70%)

of any Legacy MTEP Costs, and shall include thirty percent (30%) of any Legacy

MTEP Costs. The Duke Companies shall maintain in effect throughout such period

tariff records that reflect the exclusion of seventy percent (70%) of such costs
                                     Page 9 of 20



                                       A-9
        Case: 21-4072     Document: 52        Filed: 08/22/2023   Page: 43




from, and the inclusion of thirty percent (30%) of such costs in, the charges for

such wholesale transmission service. The exclusion of seventy percent (70%) and

inclusion of thirty percent (30%) of such costs shall not be subject to change at

any time or for any reason.

       c.     Nothing herein shall affect the payment obligation of a Wholesale

Transmission Customer with respect to PJM RTEP Costs included in the charges

for wholesale transmission service that PJM provides in the DEOK Zone, nor shall

anything herein obligate the Duke Companies to provide reimbursement to any

Wholesale Transmission Customer for all or any portion of PJM RTEP Costs

included in the charges for wholesale transmission service that PJM provides in

the DEOK Zone.

       3.3.   Return on Common Equity

       a.     On and after the date this Settlement Agreement becomes effective

in accordance with Section 4.3 and continuing until changed by order of the

Commission, the return on common equity ("ROE") in the Duke Companies'

revenue requirement for wholesale transmission service shall be a total of 11.38%,

consisting of a 10.88% base cost of common equity and a 0.5% ROE adder as

permitted by Commission policy for participation in a regional transmission

organization (hereinafter, the "Base/RTO ROE"), subject to the rights reserved in

the proviso of Section 3.3.b.

       b.     The Duke Companies shall make no unilateral filing seeking an

increase in the Base/RTO ROE that would become effective before June 1, 2017.

No Settling Party shall make a unilateral filing seeking a reduction in the



                                    Page 10 of 20



                                       A-10
        Case: 21-4072         Document: 52     Filed: 08/22/2023   Page: 44




Base/RTO ROE that would become effective before June 1, 2017, nor shall any

Settling Party support a request made by any other entity seeking a reduction in

the Base/RTO ROE that would become effective before June 1, 2017; provided,

however, that the Settling Parties (or any of them) shall not be precluded from

making or supporting a filing to eliminate the 0.5% ROE adder if the Duke

Companies terminate their participation in an RTO before June 1, 2017.

       c.     Nothing herein shall affect either (i) the right of the Duke Companies

to request an incentive ROE adder applicable to any specific transmission project

or projects, if and as consistent with Commission policy, that would become

effective before June 1, 2017, or (ii) the right of any Wholesale Transmission

Customer to oppose such a request.

       3.4       Tariff Provisions.

       a.     Effective January 1, 2012, the tariff records included as Exhibit B to

this Settlement Agreement shall replace and supersede the tariff records included

in PJM Tariff Attachments H-22 and JJ that were filed in this proceeding on

October 14, 2011 and May 24, 2012. Not later than 30 days after the date this

Settlement Agreement becomes effective in accordance with Section 4.3, the

Duke Companies shall submit the tariff records included in Exhibit B to the

Commission through eTariff as a compliance filing. The Settling Parties shall not

oppose or protest a filing made by the Duke Companies in conformity with this

Section 3.4.a.

       b.        Effective on the date this Settlement Agreement becomes effective in

accordance with Section 4.3, the tariff records included as Exhibit C to this



                                      Page 11 of 20



                                        A-11
        Case: 21-4072     Document: 52        Filed: 08/22/2023   Page: 45




Settlement Agreement shall replace and supersede the tariff records included in

PJM Tariff Attachments H-22 and JJ that are attached as Exhibit B to this

Settlement Agreement. Not later than 30 days after the date this Settlement

Agreement becomes effective in accordance with Section 4.3, the Duke

Companies shall submit the tariff records included in Exhibit C to the Commission

through eTariff as a compliance filing. The Settling Parties shall not oppose or

protest a filing made by the Duke Companies in conformity with this Section 3.4.b.

       3.5.   Tariff Charges.

      a.      None of the Settling Parties shall initiate a proceeding for the

purpose of seeking a change in the charges for Legacy MTEP Costs that are in

conformance with Section 3.2, nor shall any of the Settling Parties, in any

proceeding initiated by others, support a change in the charges for Legacy MTEP

Costs that are in conformance with Section 3.2.

       b.     No Settling Party shall initiate a proceeding for the purpose of

seeking a reduction in the charges to Wholesale Transmission Customers for PJM

RTEP Costs on the ground that Wholesale Transmission Customers are paying for

Legacy MTEP Costs; nor shall any Settling Party, in any proceeding initiated by

others, support a reduction in the charges to Wholesale Transmission Customers

for PJM RTEP Costs on the ground that Wholesale Transmission Customers are

paying for Legacy MTEP Costs.

       3.6.   Satisfaction of Claims for Recovery of Legacy MTEP Costs. The

Duke Companies agree that payment of the amounts of any Legacy MTEP Costs

included in the rates to Wholesale Transmission Customers in the PJM Tariff, as



                                    Page 12 of 20



                                       A-12
        Case: 21-4072      Document: 52       Filed: 08/22/2023   Page: 46




provided for in Section 3.2, fully satisfies and discharges any claimed right of the

Duke Companies to recover from Wholesale Transmission Customers Legacy

MTEP Costs or any other costs, charges or fees arising from or relating to the

Duke Companies' participation in MISO prior to January 1, 2012. Accordingly, the

Duke Companies shall not make any filing seeking recovery from any Wholesale

Transmission Customer of Legacy MTEP Costs or any other costs, charges, or

fees arising from or relating to the Duke Companies' participation in MISO prior to

January 1, 2012, beyond or in addition to the recovery provided for in Section 3.2.

       3. 7   Resolution of All Hold Harmless Obligations. The Settling Parties

agree that (a) the considerations provided by the Duke Companies under this

Settlement Agreement to the Wholesale Transmission Customers are in resolution

of "hold harmless" claims made by any Settling Party pursuant to Article V,

Section 2 of the MISO TOA and resolve all claims raised by any Settling Party in

these proceedings; and that (b) the obligation of the Duke Companies to provide

such considerations is contingent upon this Settlement Agreement becoming

effective in accordance with Section 4.3. The Duke Companies' compliance with

the terms of this Settlement Agreement shall fully satisfy and discharge any and all

obligations of the Duke Companies to render payment to any Settling Party

according to the terms of Article V, Section 2 of the MISO TOA in connection with

the Duke Companies' withdrawal from MISO, and such satisfaction and discharge

shall not be affected by any amendment, substitute or successor to that provision,

or any amendment, substitute or successor to the PJM Formula Rate filed in this

proceeding. Each of the Settling Parties agrees not to make any protest or raise



                                     Page 13 of 20



                                       A-13
        Case: 21-4072      Document: 52        Filed: 08/22/2023    Page: 47




any claim against the Duke Companies or their parents or affiliates, before any

government agency or court, asserting that the Duke Companies or their parents

or affiliates owe any of the Settling Parties, respectively, any further "hold

harmless" or other compensation under Article V, Section 2 of the MISO TOA, or

any other monies or damages of any nature in connection with the Duke

Companies' withdrawal from the Midcontinent ISO.

       3.8.   Withdrawal of Rehearing Request. Within five (5) days of the date of

this Settlement Agreement, the Duke Companies and AMP shall request that the

Commission hold in abeyance their respective May 24, 2012, and October 18,

2013 requests for rehearing in this proceeding pending action on this Settlement

Agreement. In the event that this Settlement Agreement becomes effective

pursuant to clause (a) of the first sentence of Section 4.3, then within five (5) days

of the date that this Settlement Agreement becomes effective, the Duke

Companies and AMP shall withdraw their respective May 24, 2012, and October

18, 2013 requests for rehearing in this proceeding. In the event that this

Settlement Agreement becomes effective pursuant to clause (b) of the first

sentence of Section 4.3, then within twenty (20) days of the date that this

Settlement Agreement becomes effective the Duke Companies and AMP shall

withdraw their respective May 24, 2012, and October 18, 2013 requests for

rehearing in this proceeding. In the event that this Settlement Agreement does not

become effective pursuant to Section 4.3, then the Duke Companies and AMP

may, at their individual options, withdraw their respective requests that the




                                     Page 14 of 20



                                        A-14
        Case: 21-4072      Document: 52       Filed: 08/22/2023    Page: 48




Commission hold in abeyance their respective May 24, 2012, and October 18,

2013 requests for rehearing in this proceeding.

                                     ARTICLE IV

      4.1.    Scope of the Agreement. This Settlement Agreement constitutes the

entire agreement among the Settling Parties with respect to the subject matter

addressed herein, and supersedes any and all prior or contemporaneous

representations, agreements, instruments and understandings between them,

whether written or oral. There are no other oral understandings, terms, or

conditions, and none of the Settling Parties has relied upon any representation,

express or implied, not contained in this Settlement Agreement. Nothing in this

Settlement Agreement should be construed as negating or fulfilling the obligations

or responsibilities of the Duke Companies or any of the Wholesale Transmission

Customers under the PJM Tariff or PJM Agreements.

       4.2.   Non-Severability. The Settling Parties agree and understand that the

various provisions of this Settlement Agreement are not severable and shall not

become operative unless and until this Settlement Agreement and the revised tariff

records provided for herein become effective as described in Section 4.3.

       4.3.   Effectiveness of Settlement Agreement. This Settlement Agreement

and the provisions hereof shall become effective upon (a) the issuance of an order

by the Commission accepting or approving this Settlement Agreement without

condition or modification, or (b) the issuance of an order by the Commission

accepting or approving this Settlement Agreement with condition(s) or

modification(s), if no Settling Party files notice with the Commission within fifteen

(15) days of the approval of the Settlement Agreement stating that it objects to

                                     Page 15 of20



                                       A-15
        Case: 21-4072      Document: 52        Filed: 08/22/2023   Page: 49




such condition(s) or modification(s). If any Settling Party files such notice, the

Settlement Agreement shall be null and void and of no force or effect.

       4.4.   Reservations. Notwithstanding the provisions of Sections 4.2 and

4.3, the provisions of Section 3.8 (holding of request for rehearing in abeyance),

Section 4.6 (confidentiality of settlement discussions), and Section 4.7

(assurances of cooperation) shall become effective upon execution of the

Settlement Agreement.

       4.5.   No Precedent. This Settlement Agreement is submitted pursuant to

Rule 602 of the Commission's Rules of Practice and Procedure, 18 C.F.R. §

385.602 (2014), and is inadmissible as evidence in any proceeding except a

proceeding involving a claim of breach of, or an effort to enforce, this Settlement

Agreement. It is further understood and agreed that this Settlement Agreement

constitutes a negotiated agreement and, except as explicitly set forth herein, no

Settling Party shall be deemed to have approved, accepted, agreed or consented

to any principle or position in this proceeding.

       4.6.   Settlement Discussions. The discussions between and among the

Settling Parties that have produced this Settlement Agreement have been

conducted with the explicit understanding, pursuant to Rule 602 of the

Commission's Rules of Practice and Procedure, 18 C.F .R. § 385.602 (2014), that

all offers of settlement and discussions relating thereto shall be privileged and

confidential, shall be without prejudice to the position of any Settling Party or

participant presenting any such offer or participating in any such discussion, and




                                     Page 16 of 20



                                        A-16
        Case: 21-4072      Document: 52        Filed: 08/22/2023    Page: 50




are not to be used in any manner in connection with this proceeding, any other

proceeding, or otherwise, except to the extent necessary to enforce its terms.

       4. 7.   Further Assurances. Each Settling Party shall cooperate with and

support, and shall not take any action inconsistent with: (i) the filing of this

Settlement Agreement with the Commission, and (ii) efforts to obtain Commission

acceptance or approval of this Settlement Agreement without change or condition.

No Settling Party shall take any action that is inconsistent with the provisions of

this Settlement Agreement.

       4.8.    Waiver. No provision of this Settlement Agreement may be waived

except through a writing signed by an authorized representative of the waiving

Settling Party or the waiving Settling Parties. Waiver of any particular provision of

this Settlement Agreement shall not be deemed to waive any other provision or

provisions hereof.

       4.9.    Modifications/Standard of Review. Unless the Settling Parties

otherwise agree in writing, any modification to this Settlement Agreement

proposed by one of the Settling Parties after the Settlement Agreement has

become effective in accordance with Section 4.3 shall, as between them, be

subject to the "public interest" application of the just and reasonable standard of

review set forth in United Gas Pipe Line Co. v. Mobile Gas Serv. Corp., 350 U.S.

332 (1956) and Federal Power Commission v. Sierra Pacific Power Co., 350 U.S.

348 ( 1956) (the Mobile-Sierra doctrine), as clarified in Morgan Stanley Capital

Group, Inc. v. Public Util. Dist. No. 1 of Snohomish County, Washington, 128 S.Ct.

2733, 171 L. Ed. 2d 607 (2008) and refined in NRG Power Mktg. v. Maine Pub.



                                      Page 17 of 20



                                        A-17
        Case: 21-4072     Document: 52        Filed: 08/22/2023   Page: 51




Utils. Comm'n, 130 S. Ct. 693, 700 (2010). Any modification proposed by the

Commission acting sua sponte or by a non-Settling Party shall be subject to the

just and reasonable standard.

      4.10. Successors and Assigns. This Settlement Agreement is binding

upon and for the benefit of the Settling Parties and their successors and assigns.

       4.11. Captions and References to Sections. The captions in this

Settlement Agreement are for convenience of reference only and are not a part of

this Settlement Agreement and do not in any way limit or amplify the terms and

provisions of this Settlement Agreement and shall have no effect on its

interpretation. Unless otherwise indicated, references to "Sections" in this

Settlement Agreement refer to sections in this Settlement Agreement.

      4.12. Ambiguities Neutrally Construed. This Settlement Agreement is the

result of negotiations among, and has been reviewed by, each Settling Party and

its respective counsel. Accordingly, this Settlement Agreement shall be deemed

to be the product of each Settling Party, and no ambiguity shall be construed in

favor of or against any Settling Party based on authorship of this Settlement

Agreement.

       4.13. Authorization. Each person executing this Settlement Agreement on

behalf of a Settling Party represents and warrants that he or she is duly authorized

and empowered to act on behalf of, and to authorize this Settlement Agreement to

be executed on behalf of, the Settling Party that he or she represents.

       4.14. Notices. All notices, demands, and other communications hereunder

shall be in writing and shall be delivered to each Settling Party's "Corporate



                                    Page 18 of 20



                                       A-18
        Case: 21-4072      Document: 52       Filed: 08/22/2023    Page: 52




Official" as found on the Commission's website at http://www.ferc.gov/docs-

filing/corp-off.asp or the representative(s) of each Settling Party included on the

official service list in Docket Nos. ER 12-91-000 and ER 12-92-000.

       4.15. Counterparts. This Settlement Agreement may be executed in one

or more counterparts, each of which shall be deemed to be an original and all of

which together shall be deemed to be one and the same instrument.

       4.16   Termination of Prior IMPA Settlement Agreement. Effective on the

date that this Settlement Agreement becomes effective in accordance with Section

4.3, the April 5 Settlement shall be terminated, and shall be of no force or effect.




                                     Page 19 of 20



                                       A-19
     Case: 21-4072      Document: 52      Filed: 08/22/2023     Page: 53




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.

      By     h tJ~                           Date      IO.J-11·1 ;f
      DUKE ENERGY KENTUCKY, INC.

      By:    ~ d. ~ Date:                               /0 · ~"1· l'f
      AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS

      By:                                    Date: - - - - -

      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:                                    Date: _ _ __

      THE DAYTON POWER AND LIGHT COMPANY

      By:                                    Date: - - - -

      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
      ITSELF AND ITS MEMBERS

      By:                                    Date: - - - -

      INDIANA MUNICIPAL POWER AGENCY

      By:                                    Date: - - - -

      CITY OF HAMILTON, OHIO

      By:                                    Date: - - - - -

      VILLAGE OF BLANCHESTER, OHIO

      By:                                        Date: - - - - -




                                 Page 20 of 20




                                   A-20
   Case: 21-4072       Document: 52      Filed: 08/22/2023   Page: 54




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.

      By:                                  Date: _ _ __

      DUKE ENERGY KENTUCKY, INC.

      By:                                   Date: - - - -

      AMERICAN MUNICIPAL            R, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS

      By:                                   Date    /o   /41ZPI,;
      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:                                   Date: _ _ __

      THE DAYTON POWER AND LIGHT COMPANY

      By:                                   Date: - - - -

      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
      ITSELF AND ITS MEMBERS

      By:                                   Date: _ _ __

      INDIANA MUNICIPAL POWER AGENCY

      By:                                   Date:
                                                    ----
      CITY OF HAMILTON, OHIO

      By:                                   Date: _ _ __

      VILLAGE OF BLANCHESTER, OHIO

       By:                                  Date: _ _ __




                                 Page 20 of20




                                  A-21
  Case: 21-4072       Document: 52        Filed: 08/22/2023   Page: 55




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.

      By:                                   Date:
                                                     ----
      DUKE ENERGY KENTUCKY, INC.

      By:                                   Date:
                                                     ----
      AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS

      By:                                   Date: - - - -

                    WER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:                                   Date:    1~/~L/
      THE DAYTON POWER AND LIGHT COMPANY

      By:                                   Date:
                                                     ----
      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
      ITSELF AND ITS MEMBERS

      By:                                   Date: - - - -

      INDIANA MUNICIPAL POWER AGENCY

      By:                                    Date: _ _ __

      CITY OF HAMILTON, OHIO

      By:                                    Date:
                                                     ----
      VILLAGE OF BLANCHESTER, OHIO

      By:                                    Date: _ _ __




                                 Page 20 of20




                                   A-22
   Case: 21-4072      Document: 52        Filed: 08/22/2023   Page: 56




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.
      By:                                   Date: _ _ __

      DUKE ENERGY KENTUCKY, INC.

      By:                                   Date: - - - -

      AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS
      By:                                   Date: - - - -

      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:                                   Date: _ _ __

                                            MPANY


      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
      ITSELF AND ITS MEMBERS

      By:                                   Date:
                                                     ----
      INDIANA MUNICIPAL POWER AGENCY

      By:                                    Date: _ _ __

      CITY OF HAMILTON, OHIO

      By:                                    Date:
                                                     ----
      VILLAGE OF BLANCHESTER, OHIO

      By:                                    Date: _ _ __




                                 Page 20 of20




                                   A-23
    Case: 21-4072       Document: 52       Filed: 08/22/2023   Page: 57




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.

      By:                                    Date:

      DUKE ENERGY KENTUCKY, INC.

      By:                                    Date: - - -

      AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS

      By:                                    Date:

      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:

      THE DAYTON POWER AND LIGHT COMPANY

      By:                                    Date: - - - -




      By:                                    Date: _ __

      CITY OF HAMILTON, OHIO

      By:                                    Date: _ _ _ __

      VILLAGE OF BLANCHESTER, OHIO

      By:                                        Date: _ _




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                                    A-24
            Case: 21-4072   Document: 52     Filed: 08/22/2023   Page: 58




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.

      By:                                     Date: - - - -

      DUKE ENERGY KENTUCKY, INC.

      By:                                      Date: - - - -

      AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS

      By:                                      Date: - - - -

      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:                                      Date:

      THE DAYTON POWER AND LIGHT COMPANY

      By:                                      Date: - - - -

      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
      ITSELF AND ITS MEMBERS

      By:                                      Date:

      INDIANA MUNICIPAL POWER AGENCY

      By:                                      Date:    10/ w,ft4 /Jf'
      CITY OF HAMILTON, OHIO

      By:                                      Date: - - - -

      VILLAGE OF BLANCHESTER, OHIO

      By:                                      Date: - - - -




                                  Page 20 of20


                                      A-25
     Case: 21-4072      Document: 52        Filed: 08/22/2023    Page: 59




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.

      By:                                        Date:
                                                         ----
      DUKE ENERGY KENTUCKY, INC.

      By:                                        Date: - - - -

      AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS

      By:                                    Date: _ _ __

      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:                                        Date:
                                                         ----
      THE DAYTON POWER AND LIGHT COMPANY

      By:                                        Date: _ _ __

      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
      ITSELF AND ITS MEMBERS

      By:                                        Date: - - - -

      INDIANA MUNICIPAL POWER AGENCY

      By:   _________                            Date: _ _ __




      By:   _________                            Date: _ _ __




                                 Page 20 of'20




                                     A-26
            Case: 21-4072   Document: 52     Filed: 08/22/2023            Page: 60




      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

Agreement to be duly executed.

      DUKE ENERGY OHIO, INC.

      By:                                     Date:
                                                      ----
      DUKE ENERGY KENTUCKY, INC.

      By:                                     Date: - - - -

      AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
      MEMBERS

      By:                                     Date:
                                                      ----
      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

      By:                                     Date: - - - -

      THE DAYTON POWER AND LIGHT COMPANY

      By:                                     Date: - - - - -

      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
      ITSELF AND ITS MEMBERS

      By:                                     Date: - - - -

      INDIANA MUNICIPAL POWER AGENCY

      By:                                     Date: - - - - -

      CITY OF HAMILTON, OHIO

      By:                                     Date: - - - - -

      VILLAGE OF BLANCHESTER, OHIO

      By:    ~ y')'\, , ~ ~ ~                 Date:   lo - fo - :).ot ~




                                  Page 20 of20


                                      A-27
Case: 21-4072   Document: 52     Filed: 08/22/2023   Page: 61




                        EXHIBIT A




                          A-28
            Case: 21-4072         Document: 52         Filed: 08/22/2023       Page: 62




NOTICE TO WHOLESALE TRANSMISSION CUSTOMERS OF DUKE ENERGY OHIO, INC.
AND DUKE ENERGY KENTUCKY, INC.

The purpose of this communication is to inform you of the following:

    (1) Duke Energy Ohio, Inc. and Duke Energy Kentucky, Inc. (the "Duke Companies") made a filing
        with the Federal Energy Regulatory Commission ("FERC") on October 14, 2011 that will affect
        the rates that your company pays to PJM Interconnection, LLC for wholesale transmission
        service. That filing is pending before the FERC in Docket Nos. ER 12-91 and ER 12-92.

    (2) The Duke Companies' October 14, 2011 filing was addressed by the FERC in an order issued on
        April 24, 2012. That order disposed of certain issues raised in connection with the October 14,
        2011 filing, approved a settlement agreement entered into between the Duke Companies and
        Indiana Municipal Power Agency ("IMPA"), and set for hearing and settlement procedures the
        Duke Companies' proposed return on equity. For your reference, a copy of the April 24, 2012
        order is provided as Attachment 1.

    (3) The Duke Companies, American Municipal Power, Inc. ("AMP"), and the AMP member
        companies thereafter entered into a settlement agreement and filed it with FERC on February 4,
        2013. On September 19, 2013, FERC rejected the settlement agreement.

    (4) Settlement negotiations have resumed in FERC Docket Nos. ER 12-91 and ER 12-92 under the
        supervision of a FERC Administrative Law Judge. The settlement negotiations may address
        transmission rate matters beyond the return on equity issue specifically set for hearing and
        settlement procedures in the April 24, 2012 order, including the Duke Companies' recovery in
        rates of all or a portion of the legacy MISO Transmission Expansion Plan costs incurred by the
        Duke Companies.

    (5) The outcome of the settlement negotiations ongoing in FERC Docket Nos. ER 12-91 and ER12-92
        may affect the charges your company pays to PJM Interconnection for wholesale transmission
        service in the Duke zone.

    (6) If you wish to participate in the ongoing settlement negotiations, you must file a motion to
        intervene out of time with the FERC pursuant to Rule 214(b)(3) of the Commission's Rules and
        Regulations. A copy of Rule 214 is provided as Attachment 2.

    Please advise whether your company desires to participate in the settlement negotiations by providing
    a written response to me by January 7, 2014. We will construe your failure to respond by that date as
    a decision to not participate in the negotiations.




                                                A-29
Case: 21-4072   Document: 52     Filed: 08/22/2023   Page: 63




                        EXHIBIT B




                          A-30
           Case: 21-4072      Document: 52        Filed: 08/22/2023    Page: 64




                                  ATTACHMENT H-22
                            Annual Transmission Rates - DEOK
                       for Network Integration Transmission Service
                          and Point-to-Point Transmission Service

1. The Annual Transmission Revenue Requirements ("ATRR") and the rates for Network
   Integration Transmission Service and Point-to-Point Transmission Service are equal to the
   results of the formula shown in Attachment H-22A, and will be posted on the PJM website.
   The ATRR and the rates reflect the cost of providing transmission service over the 69 kV and
   higher transmission facilities of Duke Energy Ohio, Inc., and Duke Energy Kentucky, Inc.
   (jointly, "DEOK"). Service utilizing other DEOK facilities will be provided at rates
   determined on a case-by-case basis and stated in service agreements with affected customers.

2. The formula rate in this attachment shall be effective until amended by DEOK or modified
   by the Commission.

3. In addition to the rate set forth in paragraph 1, a Network Customer purchasing Network
   Integration Transmission Service shall pay for transmission congestion charges, in
   accordance with the provisions of the Tariff, and any amounts necessary to reimburse DEOK
   for any amounts payable by it as sales, excise, "Btu," carbon, value-added or similar taxes
   (other than taxes based upon or measured by net income) with respect to the amounts payable
   pursuant to the Tariff.




                                           A-31
                 Case: 21-4072               Document: 52               Filed: 08/22/2023                  Page: 65




                                                                                                                              Attachment H-22A
                                                                                                                                     Page I of 6

       Formula Rate - Non-Levelized                                                                    For the 12 months ended 12/31 /_ _

                                                         Rate Formula Template
                                                        Utilizing FERC Form I Data

                                      DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

Line                                                                                                                                  Allocated
No.                                                                                                                                   Amount
I        GROSS REVENUE REQUIREMENT             (page 3, line                                                                      $
         29)
         REVENUE CREDITS (Note T)                                                              Total             Allocator
2          Account No. 454                                       (page 4, line 34)         $                TP      0.00000       $
3          Account No. 456.1                                     (page 4, line 35)                     0    TP      0.00000                       0
4a         Revenues from Grandfathered lnterzonal Transactions                                         0    TP      0.00000                       0
4b         Revenues from service provided by ISO at a discount                                         0    TP      0.00000                       0
5a         Legacy MTEP Credit (Appendix C, page 2, line 3,                                             0            1.00000                       0
           col. 12)
5b         Firm PTP Revenue Credit Adjustment (Appendix E,                                             0           1.00000                        0
           line I 0, col. 3)
6        TOTAL REVENUE CREDITS (sum lines 2-5b)                                                                                   $

7        NET REVENUE REQUIREMENT                                 (line I minus line 6)                                            $

         DIVISOR
8        I CP (Note A)                                                                                                                            0
9        12 CP (Note B)                                                                                                                           0

10       Reserved
II       Reserved
12       Reserved
13       Reserved
14       Reserved
15       Annual Cost ($/kW/Yr) - I CP                            (line 7 / line 8)               $0.000
16       Annual Cost ($/kW/Yr) - 12 CP                           (line 7 / line 9)               $0.000
17       Network Rate ($/kW/Mo)                                  (line 15 / 12)                  $0.000
17a      Point-To-Point Rate ($/kW/Mo)                           (linel6/12)                     $0.000
                                                                                           Peak Rate                             Off-Peak Rate
18       Point-To-Point Rate ($/kW/Wk)                           (line 16 / 52; line 16          $0.000
                                                                 / 52)
19       Point-To-Point Rate ($/kW/Day)                          (line 16 / 260; line            $0.000    Capped at                       $0.000
                                                                 ]6 / 365)                                 weekly rate
20       Point-To-Point Rate ($/MWh)                             (line I 6 / 4,160; line         $0.000    Capped at                       $0.000
                                                                 16 / 8,760 * l000)                        weekly and daily
                                                                                                           rate




                                                                 A-32
                 Case: 21-4072               Document: 52              Filed: 08/22/2023           Page: 66




                                                                                                                   Attachment H-22A
                                                                                                                          Page 2 or 6


       Formula Rate - Non-Levelized                                                            For the 12 months ended 12/31/_ _

                                                         Rate Formula Template
                                                       Utilizing FERC Form I Data

                                      DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

                           (I)                        (2)                   (3)                    (4)                  (5)
Line                                            Form No. I Page,          Company                              Transmission (Col. 3
No.        RATE BASE:                              Line, Col.              Total                Allocator          times Col. 4.l

           GROSS PLANT IN SERVICE
I           Production                          205.46.g              $                  NA
2           Transmission                        207.58 g                            0    TP         0.00000    $
3           Distribution                        207.75.g                            0    NA
4           General & Intangible                205.5.g &                           0    WIS        0.00000                           0
                                                207.99.g
5           Common                              356.1                               0    CE         0.00000                        0
6          TOTAL GROSS PLANT (sum lines                               $                  GP=        0.000%     $
           1-5)
           ACCUMULATED
           DEPRECIATION
7           Production                          219.20-24.c           $                  NA
8           Transmission                        219.25.c                            0    TP         0.00000    $
9           Distribution                        219.26.c                            0    NA
IO          General & Intangible                219.28.c                            0    W/S        0.00000                           0
II          Common                              356.1                               0    CE         0.00000                           0
12         TOTAL ACCUM.                                               $                                        $
           DEPRECIATION (sum lines 7-11)

           NET PLANT IN SERVICE
13           Production                         (line I - line 7)     $
14           Transmission                       (line 2 - line 8)                   ()                         $
15           Distribution                        (line 3 - line 9)                  0
16           General & Intangible               (line 4 - line I0)                  0                                                 0
17           Common                             (line 5 - line 11)                  0                                                 0
18         TOTAL NET PLANT (sum lines 13-                             $                  NP=         0.000%    $
           17)
           ADJUSTMENTS TO RATE BASE
           (Note F)
19           Account No. 281 (enter negative)   273.8.k               $                  NA             zero   $
20           Account No. 282 (enter negative)   275.2.k                             0    NP         0.00000                           ()
21           Account No. 283 (enter negative)   277.9.k                             0    NP         0.00000                           0
22           Account No. 190                    234.8.c                             0    NP         0.00000                           0
23           Account No. 255 (enter negative)   267.8.h                             0    NP         0.00000                           0
24         TOT AL ADJUSTMENTS (sum                                    $                                        $
           lines I 9- 23)
25         LAND HELD FOR FUTURE USE             214.x.d               $                  TP         0.00000    $
           (Note G)
           WORKING CAPITAL (Nole II)
26          ewe                                 calculated            $                                                               0
27           Materials & Supplies (NoteG)       227.8.c & . I 6.c                   0    TE         0.00000                           0
28           Prepayments (Account 165)          111.57.c                            0    GP         0.00000                           0
29         TOTAL WORKING CAPITAL                                      $                                        $
           (sum lines 26 - 28)

30         RATE BASE (sum lines 18, 24, 25,                           $                                        $
           &29)




                                                                A-33
                    Case: 21-4072                 Document: 52                    Filed: 08/22/2023             Page: 67




                                                                                                                                 Attachment l-l-22A
                                                                                                                                        Page3of6

        formula Rate - Non-Levelizcd                                                                        For the 12 months ended 121311_ _

                                                               Rate Formula Template
                                                             Utilizing FERC Form I Data

                                         DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

                                   (I)                                     (2)                  (3)                    (4)                (5)
Line                                                                 Form No. I Page,         Company                             Transmission (Col.
No.    RATE BASE                                                        Line, Col.             Total                Allocator       3 times Col. 4)
       O&M
         Transmission                                                321.112.b            $                   TE      0.00000    $
la          Less LSE Expenses included in Transmission O&M           321.88.b, 92.b:                    0             1.00000                         0
            Accounts (Note V)                                        322.121.b
lb          Less Midcontinent ISO Fees included in Transmission      (Note X)                           0     TE      0.00000                         0
            O&M
2           Less Account 565                                         321.96.b                           0     TE      0.00000                         0
3        A&G                                                         323. I 97.b                        0     WIS     0.00000                         0
3a          Less Actual PBOP Expense                                 (Note E)                           0     WIS     0.00000                         0
3b          Plus Fixed PBOP Expense                                  (Note E)                           0     WIS     0.00000                         0
3c          Less PJM Integration Costs included in A&G and           (Note Y)                           0     WIS     0.00000                         0
            Internal Integration Costs included in A&G
4           Less FERC Annual Fees                                    350.14.b                           0     WIS     0.00000                         0
5           Less EPRI & Reg. Comm. Exp. & Non-safety                                                    0     WIS     0.00000                         0
            Advertising (Note I)
Sa          Plus Transmission Related Reg. Comm. Exp. (Note I)                                          0     TE      0.00000                         ()
6             Common                                                 356. I                             0     CE      0.00000                         0
7            Transmission Lease Payments                                                                0             1.00000                         0
8      TOTAL O&M (Sum lines I, 3, 3b, Sa, 6, 7 less lines I a,                            $                                          $
       I b, 2, Ja, 3c, 3d, 4, 5)
       DEPRECIATION EXPENSE
9       Transmission                                                 336.7.b              $                   TP      0.00000    $
10       General                                                     336.10.b                           0     WIS     0.00000    0
II       Common                                                      336.1 I .b                         0     CE      0.00000    0
12     TOT AL DEPRECIATION (Sum lines 9 - I I)                                            $                                        $
       TAXES OTHER THAN INCOME TAXES (Note J)
         LABOR RELATED
13     Payroll                                                       263.i                $                   WIS     0.00000     $
14     Highway and vehicle                                           263.i                              0     WIS     0.00000    0
15            PLANT RELATED
16          Property                                                 263.i                              0     GP      0.00000                         0
17     Gross Receipts                                                263.i                              0     NA          zero                        0
18          Other                                                    263.i                              0     GP      0.00000                         0
19          Payments in Iieu of taxes                                                                   0     GP      0.00000                         0
20          TOTAL OTHER TAXES (sum lines I 3 - 19)                                        $                                          $

       INCOME TAXES             (Note K)
21       T=l - {[(I - SIT)* (I - FIT)] I (I - SIT* FIT* p)) =                             0.000000%
22       CIT=(TII-T) * (1-(WCLTDIR)) =                                                    0.000000%
       where WCL TD=(page 4, line 27) and R= (page 4, line 30)
          and FIT, SIT & p are as given in footnote K.
23            I I (I -T) = (from line 21)                                                         0.0000
24      Amortized Investment Tax Credit                              266. 8. f (enter                  0
                                                                     negative)
25      Income Tax Calculation (line 22 * line 28)                                        $                   NA                 $
26      ITC adjustment (line 23 * line 24)                                                              0     NP     0.00000     0
27     Total Income Taxes                                            (line 25 plus line   $                                       $
                                                                     26)

28     RETURN                                                                             $                   NA                  $
       [Rate Base (page 2, line 30) * Rate of Return (page 4, line
       30)]
29          REV. REQUIREMENT (sum lines 8, 12, 20, 27, 28)                                $                                       $




                                                                     A-34
                                                              Case: 21-4072                    Document: 52                     Filed: 08/22/2023                              Page: 68


                                                                                                                                                                                                                               Attachment H-22A
                                                                                                                                                                                                                                      Page 4 of6

                                           Formula Rate - Non-Levelized                                                                                              For the 12 months ended 12/31/_ _
                                                                                                           Rate Formula Template
                                                                                                         Utilizing FERC Form 1 Data

                                                                                    DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)
                                                                                           SUPPORTING CALCULATIONS AND NOTES

Line No.   TRANSMISSION PLANT INCLUDED IN ISO RATES
I          Total transmission plant (page 2, line 2, column 3)
2          Less transmission plant excluded from ISO rates (Note :M)
           Less transmission plant included in OATT Ancillary Services (Note N)
           Transmission plant included in ISO Rates (line I less lines 2 & 3)
           Percentage of transmission plant included in ISO Rates (line 4 divided by line 1)                                                                                                        TP-                   0.00000
           TRANSMISSION EXPENSES
           Total transmission expenses (page 3, line 1, column 3)
           Less transmission expenses included in OATT Ancillary Services (Note L)
           Included transmission expenses (line 6 less line 7)

           Percentage of transmission expenses after adjustment (line 8 divided by line 6)                                                                                                                                0.00000
10         Percentage of transmission plant included in ISO Rates (line 5)                                                                                                                          TP                    0.00000
II         Percentage of transmission expenses included in ISO Rates (line 9 times line 10)                                                                                                         TE-                   0.00000

           WAGES & SALARY ALLOCATOR (W&S)
                                                                                                Form I Reference                                              TP        Allocation
12          Production                                                                          354.20.b                                              0       0.00                             0
13          Transmission                                                                        354.2 I.b                                             0       0.00                             0
14          Distribution                                                                        354.23.b                                              0       0.00                             0              W &S Allocator
15          Other                                                                               354.24,25,26.b                                        0       0 00                             0              ($ I Allocation)
16          Total (sum lines 12-15)                                                                                                                                                            0                           0 00000- =    ws

           COMMON PLANT ALLOCATOR (CE)                       (NoteO)
                                                                                                                                                                               % Electric                     W &S Allocator
17          Electric                                                                            200 .C                                                0                 (line 17 / line 20)                      (line 16)               CE
18          Gas                                                                                 201 d                                                 0                                   0.00000                          0.00000   =   0.00000
19          Water                                                                               201 .e                                                0
20          Total (sum lines 17 - J 9)                                                                                                                0

           RETURN(R)
                                                                                                                                                                                                                         ---0-
21                                                                                              Long Term Interest (117, sum of62 c through 67.c)
22                                                                                              Preferred Dividends (118.29c) (positive number)                                                                                 0
                                      Development of Common Stock:
23                                                                                              Proprietary Capital (112.16.c)                                                                                                  0
24                                                                                              Less Preferred Stock (line 28)                                                                                                  0
25                                                                                              Less Account 216.1 (112.12.c) (enter negafr,·e)                                                                                 0
26                                                                                              Common Stock                      (sum lines 23-25)                                                                             0

                                                                                                (NoteP)                                                         %       Cost                              Weighted
27          Long Term Debt (112. sum of 18.c through 21.c)                                                                                                0     0%                       0.00D0                            0.0000    =   WCLTD
28          Preferred Stock (112 3 c)                                                                                                                     0     0%                       0.00D0                            0.0000
29          Common Stock (line 26)                                                                                                                        0     0%                       0.1238                            0.0000
30         Total (sum lines 27-29)                                                                                                                        0                                                                0.0000    -   R

           REVENUE CREDITS
                                                                                                                                                                                                          Load
           ACCOUNT 447 (SALES FOR RESALE) (Note Q)                                                                                (310-311)
31          a. Bundled Non-RQ Sales for Resale (311.x.h)                                                                                                                                                                        0
32          b Bundled Sales for Resale included in Divisor on ~ e 1
            Total of(a)-(b)                                                                                                                                                                                                     0

34         ACCOUNT 454 (RENT FROM ELECTRIC PROPERTY)   (Note R)                                                                                                                                           s
35         ACCOUNT 456 l (OTHER ELECTRIC REVENUES)   (Note U)                                                                     (330.x.n)                                                               s




                                                                                                                    A-35
                 Case: 21-4072                  Document: 52                 Filed: 08/22/2023                   Page: 69




                                                                                                                                  Attachment H-22A
                                                                                                                                         Page 5 of 6


      Formula Rate - Non-Levelized                                                                         For the 12 months ended 12/31/_ _

                                                             Rate Formula Template
                                                           Utilizing FERC Form I Data

                                     DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

         General Note: References to pages in this formulary rate are indicated as: (page#, line#, col.#)
                       References lo data from FERC Form I are indicated as: #.y.x (page, line, column)
Notes:
  A      DEOK I CP is Duke Energy Ohio ("DEO") Monthly Firm Transmission System Peak Load as reported on page 400, column b of Form
         I at the time of DE O's annual peak, plus load served by Duke Energy Kentucky al Longbranch. For years ending 12/31/20 IO and
         12/31/2011, this sum will be reduced by the amount of distribution load served by East Kentucky Power Cooperative via Duke
         Kentucky's Hebron substation. Excludes demands from grandfathered interzonal transactions and demands from service provided by
         ISO at a discount.
  B      DEOK 12 CP is DEO Monthly Firm Transmission System Peak Load as reported on page 400, column b of Form I at the time of
         DEO's monthly peaks, plus load served by Duke Kentucky at Longbranch. For years ending 12/31/2010 and 12/31/2011, this sum will
         be reduced by the amount of distribution load served by East Kentucky Power Cooperative via Duke Kentucky's Hebron substation.
         Excludes demands from grandfathered interzonal transactions and demands from service provided by ISO at a discount.
  C      Reserved
  D      Reserved
  E      This deduction is to remove expenses recorded by DEOK for Postretiremcnt Benefits Other than Pensions (PBOP). PBOP expense is
         set forth in line 3b and is fixed until changed as the result of a filing at FERC. The fixed amount of PBOP for DEO is $2,342,494 and
         for Duke Energy Kentucky ("DEK") is $575,908.
  F      The balances in Accounts 190, 281, 282 and 283, as adjusted by any amounts in contra accounts identified as regulatory assets or
         liabilities related to FASB I06 or I09. Balance of Account 255 is reduced by prior flow th roughs and excluded if the utility chose to
         utilize amortization of tax credits against taxable income as discussed in Note K. Account 281 is not allocated.
  G      Identified in Form I as being only transmission related.
  H      Cash Working Capital assigned to transmission is one-eighth of O&M allocated to transmission at page 3, line 8, column 5.
         Prepayments arc the electric related prepayments booked to Account No. 165 and reported on Page 111 line 57 in the Form I.
         Line 5 - EPRI Annual Membership Dues listed in Form I at 353.f, all Regulatory Commission Expenses itemized at 351.h, and non-
         safety related advertising included in Account 930.1. Line Sa - Regulatory Commission Expenses directly related to transmission
         service, ISO filings, or transmission siting itemized at 351.h.
         Includes only FICA, unemployment, highway, property, gross receipts, and other assessments charged in the current year. Taxes
         related to income arc excluded. Gross receipts taxes are not included in transmission revenue requirement in the Rate Formula
         Template, since they are recovered elsewhere.
  K      The currently effective income tax rate, where FIT is the Federal income tax rate; SIT is the State income tax rate, and p = "the
         percentage of federal income tax deductible for state income taxes". If the utility is taxed in more than one state it must attach a work
         paper showing the name of each state and how the blended or composite SIT was developed. Furthermore, a utility that elected to
         utilize amortization of tax credits against taxable income, rather than book tax credits to Account No. 255 and reduce rate base, must
         reduce its income tax expense by the amount of the Amortized Investment Tax Credit (Form I, 266.8.f) multiplied by (1/1-T) (page 3,
         line 26).
                Inputs Required:                                  FIT=       0.00%
                                                                  SIT=       0.00%       (State Income Tax Rate or Composite SIT)
                                                                  p=         0.00%       (percent of federal income tax deductible for state purposes)
  L      Removes dollar amount of transmission expenses included in the OATT ancillary services rates, including Account Nos. 561.1, 561.2,
         561.3, and 56 I.BA.
  M      Removes transmission plant determined by Commission order to be state-jurisdictional according to the seven-factor test (until Form I
         balances are adjusted to reflect application of seven-factor test).
  N      Removes dollar amount of transmission plant included in the development ofOATT ancillary services rates and generation step-up
         facilities, which are deemed to be included in OATT ancillary services. For these purposes, generation step-up facilities arc those
         facilities at a generator substation on which there is no through-flow when the generator is shut down.
  0      Enter dollar amounts.
  p      Debt cost rate= long-term interest (line 21) /longterm debt (line 27). Preferred cost rate= preferred dividends (line 22) / preferred
         outstanding (line 28). ROE will be supported in the original filing and no change in ROE may be made absent a filing with FERC.
         Capitalization adjusted to exclude impacts of purchase accounting.
  Q      Line 33 must equal zero since all short-term power sales must be unbL1ndlcd and the transmission component reflected in Account No.
         456.1 and all other uses are to be included in the divisor.
  R      Includes income related only to transmission facilities, such as pole attachments, rentals and special use.
  s      Reserved
  T      The revenues credited on page I lines 2-Sc shall inc!L1de only the amounts received directly (in the case of grandfathered agreements)
         or from the ISO (for service under this tariff) reflecting the Transmission Owner's integrated transmission facilities. They do not
         include revenues associated with FERC annual charges, gross receipts taxes, ancillary services, or facilities not included in this
         template (e.g., direct assignment facilities and GSUs) which are not recovered under this Rate Formllla Template.




                                                                    A-36
                Case: 21-4072                Document: 52               Filed: 08/22/2023                   Page: 70




                                                                                                                         Attachment H-22A
                                                                                                                                Page 6 of6


      Formula Rate - Non-Levelized                                                                  For the 12 months ended 12/31 /_ _

                                                         Rate Formula Template
                                                       Utilizing FERC Form I Data

                                     DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

         General Note: References to pages in this formulary rate are indicated as: (page#, line#, col.#)
                       References to data from FERC Form I are indicated as: #.y.x (page, line, column)
Notes:
  u      On Line 35, enter revenues from RTO settlements that are associated with NITS and firm Point-to-Point Service for which the load is
         not included in the divisor to derive Duke Energy Ohio's and Duke Energy Kentucky's zonal rates. Exclude non-firm Point-to-Point
         revenues, revenues related to MTEP and RTEP projects, revenues from grandfathered interzonal transactions and revenues from service
         provided by ISO at a discount.
  V      Account Nos. 561.4, 561.8 and 575. 7 consist of RTO expenses billed to load-serving entities and are not included in Transmission
         Owner revenue requirements.
 w       Reserved
  X      Midcontinent ISO Fees include (I) the charges that DEOK paid to the Midcontinent ISO pursuant to the Settlement Agreement filed on
         July 29,201 I in Docket No. ERi 1-2059 and (2) the exit fees that DEOK paid to the Midcontinent ISO pursuant to the Exit Fee
         Agreement filed on October 5, 201 I in Docket No. ER 12-33.
  y      PJM Integration Costs are the fees that PJM assessed DEOK for the costs that PJM incurred in connection with DEOK's move into
         PJM. Internal Integration Costs are the internal administrative costs incurred by Duke Energy Ohio and Duke Energy Kentucky to
         accomplish their move from the Midcontinent !SO into PJM.




                                                               A-37
               Case: 21-4072                Document: 52                Filed: 08/22/2023                Page: 71




                                                            Attachment H-22A
                                                                                                                                   Appendix A
                                                                                                                                    Page I of I

                                                                                                       For the 12 months ended 12/31/_ _

                                             Duke Energy Ohio and Duke Energy Kentucky
                                            Transmission Formula Rate Revenue Requirement
                                                      Utilizing FERC Form I Data
                                                  For Rates Effective January!, 2012

                                                      Schedule I A Rate Calculation

      Linc                                                                                                                Revenue
      No.                                                                                     Source                  _I3equircmenl __ ,,



A.   Schedule 1A Annual Revenue Requirements
               Total Load Dispatch & Scheduling (Account 561)                      Attachment H-22A, Page 4,      $
                                                                                   Line 7

        2       Revenue Credits for Schedule 1A - Note A                                                          $



        3      Net Schedule I A Revenue Requirement for Zone                                                      $



B.   Schedule IA Rate Calculations
        4      2010 Annual MWh - Note B                                            (401a.22b & 24b)                                         MWh


        5      Schedule IA rate $/MWh (Linc 3 I Line 4)                            (Line 3 I Line 4)                            $0.0000     $/MWh




        A       Revenue received pursuant to P.IM Schedule I/\ revenue allocation procedures for transmission service outside of
                DEOK's zone during the year used lo calculate rates under Attachment H-22A.

        B      Load expressed in MWh consistent with load used for billing under Schedule I A for the DEOK zone. Data from RTO
               settlement systems for the calendar year prior to the rate year.




                                                               A-38
             Case: 21-4072                  Document: 52              Filed: 08/22/2023                   Page: 72




                                                                                                                          Attachment H-22A
                                                                                                                                Appendix B
                                                                                                                                 Page I of2
                                                                                                        For the 12 months ended 12/31 /_ _
                                                          Rate Formula Template
                                                    Utilizing Attachment H-22A Data

                                              Duke Energy Ohio and Duke Energy Kentucky
                                               RTEP - Transmission Enhancement Charges

                                          To be completed in conjunction with Attachment H-22A

                                  (I)                                                  (2)                          (3)            (4)

Line
No.                                                                   Attachment 1-1-22A Page, Line, Col.       Transmission    Allocator
       TRANSMISSION PLANT

       Gross Transmission Plant - Total                             Sch. H-22A, p 2, line 2 col 5 (Note A)
   2   Net Transmission Plant - Total                               Sch. 1-1-22A, p 2, line 14 col 5 (Note B)

       O&M EXPENSE
   3   Total O&M Allocated to Transmission                          Sch. H-22A, p 3, line 8 col 5
   4   Annual Allocation Factor for O&M                             (line 3 divided by line I col 3)                  0.00%          0.00%

       GENERAL AND COMMON (G&C) DEPRECIATION
       EXPENSE
       Total G&C Depreciation Expense                               Sch. H-22A, p 3, lines IO & 11, col 5
                                                                    (Note 1-1)
   6   Annual Allocation Factor for G&C Depreciation Expense        (line 5 divided by line l col 3)                  0.00%          0.00%


       TAXES OTHER THAN INCOME TAXES
   7   Total Other Taxes                                            Sch. H-22A, p 3, line 20 col 5
   8   Annual Allocation Factor for Other Taxes                     (line 5 divided by line I col 3)                  0.00%          0.00%

   9   Annual Allocation Factor for Expense                         Sum of lines 4, 6 and 8                                         0.00%


       INCOME TAXES
  10   Total Income Taxes                                           Sch. l-l-22A, p 3, line 27 col 5
  11   Annual Allocation Factor for Income Taxes                    (line 8 divided by line 2 col 3)                  0.00%          0.00%

       RETURN
  12   Return on Rate Base                                          Sch. l-l-22A, p 3, line 28 col 5
  13   Annual Allocation Factor for Return on Rate Base             (line IO divided by line 2 col 3)                 0.00%          0.00%

  14   Annual Allocation Factor for Return                          Sum of lines 11 and 13                                          0.00%




                                                              A-39
                                                     Case: 21-4072               Document: 52                     Filed: 08/22/2023                    Page: 73



                                                                                                                                                                                                   Attachment H-22A
                                                                                                                                                                                                         Appendix B
                                                                                                                                                                                                          Page 2 of2
                                                                                                                                                                                 For the 12 months ended 12/31/_ _
                                                                                               Rate Formula Template
                                                                                         Utilizing Attachment H-22A Data

                                                                                 Duke Energy Ohio and Duke Energy Kentucky
                                                                                  RTEP- Transmission Enhancement Charges

                                                                             Network Upgrade Charge Calculation By Project

                 (I)          (2)           (3)           (4)              (5)                   (6)               (7)                 (8)               (9)                   (10)                 (11)              (12)

I                                                                                        !
I
                                                       Annual                            I
                           RTEP            Project                       Annual                                  Annual              Annual      I     Project                                                      Network
     Line      Project                                Allocation                              Project                                                                     Annual Revenue       True-Up
                          Project          Gross                         Expense                               Allocation            Return          Depreciation                                                   Upgrade
     No.       Name                                   Factor for                             Net Plant                                                                     Requirement        Adjustment
                          Number            Plant                        Charge                             Factor for Return        Charge           Expense                                                       Charge
                                                       Expense



                                                                                                                                                                                                                    Sum Col.
                                                      (Page I line    (Col. 3 * Col.                                                 (Col. 6 *                            (Sum Col. 5. 8                             10& II
                                       (Note C)           7)                4)               (Note D)       (Page I line 12)          Col. 7)         (Note E)                &9)                 (Note F)          (Note G)
                                                                                                                                                                      I
         lb                            $       -            0.00%                $0 00       $         -                 0.00%           $0.00                   $0                   $0.00   $       -                $0.00

         le                            $       -            0.00%                $0 00       $         -                 0.00%           $0.00                   $0                   $0.00   $       -                $0.00

I                                                                                                                                !                                    I                                         i
         2    Annual Totals                                                                                                                                                             $0                 $0                $0

         3    RTEP Transmission Enhancement Charges for Attachment H-22A, Page L Line 5c                                                                                                                                     $0


    Notes:
    A         Gross Transmission Plant is that identified on page 2 line 2 of Attachment H-22A and includes any sub lines 2a or 2b etc. and is inclusive of any CWIP included in rate base when authorized
              by FERC order.
    B.        Net Transmission Plant is that identified on page 2 line 14 of Attachment H-22A and includes any sub lines 14a or 14b etc. and is inclusive of any CWIP included in rate base when
              authorized by FERC order.
    C         Project Gross Plant is the total capital investment for the project calculated in the same method as the gross plant value in line 1 and includes CWIP in rate base if applicable. This value
              includes subsequent capital investments required to maintain the facilities to their original capabilities.
    D.        Project Net Plant is the Project Gross Plant Identified in Column 3 less the associated Accumulated Depreciation.
    E.        Project Depreciation Expense is the actual value booked for the project and included in the Depreciation Expense in Attachment H-22A page 3 line 12.
    F.        True-Up Adjustment is included pursuant to a FERC approved methodology if applicable.
    G.        The Network Upgrade Charge is the value to be used in Schedule 26.
    H.        The Total General and Common Depreciation Expense excludes any depreciation expense directly associated ,vith a project and thereby included in page 2 column 9.




                                                                                                           A-40
                 Case: 21-4072                  Document: 52                 Filed: 08/22/2023                 Page: 74




                                                                                                                              Attachment H-22A
                                                                                                                                    Appendix C
                                                                                                                                     Page I ot'2
                                                                                                            For the 12 months ended 12/31 /_ _
                                                              Rate Formula Template
                                                        Utilizing Attachment H-22A Data

                                                  Duke Energy Ohio and Duke Energy Kentucky
                                                             Legacy MTEP Credit

                                              To be completed in conjunction with Attachment H-22A

                                      (I)                                                                                              (4)



    Line
    No.                                                                 Attachment 1·1-22A Page, Line, Col.      Transmission       Allocator

           TRANSMISSION PLANT
           Gross Transmission Plant - Total                             Sch. H-22/\, p 2, line 2 col 5 (Note
                                                                        A)
2          Net Transmission Plant - Total                               Sch. H-22A, p 2, line 14 col 5 (Note
                                                                        B)

           O&M EXPENSE
3          Total O&M Allocated to Transmission                          Sch. ll-22A, p 3, line 8 col 5
4          Annual Allocation Factor for O&M                             (line 3 divided by line I col 3)                0.00%                0.00%

           GENERAL AND COMMON (G&C) DEPRECIATION
           EXPENSE
5          Total G&C Depreciation Expense                               Sch. H-22A, p 3, lines IO & 11, col 5
                                                                        (Note 1-1)
6          Annual Allocation Factor for G&C Depreciation Expense        (line 5 divided by line I col 3)                0.00%                0.00%

           TAXES OTHER THAN INCOME TAXES
7          Total Other Taxes                                            Sch. 1-1-22/\, p 3, line 20 col 5
8          Annual Allocation Factor for Other Taxes                     (line 5 divided by line I col 3)                0.00%                0.00°1.,


9          Annual Allocation Factor for Expense                         Sum of lines 4, 6 and 8                                          0.00%


           INCOME TAXES
10         Total Income Taxes                                           Sch. H-22A, p 3, line 27 col 5
II         Annual Allocation Factor for Income Taxes                    (line 8 divided by line 2 col 3)                0.00%                0.00%


           RETURN
12         Return on Rate Base                                          Sch. H-22A, p 3, line 28 col 5
13         Annual Allocation Factor for Return on Rate Base             (line IO divided by line 2 col 3)               0.00%                0.00%


14         Annual Allocation Factor for Return                          Sum of lines 11 and 13                                           0.00%




                                                                  A-41
                                                       Case: 21-4072                  Document: 52                     Filed: 08/22/2023            Page: 75



                                                                                                                                                                                                Attachment H-22A
                                                                                                                                                                                                      Appendix C
                                                                                                                                                                                                       Page 2 of2
                                                                                                                                                                              For the 12 months ended 12/31/_ _
                                                                                                    Rate Formula Template
                                                                                              Utilizing Attachment H-22A Data

                                                                                      Duke Energy Ohio and Duke Energy Kentucky
                                                                                                 Legacy MTEP Credit

                                                                                  Network Upgrade Charge Calculation By Project

                 (I)          (2)            (3)            (4)                 (5)                   (6)               (7)              (8)          (9)                   (10)                     (11)              (12)

                                                                                                                                                                                           I
                          MTEP             Project
                                                         Annual
                                                                             Annual                                   Annual          Annual        Project
                                                                                                                                                                   I                                                 Network
     Line      Project                                  Allocation                                 Project                                                             Annual Revenue           True-Up
                          Project          Gross                             Expense                                Allocation        Return      Depreciation                                                       Upgrade
     No.       Name                                     Factor for                                Net Plant                                                             Requirement            Adjustment
                          Number            Plant                            Charge                              Factor for Return    Charge       Expense                                                           Charge
i                                                        Expense



                                                                                                                                                                                                                     Sum Col.
                                                        (Page 1 line       (Col. 3 * Col.                                             (Col. 6 *                        (Sum Col. 5, 8                                 IO& 11

I
                                         (Note C)           7)                   4)               (Note D)       (Page I line 12)      Col. 7)     (Note E)        I       &9)                     (Note F)          (Note G)
                                                                                                                                                                   I                                             I
         lb                                        -          0.00%                   $0 00       $         -                 0.00%       $0.00               $0                   $0.00       $            -           $0.00
                                     1$
         le                          ' $           -          0.00%                   $0.00       $         -                 0.00%       $0.00               $0                   $0.00       $            -           $0.00
                                     i                                                                                                                                                                           I


                                                                       i
                                                                                              I
                                                                                              I                                                                    i                                             I
                                                                                                                                                                                                                 i
         2    Annual Totals                                                                                                                                                          $0                     $0                $0

         3    Legacy MTEP Credit for Attachment H-22A, Page I, Line 5a                                                                                                                                                        $0


    Notes:
    A         Gross Transmission Plant is that identified on page 2 line 2 of Attachment H-22A and includes any sub lines 2a or 2b etc. and is inclusive of any CWIP included in rate base when authorized
              by FERC order.
    B.        Net Transmission Plant is that identified on page 2 line I 4 of Attachment H-22A and includes any sub lines 14a or 14b etc. and is inclusive of any CWIP included in rate base when
              authorized by FERC order.
    C.        Project Gross Plant is the total capital investment for the project calculated in the same method as the gross plant value in line I and includes CWlP in rate base if applicable. This value
              includes subsequent capital investments required to maintain the facilities to their original capabilities.
    D.        Project Net Plant is the Project Gross Plant identified in Column 3 less the associated Accumulated Depreciation.
    E.        Project Depreciation Expense is the actual value booked for the project and included in the Depreciation Expense in Attachment H-22A page 3 line 12.
    F.        True-Up Adjustment is included pursuant to a FERC approved methodology if applicable.
    G.        The Network Upgrade Charge is the value to be used in Schedule 26.
    H.        The Total General and Common Depreciation Expense excludes any depreciation expense directly associated with a project and thereby included in page 2 column 9.




                                                                                                                A-42
          Case: 21-4072        Document: 52               Filed: 08/22/2023           Page: 76




                                                                                                 Attachment H-22A
                                                                                                       Appendix D
                                                                                                        Page I 01'2
                                         DUKE ENERGY OHIO, INC.
                                          DEPRECIATION RATES

 FERC     Company
Account   Account                                                                                       Actual
Number    Number                                          Description                                Accrual Rates
  (A)       (B)                                               (C)                                         (D)
                                                                                                           %
                                              Wholly Owned Transmission Plant
 350        3403    Rights of Way                                                                        1.54
 352        3420    Structures & Improvements                                                            1.90
 352        3424    Structures & Improvements - Duke Ohio - Loe. in Ky.                                  1.90
 353        3430    Station Equipment                                                                    1.44
 353        3434    Station Equipment - Duke Ohio - Loe. in Ky.                                          1.44
 354        3440    Towers & Fixtures                                                                    1.85
 354        3444    Towers & Fixtures - Duke Ohio - Loe. in Ky.                                          1.85
 355        3450    Poles & Fixtures                                                                     2.31
 355        3454    Poles & Fixtures - Duke Ohio - Loe. in Ky.                                           2.31
 356        3460    Overhead Conductors & Devices                                                        1.91
 356        3464    Overhead Conductors & Devices - Duke Ohio - Loe. in Ky.                              1.91
 357        3470    Underground Conduit                                                                  1.43
 358        3480    Underground Conductors & Devices                                                     2.37

                                    Commonly Owned Transmission Plant - CCD Projects
 352        3421    Structures & Improvements - CCD Projects                                             2.50
 352        3425    Structures & Improvements - CCD Projects                                             2.50
 353        3431    Station Equipment - CCD Projects                                                     1.44
 353        3432    Station Equipment - CCD Projects                                                     1.44
 353        3435    Station Equipment - CCD Projects                                                     1.44
 353        3437    Station Equipment - CCD Projects                                                     1.44
 354        3441    Towers & Fixtures - CCD Prcticcts                                                    3.00
 354        3442    Towers & Fixtures - CCD Projects                                                     3.00
 354        3445    Towers & Fixtures - CCD Projects                                                     3.00
 354        3446    Towers & Fixtures - CCD Projects - Loe. In Ky.                                       3.00
 354        3448    Towers & Fixtures - CCD Projects                                                     3.00
 355        3451    Poles & Fixtures - CCD Projects                                                      3.00
 355        3455    Poles & Fixtures - CCD Projects                                                      3.00
 356        3461    Overhead Conductors & Devices - CCD Projects                                         2.50
 356        3462    Overhead Conductors & Devices - CCD Projects                                         2.50
 356        3465    Overhead Conductors & Devices - CCD Prqjects                                         2.50
 356        3466    Overhead Conductors & Devices - CCD Projects - Loe. In Ky.                           2.50


                                    Commonly Owned Transmission Plant - CD Projects
 352        3423    Structures & Improvements - CD Projects                                              2.50
 353        3433    Station Equipment - CD Projects                                                      1.44
 353        3438    Station Equipment - CD Projects                                                      1.44
 354        3447    Towers & Fixtures - CD Projects                                                      3.00
 356        3467    Overhead Conductors & Devices - CD Projects                                          2.50


                                                   General and Intagible Plant
 303        3030    Miscellaneous Intangible Plant                                                       20.00
 389        3890    Land and Land Rights                                                                 NIA
 390        3900    Structures and Improvements                                                          2.50
 391        3910    Office Furniture and Equipment                                                       2.00
 391        3911    Electronic Data Processing Equipment                                                 20.00
 391        3920    Transportation Equipment                                                              8.33
 391        3921    Trailers                                                                              4.25
  392       3940    Tools, Shop & Garage Equipment                                                        4.00
  392       3950    Laboratory Equipment                                                                  6.67
  393       3960    Power Operated Equipment                                                              5.88
  393       3970    Communication Equipment                                                               6,67
  394       3980    Miscellaneous Equipment                                                               5.00




                                                  A-43
          Case: 21-4072       Document: 52                Filed: 08/22/2023      Page: 77




                                                                                            Attachment ll-22A
                                                                                                  Appendix D
                                                                                                   Page 2 of2
                                    DUKE ENERGY KENTUCKY, INC.
                                       DEPRECIATION RATES

 FERC       Company
Account     Account                                                                                Actual
Number       Number                                        Description                          Accrual Rates
  (A)         (B)                                             (C)                                   (D)
                                                                                                     %
                                                       Transmission Plant
 350         3501     Rights of Way                                                                 1.48
 352         3520     Structures & Improvements                                                     0.41
 353         3530     Station Equipment                                                             2.25
 353         3532     Station Equipment - Major                                                     2.77
 353         3535     Station Equipment - Electronic                                                9.55
 355         3550     Poles & Fixtures                                                              2.28
 356         3560     Overhead Conductors & Devices                                                 231

                                                  General and Intangible Plant                     20.00
 303         3030     Miscellaneous Intangible Plant                                                1.77
 390          3900    Land and Land Rights                                                         I 8.56
 391         39110    Structures and Improvements                                                   6.53
 392         3921     Electronic Data Processing Equipment                                         4.14
 394          3940    Transportation Equipment                                                      6.93
 397          3970    Stores Equipment




                                                A-44
                 Case: 21-4072                  Document: 52               Filed: 08/22/2023                   Page: 78




                                                                                                                               Attachment H-22A
                                                                                                                                     Appendix E
                                                                                                                                           Page I
                                                                                                             For the 12 months ended 12/31/_ _,

                                                              Rate Formula Template
                                                        Utilizing Attachment l-l-22A Data

                                                Duke Energy Ohio and Duke Energy Kentucky
                                           Firm PTP Service Revenue Credit Adjustment Calculation

                                              To be completed in conjunction with Attachment I-l-22A

                                              (I)                                                      (2)                           (3)

    No.                                                                                           Reference                    Company Total

          REVENUE CREDIT TRUE-UP
            Difference Between Revenue Received In PJM vs. Midcontincnt ISO                        (Note A)                                   $0


          ACClJMllLATED BALANCE OF REVENUE CREDIT TRlJE-lJP
2           Accumulated Balance of Deferral                                                        (Note 13)                                  $0
3           Income Tax Rate for Deferral Calculation                                               (Note C)                                0.00%
4           Deferred Income Taxes on Accumulated Deferral (line 2 • line 3)                                                                   $0


5         Accumulated Deferral for Carrying Cos! Calculation (Line 2 - Linc 4)                                                                $0


          INCOME TAXES
6           CIT= (T/(1-T)) * (I - (WCLTD/R))                                          Attachment H-22, page 3, line 22                     0.00%


7         Income Taxes (Line 6 • Line 9)                                                                                                      $0


          CARRYING COST ON DEFERRAL
8           FERC Refund Rate                                                                       (Nole D)                                0.00%
9           Carrying Cost (Line 5 • Line 8)                                                                                                   $0


          Revenue Credi! Adjustment (Linc I + Line 7 + Linc 9)                                                                                $0


Notes
A.         From Appendix E, Workpaper, Column (4).
B.         Accumulated balance of deferral as of December 31 s' of the year prior to effective dale of new rates.
C.         Effective deferred tax rate during applicable !es! year.
D.         FERC Refund Rate is the approved rate as of December 31 of calendar prior to the rate year (sec I 8 C.F.R. Section 35.19a).




                                                                   A-45
                                                           Case: 21-4072                           Document: 52                          Filed: 08/22/2023                           Page: 79



                                                                                                                                                                                                                                     Attachment H-22A
                                                                                                                                                                                                                                           Appendix E
                                                                                                                                                                                                                                            Workpaper

                                                                                                          Duke Energy Ohio and Duke Energy Kentucky

                                                                                             Worksheet for Firm PTP Service Revenue Credit Adjustment Calculation

   (l)                      (2)                                       (3)                                  (4) = (2)- (3)                                    (5)                          (6) = (4) -(5)         (7) = Prior month's Balance+ (6)
            Actual Firm PTP Service Revenue                Actual Firm PTP Service             Difference Between Revenue Received          Monthly True-Up Adjustment Included In
          Included in Test Year Rate Calculation          Revenue Received from PJM            and Amount in Rates Excluding True           H-22A Net Revenue Requirement (Note        Amount Deferred for   Accumulated Balance of Deferred Firm PTP
Period                   (Note~                                    (Note_Bl                                      Up_                                            q                       Future Recovery         Service Revenue Credit Adiustment
Jan-12
Feb-12
Mar-12
Apr-12
May-12
Jun-12
Jul-12
Aug-12
Sep-12
Oct-12
Nov-12
Dec-12
Total

Jan-13
Feb-13
Mar-13
Apr-13
May-13
Jun-13
Jul-13
Aug-13
Sep-13
Oct-13
Nov-13
Dec-13
Total                                                                                                                                       $


Jan-14                                                                                                                                      $
Feb-14
Mar-14
Apr-14
May-14
Jun-14
Jul-14
Aug-14
Sep-14
Oct-14
Nov-14
Dec-14
Total

Jan-15
Feb-15
Mar-15
Apr-15
May-15
Total                                                                                                                                       $


Notes:
A        Monthly Firm PTP service revenue from Midcontinent ISO during test year applicable to currently effectives NITS and PTP sef\ice rates.
B.       Actual monthly Firm PTP service revenue received from PJM during current period
C        Recovery of deferral begins with the first period for billing rates approved using a test year for Anachment H-22A that includes actual operations in PH\·1
         The recovery of the amounts deferred between January 1, 2012, and December 31. :?:012, will begin on June 1, 2013. and v.ill end on May 31, 2014.
         The recovery of the amounts deferred between January 1, 2013 and May 31, 2013, \.vill begin on June 1, 2014, and will end on May 31, 2015




                                                                                                                             A-46
     Case: 21-4072           Document: 52           Filed: 08/22/2023          Page: 80




                           ATTACHMENT H-22B
              DEOK FORMULA RATE IMPLEMENTATION PROTOCOLS

Definitions

"Annual Transmission Revenue Requirements" means the result produced by populating the
Formula Rate Template with data as provided by the Formula Rate.

"Annual Update" means the posting and informational filing submitted by DEOK on or before
May 15 of each year that sets forth the DEOK Cost of Service ("COS") for the subsequent Rate
Year.

"Discovery Period" means the period after each annual Publication Date to serve information
requests on DEOK as provided in Section 2,b below.

"DEOK" means Duke Energy Kentucky, Inc., and Duke Energy Ohio, Inc.

"First Rate Ycar" means the period that begins on January l, 2012, and ends on May 31, 2012.

"Formal Challenge" means a challenge to an Annual Update submitted to the Federal Energy
Regulatory Commission ("FERC") as provided in Section 3.a below.

"Formula Rate" means these Formula Rate Implementation Protocols (to be included as
Attachment H-22B of the PJM Interconnection, L.L.C. ("P.JM"), FERC Electric Tariff
("P.JM Tariff')) and the Formula Rate Template.

"Formula Rate Template" means the collection of formulae, and worksheets, unpopulated with
any data, to be included as Attachment H-22A of the PJM Tariff:

"Interested Party" means any person or entity having standing under Section 206 of the Federal
Power Act ("FPA") with respect to the Annual Update.

"M,1terial Changes" means (i) material changes in DEOK's accounting policies and practices, (ii)
changes in FERC's Uniform System of Accounts ("USofA"), (iii) changes in FERC Form No, 1
reporting requirements as applicable, or (iv) changes in the FERC's accounting policies and
practices, which change causes a result under the Formula Rate different from the result under the
Formula Rate as calculated without such change,

"Preliminary Challenge" means a written challenge to the Annual Update submitted to DEOK as
provided in Section 2,a below.

"Protocols" means these Formula Rate Implementation Protocols (to be included as Attachment
H-22B of the PJM Tariff),

"Publication Date" means the date on which the Annual Update is posted under the provisions of
Section l .b below.




                                            A-47
     Case: 21-4072          Document: 52           Filed: 08/22/2023          Page: 81




"Rate Year" means the twelve consecutive month period that begins on June 1 and continues
through May 3 1 of the subsequent calendar year except for the First Rate Year.

"Review Period" means the period during which Interested Parties may review the calculations
in the Annual Update us provided in Section 2.a below.

Section I     Annual Updates

a.     Beginning with the Rate Year that commences on June I, 2012, and during each Rate
       Year thereafter, the Annual Transmission Revenue Requirement calculated in accordance
       with Attachment H-22A and the Network Integration Transmission Service and
       Point-to-Point rates derived therefrom shall be applicable to transmission services
       provided by PJM for the DEOK zone during the Rate Year.

b.     On or before May 15, 2012, and on or before May 15 of each succeeding Rate Year,
       DEOK shall recalculate its Annual Transmission Revenue Requirement, producing the
       "Annual Update" for the upcoming Rate Year, and:
       (i)   post such Annual Update on PJM's Internet website (via a link to the
             Transmission Services page or a similar successor page) as both a ,pdf (Po11able
             Document Format) document and a fully-functioning Excel file;
       (ii)  submit such Annual Update as an informational filing with the FERC;
       (iii) provide contact information for inquiries concerning the Annual Update;
       (iv)  send an email or other similar electronic communication to all Interested Parties
             that have previously requested such notification through procedures to be
             established by DEOK that informs the recipient that the Annual Update is
             available and that provides the Uniform Resource Locator or other similar
             identifying location information from which the Annual Update can be obtained.

c,     If the date for making the Annual Update posting/filing should fall on a weekend or a
       holiday recognized by the FERC, then the posting/filing shall be due on the next business
       day.

d.     The date on which the last of the events listed in Section 1.b or 1.c occurs shull be that
       year's "Publication Date."

e.     Within two business days of the Publication Date, DEOK shall also provide notice on
       PJM's Internet website (via a link to the Transmission Services page or a similur
       successor page) of the time, date and location of an open meeting among interested
       parties ("Annual Meeting"). This Annual Meeting shall (i) permit DEOK to explain and
       clarify its Annual Update and (ii) provide interested pa1iies an opportunity to seek
       information and clarifications from DEOK about the Annual Update. The Annual
       Meeting shall take place no sooner than ten ( 10) days after posting of the notice and no
       later than thirty (30) days after the Publication Date.

f.     Inputs to the Formula Rate are based on DEOK's books, which reflect:
       (i)     the FERC's Uniform System of Accounts, and




                                            A-48
     Case: 21-4072            Document: 52               Filed: 08/22/2023               Page: 82




      (ii)   applicable FERC Form No. 11 as each exists as of the later of the date ofDEOK's
             initial filing of the Formula Rate or the last day of the calendar year immediately
             preceding the effective date of the most recent revision to the Formula Rate.

g.    The Annual Update for the Rate Year:
      (i)   shall, to the extent specified in the Formula Rate, be based upon DEOK's FERC
            Form No, I data for the most recent calendar year, and to the extent specified in
            the Formula Rate, be based upon the books and records of DEOK consistent with
            Section l.f above;
      (ii)  shall, as and to the extent specified in the Formula Rate, provide the formula rate
            calculations and all inputs thereto, as well as supporting documentation for data
            not otherwise available in the FERC Form No. 1 that are used in the Formula
            Rate·z
      (iii) shall' provide sufficient information 3 to enable customers to replicate the
            calculation of the formula results from FERC Form No. I and other applicable
            accounting inputs and to compare that calculation to that of prior years, including
            all workpapers necessary to explain any changes made since the last update, and
            to include as applicable:

             (I)     a copy of the FERC Form No. I used for the update ifit is not otherwise
                     publicly available;
             (2)     identification of any changes in the formula references to the FERC Form
                     No. l;
             (3)     identification of all adjustments made to the FERC Form No, I data in
                     determining formula inputs, including relevant footnotes to the FERC
                     Form No. 1 and any adjustments not shown in a FERC Form No. l
                     footnote;


             If the referenced form is superseded, the successor form(s) shall be utilized and supplemented as
             necessary to provide equivulcnt information as that pl'Ovided in Lhe surerseded fo1·m, If the
             referenced form(s) Is (a1·e) discontinued, cquivnlcnt information as that provided in the
             discontinued form(s) shall be utilized.
      z.
             It is the intent of the Formula Rate, including the supporting explanations and ullocutions
             described tlwrcin, that each input to Lhe Formuln Rate will be either taken directly from the FERC
             Form No. 1 for the most recent calendar year or reconcilable to the FERC Form No, 1 by the
             application of clearly identified and supported information provided by DEOK with the i\nnuul
             Update, Where the reconciliation is provided through a worksheet included in the filed Formula
             Rate Tcmrlale, the inruts to the worksheet must meet this transparency standard, and doing so
             will satisfy this transparency requirement for the amounts thot arc output from the worksheet and
             input to the main body of the Formula Rate.
      J,
             i\s appropriate, competitively sensitive information may be provideu only to those rersons bound
             by the terms of a suitable confidentiality agreement or protective order.




                                                A-49
     Case: 21-4072            Document: 52               Filed: 08/22/2023                Page: 83




             (4)      a reconciliation of annual and monthly peak demands shown on the FERC
                      Form 1 and annual and monthly peak demands used in the formula in
                      sufficient detail to enable transparent reconciliation of these two measures;
             (5)      a description of those factors influencing any change in the annual revenue
                      requirement, including an identification of any respects in which charges
                      under the formula rate materially differ from the preceding Annual Update
                      (e.g., due to changes in accounting procedures, the purchase or sale of
                      major assets, or other such significant changes) and identification of the
                      major reason(s) for the differences, if any, between the Annual Update and
                      the prior year's Annual Update; and
             (6)      any changes to the data inputs made as a result of a reconciliation made
                      under Section 4 below.
      (iv)   shall describe material changes, if any, in DEOK's accounting policies, practices
             and procedures from those in effect for the calendar year upon which the
             immediately preceding Annual Update was based that could or did affect the
             charges under the Formula Rate ("Material Accounting Changes"); 4
      (v)    shall be subject to challenge and review only in accordance with the procedures
             set forth in this Attachment H-22B, as to the appropriateness of the input data, the
             prudence of the costs and expenditures included for recovery in the Annual
             Update, and the application of the Formula Rate according to its terms and the
             procedures in this Attachment 1-1-22B (including terms and procedures related to
             challenges concerning Material Accounting Changes);
      (vi)   except as provided for in Section 1.j below, shall not seek to modify the Formula
             Rate and shall not be subject to challenge by anyone for the purpose of modifying
             the Fomiula Rate (i.e., all such modifications to the Formula Rate will require, as
             applicable, a Federal Power Act ("FPA") Section 205 or Section 206 filing).

h,    Formula Rate inputs for rate of return on common equity, depreciation rates and
      Post-Employment Benefits Other Than Pensions ("PBOP") shall be stated values until
      changed pursuant to an FPA Section 205 or 206 filing made effective by the
      Commission, An application under Section 205 or Section 206 to modify stated values
      for depreciation rates or PBOP expense under the Formula Rate or Protocols shall not
      open review of other components of the Formula Rate or Protocols,

i.    Extrnord inary property losses recorded in FERC Account 182.1 shall be amortized for
      Formula Rate purposes pursuant to a Section 205 or 206 filing made effective by the
      Commission,




             Such notice muy incorpornte by reference applirnblc disclosure statements filed with the Securities
             and Exchange Commission ("SEC").




                                                 A-50
     Case: 21-4072          Document: 52          Filed: 08/22/2023          Page: 84




j.    Any change to the underlying Uniform System of Accounts or FERC Form No. l as
      described in Section l, f above shall be grounds for a presumption that the application of
      the Formula Rate shall be modified to restore the balance of the Formula Rate as
      accepted by the FERC (the intent being to prevent such changes in these underlying
      Uniform System of Accounts or FERC Form No. I from causing an automatic shift in the
      charges calculated under the Formula Rate without input from other interested parties).
      Any interested party seeking changes to the application of the Formula Rate due to a
      change in the Uniform System of Accounts or FERC Form No. 1 as described in
      Section 1.1: shall first raise the matter with DEOK.

Section 2     Annual Review Procedures

      Each Annual Update shall be subject to the following review procedures ("Annual
      Review Procedures"):

a.    Interested parties shall have up to one hundred eighty ( 180) days after the Publication
      Date (unless such period is extended with the written consent of DEOK or by FERC
      Order) to review the inputs, supporting explanations, allocations and calculations
      ("Review Period") and to notify DEOK in writing, which may be made electronically, of
      any specific challenges, including challenges related to the rate treatment of Material
      Accounting Changes, to the application of the Formula Rate and to changes to the
      Uniform System of Accounts or FERC Form No. l as described in Section 1.f, above,
      ("Prdirninary Challenge"). Failure to make a Preliminary Challenge or Formal
      Challenge with respect to an Annual Update shall preclude use of these procedures with
      respect to that Annual Update but shall not bar a subsequent Preliminary Challenge or
      Formal Challenge related to a subsequent Annual Update to the extent such Challenge
      affects the subsequent Annual Update.

b.     Interested Parties shall have up to one hundred fifty (150) days after each annual
       Publication Date (unless such period is extended with the written consent of DEOK or by
       FERC Order) to serve reasonable information requests on DEOK. Such information
       requests shall be limited to what is necessary to determine if DEOK has properly applied
       the Formula Rate, the requirements and procedures of this Attachment H-22B, and the
       prudence of the costs and expenditures included for recovery in the Annual Update, and
       shall not otherwise be directed to ascertaining whether the Formula Rate is just and
       reasonable.

c.     DEOK shall make a good faith effort to respond to information requests pertaining to the
       Annual Update within fifteen ( 15) business days of receipt of such requests.
       Notwithstanding anything to the contrary contained in these Protocols, with respect to
       any information requests received by DEOK within the Discovery Period and for which
       DEOK is unable to provide tt response within fifteen ( 15) business days after the end of
       the Discovery Period, the Review Period shall be extended day-for-day until DEOK's
       response is provided.




                                           A-51
     Case: 21-4072           Document: 52           Filed: 08/22/2023          Page: 85




d,     To the extent DEOK and any interested party(ies) are unable to resolve disputes related to
       information requests submitted in accordance with these Annual Review Prncedures,
       DEOK or any interested party may petition the FERC to appoint an Administrative Law
       Judge as a discovery master, The discovery master shall have the power to issue binding
       orders to resolve discovery disputes and compel the production of discovery, as
       appropriate, in accordance with the Annual Review Procedures and consistent with the
       FERC's discovery rules,

e.     Preliminary Challenges shall be subject to the resolution procedures and limitations in
       Section 3, Formal Challenges shall be filed pursuant to these Protocols and shall include
       the information required under 18 C,F.R. § 385.206 (b) (I), (2), (3), (4), and (7).

f.     Preliminary or Formal Challenges related to Material Changes are not intended to serve
       as a means of pursuing other objections to the Formula Rate. Failure to make a
       Preliminary Challenge or Formal Challenge with respect to an Annual Update shall
       preclude use of these procedures with respect to that Annual Update but shall not
       preclude a subsequent Preliminary Challenge or Formal Challenge related to a
       subsequent Annual Update to the extent such Challenge affects the subsequent Annual
       Update,

g.     In any proceeding initiated to address a Preliminary or Formal Challenge or sua sponte
       by the FERC, a party or parties seeking to modify the Formula Rate in any respect shall
       bear the applicable burden under the FPA.

Section 3     Resolution of Challenges

a.     If DEOK and any interested party(ies) have not resolved any Preliminary Challenge to
       the Annual Update within twenty-one (21) days after the Review Period, an interested
       party shall have an additional twenty-one (21) days (unless such period is extended with
       the written consent of DEOK to continue efforts to resolve the Preliminary Challenge) to
       make a Formal Challenge with the FERC, which shall be served on DEOK by electronic
       service on the date of such filing, However, there shall be no need to make a Formal
       Challenge or to await conclusion of the time periods in Section 2 if the FERC already has
       initiated a prnceeding to consider the Annual Update, Parties shall make a good faith
       effort to raise all issues in a Preliminary Challenge prior to filing a Formal Challenge;
       provided, however, that a Preliminary Challenge shall not be a prerequisite for bringing a
       Formal Challenge, Failure to notify DEOK of an issue with respect to an Annual Update
       shall not preclude an Interested Party from pursuing such issues in a Preliminary
       Challenge or Formal Challenge,

b,     Any response by DEOK to a Formal Challenge must be submitted to the FERC within
       twenty (20) days of the date of the filing of the Formal Challenge, and shall be served on
       the filing party(ies) by electronic service on the date of such tiling.

c,     In any proceeding initiated by the FERC concerning the Annual Update or in response to
       a Formal Challenge, DEOK shall bear the burden, consistent with Section 205 of the




                                            A-52
     Case: 21-4072           Document: 52            Filed: 08/22/2023           Page: 86




       Federal Power Act, of proving that it has correctly applied the terms of the Formula Rate,
       consistent with Section I ,g(v), and that it followed the applicable requirements and
       procedures in this Attachment H-22B, in that year's Annual Update, Nothing herein is
       intended to alter the burdens applied by the Commission with respect to prudence
       challenges.

d.    Subject to judicial review of FERC orders, each Annual Update shall become final as to
      the Annual Transmission Revenue Requirement calculated for the Rate Year for which
      the Annual Update was calculated and no longer subject to challenge pursuant to these
      Protocols or by any other means by the FERC or any other entity on the later to occur of
      (i) passage of the twenty-one (21) day period (or extended period, if applicable) for
      making a Formal Challenge if no such challenge has been made and the FERC has not
      initiated a proceeding to consider the Annual Update, or (ii) a final FERC order issued in
      response to a Formal Challenge or a proceeding initiated by the FERC to consider the
      Annual Update.

e.    Nothing herein shall be deemed to limit in any way the right ofDEOK to file unilaterally,
      pursuant to FPA Section 205 and the regulations thereunder, to change the Formula Rate
      or any of its inputs (including, but not limited to, rate of return and transmission incentive
      rate treatment), or to replace the Formula Rate with a stated rate, or the right of any other
      party to request such changes pursuant to Section 206 of the Federal Power Act and the
      regulations thereunder. These Protocols in no way limit the rights of DEOK or any
      Interested Party to initiate a proceeding at the FERC at any time with respect to the
      Formula Rate or any Annual Update consistent with the party's full rights under the FPA,
      including Sections 205, 206 and 306, and the FERC's regulations.

f.    SuQject to Section 2.e above, it is recognized that resolution of Formal Challenges
      concerning Material Accounting Changes or related to the Uniform System of Accounts
      or FERC Form No. 1 as described above may necessitate adjustments to the Formula
      Rate input data for the applicable Annual Update or changes to the Formula Rate to
      achieve a just and reasonable end result consistent with the intent of the Formula Rate.

g.    In making or resolving any Preliminary or Formal Challenge under this Section, a party
      may rely on all information provided by DEOK, including information provided under
      the terms of a confidentiality agreement or protective order; provided, however, that
      parties receiving such information pursuant to a confidentiality agreement or protective
      order shall be bound by the restrictions placed by such agreement or order on disclosure
      or use of confidential information.

Section 4     Changes to Annual Informational Filings



       a.     Notice, If any changes are required to be made to the Annual Update, whether
       because of changes made under these Protocols, due to revisions made to a prior year's
       FERC Form No. I report of Duke Energy Kentucky, Inc., or Duke Energy Ohio, Inc., or




                                             A-53
Case: 21-4072          Document: 52            Filed: 08/22/2023            Page: 87




input data used for a Rate Year or calendar year that would have affected the Annual
Update for that Rate Year or calendar year, or as the result of any FERC proceeding to
consider a prior year's Annual Update, DEOK shall promptly notify the Interested
Parties, file a correction to the Annual Update with the FERC as an amended
informational filing describing the change(s) and the cost impact, and provide a copy of
the amended informational filing to PJM for prompt posting by PJM.

b.      Necessary Changes When Made. Except as provided for below in Section 4.c,
any corrections or revisions to the inputs and resulting rates that are required as a result of
a change reported in Section 4,a shall be reflected in the next Annual Update, including
any resulting refunds or surcharges for corrected past charges which shall be made with
interest as per section 35.19a of the Commission's regulations.

c.      Changes Made During the Review Period. Unless otherwise agreed by DEOK
and the Interested Parties, a correction made under Section 4.a prior to the time
determined for filing of a Formal Complaint shall reset the performance dates under
Sections 2 and 3 of these Protocols for Interested Party Annual Review, and the revised
dates shall run from the posting date(s) for each of the corrections. The scope of the
Annual Review shall then be limited to the aspects of the Formula Rate affected by the
corrections.




                                                                                       p




                                       A-54
            Case: 21-4072      Document: 52       Filed: 08/22/2023    Page: 88




                                 ATTACHMENT JJ
                   MTEP PROJECT COST RECOVERY FOR DEOK ZONE

I. Definitions

       A.     DEOK- Duke Energy Ohio, Inc., and Duke Energy Kentucky, Inc.

       B.      Midwest ISO or MISO - The Midwest Independent Transmission System
Operator, Inc.

      C.      Midwest ISO Tariff -The Midwest ISO's Open Access Transmission, Energy,
and Operating Reserve Markets Tariff.

       D.         [Reserved]

      E.     MTEP - The Midwest ISO Transmission Expansion Plan established pursuant to
Attachment FF of the Midwest ISO Tariff.

      F.     MTEP Project -A transmission project constructed by DEOK pursuant to
Attachment FF of the Midwest ISO Tariff.

II. Introduction and Purpose

This Attachment JJ addresses the manner in which the PJM Office of the Interconnection will
distribute to Duke Energy Ohio, Inc. on behalf of DEOK the revenues received from the
Midwest ISO for the cost of MTEP Projects constructed by DEOK.

III. [Reserved]



IV. DEOK MTEP Project Revenue Requirements Allocated to Midwest ISO Zones

   A. Derivation of Annual Revenue Requirements

       Under the methodology provided under Attachment H-22 to this Tariff, DEOK will
       periodically update the Annual Revenue Requirements for MTEP Projects constructed by
       DEOK. No later than May 1 each year, DEOK shall provide these updated revenue
       requirements to the Midwest ISO for the upcoming June 1 - May 31 rate year.

   B. Allocation of Annual Revenue Requirements to Midwest ISO Zones

       The portion of the Annual Revenue Requirements derived under Section IV.A that will
       be recovered from transmission customers taking transmission service in the Midwest
       ISO shall be calculated by the Midwest ISO in accordance with the Midwest ISO Tariff.




                                           A-55
       Case: 21-4072      Document: 52        Filed: 08/22/2023    Page: 89




C. Monthly Revenue Requirements Owed from the Midwest ISO Zones

   Each month, and pursuant to agreed-upon settlement procedures, the Midwest ISO shall
   remit an amount to the PJM Office of the Interconnection from revenues collected by the
   Midwest ISO in proportion to DEOK's annual pro-rata share of the total Network
   Upgrade Charge as described in the Midwest ISO Schedule 38.

D. Revenue Distribution from Payments Made by Transmission Customers in the
   Midwest ISO

   Pursuant to agreed-upon settlement procedures, PJM shall credit to Duke Energy Ohio's
   account (on behalf of DEOK) in the subsequent month the amount of revenue
   requirements that the Midwest ISO remits to PJM pursuant to Section IV.C for the prior
   month.




                                       A-56
Case: 21-4072   Document: 52     Filed: 08/22/2023   Page: 90




                        EXHIBIT C




                          A-57
           Case: 21-4072      Document: 52        Filed: 08/22/2023     Page: 91




                                  ATTACHMENT H-22
                            Annual Transmission Rates - DEOK
                       for Network Integration Transmission Service
                          and Point-to-Point Transmission Service

1. The Annual Transmission Revenue Requirements ("A TRR") and the rates for Network
   Integration Transmission Service and Point-to-Point Transmission Service are equal to the
   results of the formula shown in Attachment H-22A, and will be posted on the PJM website.
   The A TRR and the rates reflect the cost of providing transmission service over the 69 kV and
   higher transmission facilities of Duke Energy Ohio, Inc., and Duke Energy Kentucky, Inc.
   (jointly, "DEOK"). Service utilizing other DEOK facilities will be provided at rates
   determined on a case-by-case basis and stated in service agreements with affected customers.

2. The formula rate in this attachment shall be effective until amended by DEOK or modified
   by the Commission.

3. In addition to the rate set forth in paragraph 1, a Network Customer purchasing Network
   Integration Transmission Service shall pay for transmission congestion charges, in
   accordance with the provisions of the Tariff, and any amounts necessary to reimburse DEOK
   for any amounts payable by it as sales, excise, "Btu," carbon, value-added or similar taxes
   (other than taxes based upon or measured by net income) with respect to the amounts payable
   pursuant to the Tariff.




                                           A-58
                 Case: 21-4072               Document: 52                Filed: 08/22/2023                 Page: 92




                                                                                                                              Attachment H-22A
                                                                                                                                     Page I of 6

       Formula Rate - Non-Levelized                                                                    For the 12 months ended 12/31/_ _

                                                         Rate Formula Template
                                                        Utilizing FERC Form I Data

                                      DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

Line                                                                                                                                  Allocated
No.                                                                                                                                   Amount
I        GROSS REVENUE REQUIREMENT             (page 3, line                                                                      $
         29)
         REVENUE CREDITS (Note T)                                                              Total             Allocator
2          Account No. 454                                        (page 4, line 34)        $                TP      0.00000       $
3          Account No. 456.1                                      (page 4, line 35)                    0    TP      0.00000                       0
4a         Revenues from Grandfathered lnterzonal Transactions                                         0    TP      0.00000                       0
4b         Revenues from service provided by ISO at a discount                                         0    TP      0.00000                       0
Sa         Legacy MTEP Credit (Appendix C, page 2, line 3,                                             0            1.00000                       0
           col. 12)
Sb         Firm PTP Revenue Credit Adjustment (Appendix E,                                             0           1.00000                        0
           line I 0, col. 3)
6        TOTAL REVENUE CREDITS (sum lines 2-Sb)                                                                                   $

7        NET REVENUE REQUIREMENT                                  (line I minus line 6)                                           $

         DIVISOR
8        I CP (Note A)                                                                                                                            0
9        12 CP (Note B)                                                                                                                           0

IO       Reserved
II       Reserved
12       Reserved
13       Reserved
14       Reserved
15       Annual Cost ($/kW/Yr) - I CP                             (line 7 / line 8)              $0.000
16       Annual Cost ($/kW/Yr) - 12 CP                            (line 7 / line 9)              $0.000
17       Network Rate ($/kW/Mo)                                   (line 15 / 12)                 $0.000
17a      Point-To-Point Rate ($/kW/Mo)                            (linel6/12)                    $0.000
                                                                                           Peak Rate                             Off-Peak Rate
18       Point-To-Point Rate ($/kW/Wk)                            (line 16 / 52; line 16         $0.000
                                                                  / 52)
19       Point-To-Point Rate ($/kW /Day)                          (line 16 / 260; line           $0.000    Capped at                       $0.000
                                                                  16 / 365)                                weekly rate
20       Point-To-Point Rate ($/MWh)                              (line 16 / 4,160; line         $0.000    Capped at                       $0.000
                                                                   16 / 8,760 * !000)                      weekly and daily
                                                                                                           rate




                                                                 A-59
                   Case: 21-4072              Document: 52              Filed: 08/22/2023            Page: 93




                                                                                                                      Attachrncnt H-22A
                                                                                                                              Page 2 of 6


       Forrnula Rate - Non-Levelized                                                             For the 12 rnonths ended 12131 I _ _

                                                          Rate Formula Ternplatc
                                                        Utilizing FERC Forrn I Data

                                       DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

                            (I)                        (2)                    (3)                    (4)                     (5)
Line                                             Form No. I Page,          Cornpany                                Transrnission (Col. 3
No.        RATE BASE:                               Line, Col.              Total                 Allocator            tirnes Col. 4)

           GROSS PLANT IN SERVICE
I           Production                           205.46.g              $                   NA
2           Transmission                         207.58.g                             0    TP          0,00000    $
3           Distribution                         207,75.g                             0    NA
4           General & Intangible                 205.5.g &                            0    WIS         0,00000                             0
                                                 207.99,g
5           Common                               356.1                                0    CE          0.00000                             ()
6          TOTAL GROSS PLANT (sum lines                                $                   GP=         0.000%     $
           1-5)
           ACCUMULATED
           DEPRECIATION
7           Production                           219.20-24.c           $                   NA
8           Transmission                         219.25.c                             0    TP          0,00000    $
9           Distribution                         219.26.c                             0    NA
10          General & Intangible                 219.28.c                             0    WIS         0,00000                             0
II          Common                               356.1                                0    CE          0,00000                             0
12         TOT AL ACCUM.                                               $                                          $
           DEPRECIATION (sum lines 7-11)

           NET PLANT IN SERVICE
13           Production                          (line I - line 7)     $
14           Transmission                        (line 2 - line 8)                    0                           $
15           Distribution                         (line 3 - line 9)                   0
16           General & Intangible                (line 4 - line I 0)                  ()                                                   ()
17           Comrnon                             (line 5 - line 11)                   ()                                                   0
18         TOTAL NET PLANT (sum lines 13-                              $                   NP=         0.000%     $
           17)
           ADJUSTMENTS TO RA TE BASE
           (Note F)
19           Account No. 281 (enter negative)    273.8.k               $                   NA              zero   $
20           Account No. 282 (enter negative)    275.2.k                              0    NP          0,00000                             0
21           Account No. 283 (enter negative)    277.9.k                              0    NP          0,00000                             0
22           Account No. 190                     234.8.c                              0    NP          0.00000                             0
23           Account No. 255 (enter negative)    267.8.h                              0    NP          0.00000                             0
24         TOT AL ADJUSTMENTS (sum                                     $                                          $
           lines 19- 23)
25         LAND HELD FOR FUTURE USE              214.x.d               $                   TP          0.00000    $
           (Note G)
           WORKING CAPITAL (Note H)
26           ewe                                 calculated            $                                                                   0
27           Materials & Supplies (Note G)       227.8.c & .16.c                      0    TE          0,00000                             0
28           Prepayrncnts (Account 165)          111.57.c                             0    GP          0.00000                             ()
29         TOTAL WORKING CAPITAL                                       $                                          $
           (surn lines 26 - 28)

30         RATE BASE (sum lines 18, 24, 25,                            $                                          $
           & 29)




                                                                 A-60
                    Case: 21-4072                 Document: 52                  Filed: 08/22/2023                Page: 94




                                                                                                                                  Attachment l-l-22A
                                                                                                                                         Page 3 of 6

        Formula Rate - Non-Levelized                                                                        For the 12 months ended 1213

                                                               Rate Formula Template
                                                             Utilizing FERC Form I Data

                                         DUKE ENERGY 01-110 AND DUKE ENERGY KENTUCKY (DEOK)

                                   (I)                                     (2)                  (3)                     (4)               (5)
Line                                                                 Form No. I Page,         Company                             Transmission (Col.
No.    RATE BASE                                                        Line, Col.             Total                 Allocator      3 times Col. 4)
       O&M
         Transmission                                                321.112.b            $                   TE      0.00000     $
Ia          Less LSE Expenses included in Transmission O&M           321.88.b, 92.b;                    0             1.00000                          0
            Accounts (Note V)                                        322. 121.b
lb          Less Midcontinent ISO Fees included in Transmission      (Note X)                           0     TE      0.00000                          0
            O&M
2           Less Account 565                                         321.96.b                           0     TE      0.00000                          0
3        A&G                                                         323. I97.b                         0     WIS     0.00000                          0
3a          Less Actual PBOP Expense                                 (Note E)                           0     WIS     0.00000                          0
3b          Plus Fixed PBOP Expense                                  (Note E)                           0     WIS     0.00000                          0
3c          Less PJM Integration Costs included in A&G and           (Note Y)                           0     WIS     0.00000                          0
            Internal Integration Costs included in A&G
4           Less FERC Annual Fees                                    350.14.b                           0     WIS     0.00000                          0
5           Less EPRI & Reg. Comm. Exp. & Non-safety                                                    0     WIS     0.00000                          0
            Advertising (Note I)
Sa          Plus Transmission Related Reg. Comm. Exp. (Note I)                                          0     TE      0.00000                          0
6             Common                                                 356.1                              0     CE      0.00000                          0
7            Transmission Lease Payments                                                                0             1.00000                          0
8      TOTAL O&M (Sum lines I, 3, 3b, Sa, 6, 7 less lines I a,
                                                                                          $                                        $
       I b, 2, 3a, 3c, 3d, 4, 5)
       DEPRECIATION EXPENSE
9        Transmission                                                336.7.b              $                   TP      0.00000      $
10       General                                                     336.10.b                           0     WIS     0.00000                          0
11       Common                                                      336.11.b                           0     CE      0.00000                          0
12     TOTAL DEPRECIATION (Sum lines 9 - 11)                                              $                                        $
       TAXES OTHER THAN INCOME TAXES (Note J)
         LABOR RELATED
13     Payroll                                                       263.i                $                   WIS      0.00000     $
14     Highway and vehicle                                           263.i                              0     WIS      0.00000                         0
15            PLANT RELATED
16          Property                                                 263.i                              0     GP       0.00000                         0
17     Gross Receipts                                                263.i                              0     NA           zero                        0
18          Other                                                    263.i                              0     GP       0.00000                         0
19          Payments in lieu of taxes                                                                   0     GP       0.00000                         0
20          TOT AL OTHER TAXES (sum lines 13 - 19)                                        $                                        $

       INCOME TAXES              (Note K)
21       T=l - {[(I - SIT)* (I - FIT)] I (1 - SIT* FIT* p)} =                                 0.000000%
22       CIT=(Tll-T) * (1-(WCLTDIR)) =                                                        0.000000%
       where WCLTD=(page 4, line 27) and R= (page 4, line 30)
          and FIT, SIT & p are as given in footnote K.
23            I I (I - T) = (from line 21)                                                        0.0000
24      Amortized Investment Tax Credit                              266.8.f(enter
                                                                                                        0
                                                                     negative)
25      Income Tax Calculation (line 22 * line 28)                                        $                   NA                   $
26      ITC adjustment (line 23 • line 24)                                                              0     NP     0.00000                           0
27     Total Income Taxes                                            (line 25 plus line   $                                        $
                                                                     26)

28     RETURN                                                                             $                   NA                   $
       [Rate Base (page 2, line 30) • Rate of Return (page 4, line
       30)]
29          REV. REQUIREMENT (sum lines 8, I2, 20, 27, 28)                                $                                        $




                                                                     A-61
                                                         Case: 21-4072                         Document: 52                    Filed: 08/22/2023                           Page: 95


                                                                                                                                                                                                                                  Attachment H-22A
                                                                                                                                                                                                                                         Page 4 of 6

                                           Formula Rate - Non-Levelized                                                                                                 For the 12 months ended 12/31/_ _
                                                                                                               Rate Formula Template
                                                                                                             Utilizing FERC Form 1 Data

                                                                                    DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)
                                                                                           SUPPORTING CALCULATIONS AND NOTES

Line No.   TRANSMISSION PLANT INCLUDED IN ISO R.\TES
I          Total transmission plant (page 2, line 2, column 3)
           Less transmission plant excluded from ISO rates (Note M)                                                                                                                                                                 0
           Less transmission plant included in OATT Ancillary Services (Note N)                                                                                                                                                     0
4          Transmission plant included in ISO Rates (line l less lines 2 & 3)
5          Percentage of transmission plant included in ISO Rates (line 4 divided by line 1)                                                                                                           TP-                   0 00000
           TRANSMISSION EXPENSES
           Total transmission expenses (page 3, line 1, column 3)
           Less transmission expenses included in OATT .A.ncillarv Services (Note L)
           Included transmission expenses (line 6 less line 7)

9          Percentage of transmission expenses after adjustment (line 8 divided by line 6)                                                                                                                                   0.00000
10         Percentage of transmission plant included in ISO Rates (line 5)                                                                                                                             TP                    0.00000
           Percentage of transmission expenses included in ISO Rates (line 9 times line 10)                                                                                                            TE-                   0.00000

           WAGES & SALARY ALLOCATOR (W&S)
                                                                                                  Form 1 Reference                                               TP        Allocation
12          Production                                                                            354.20.b                                               0       0.00                             0
13          Transmission                                                                          354.21 b                                               0       0 00                             0
14          Distribution                                                                          354.23.b                                               0       0 00                             0              W &S Allocator
15          Other                                                                                 354.24,25,26.b                                         0       0 00                             0              i2} Allocation)
16          Total (sum lines 12-15)                                                                                                                      0                                                                   0.00000      WS

           COMMON PLANT ALLOCATOR (CE)                       (NoteO)
                                                                                                                                                                                  ¾ Electric                     W &S Allocator
17          Electric                                                                              200.3.c                                                                  (line 17 / line 20)                      (line 16)             CE
18          Gas                                                                                   201 .3.d                                                                                   0.00000                          0.00000     0.00000
19          V..'ater                                                                              201 3 e
20          Total (sum lines 17 - 19)

           RETURN(R)                                                                                                                                                                                         $
21                                                                                                Long Term Interest (I 17, sum of 62.c through 67 c)                                                                              0
22                                                                                                Preferred Di\'idends (l l8.29c) (positive number)                                                                                0
                                      Development of Common Stock
23                                                                                                Proprietary Capital (112.16.c)                                                                                                   0
24                                                                                                Less Preferred Stock (line 28)                                                                                                   0
25                                                                                                Less Account 216_ l (112.12.c) (enter negative)                                                                                  0
26                                                                                                Common Stock                       (sum lines 23-25)                                                                             0
                                                                                                  (Note P)                                                         %       Cost                              Weighted
27          Long Term Debt (l 12. sum of 18.c through 21.c)                                                                                                  0     0%                       0.0000                            0.0000      WCLTD
28          Preferred Stock (I 12.3.c)                                                                                                                       0     0%                       0.0000                            0.0000
29          Common Stock (line 26)                                                                                                 - - - - - - - - ~ O _ 0%                                 0.1138                            0.0000
30         Total (sum lines 27-29)                                                                                                                                                                                            0 0000      R

           REVENUE CREDITS
                                                                                                                                                                                                             Load
           ACCOUNT 447 (SALES FOR RESALE) (Note Q)                                                                                    (310-31 !)
    I       a Bundled Non-RQ Sales for Resale (311.x.h)                                                                                                                                                                            0
 2          b Bundled Sales for Resale included in Divisor on ~ e l
 0          Total of (a)-(b)                                                                                                                                                                                                       0

34         ACCOUNT 454 (RENT FROM ELECTRJC PROPERTY)   (Note R)                                                                                                                                              s
35         ACCOUNT 456.1 (OTHER ELECTRJC REVENUES)   (Note U)                                                                         (330.x n)                                                              s



                                                                                                                   A-62
                 Case: 21-4072                  Document: 52                 Filed: 08/22/2023                   Page: 96




                                                                                                                                  Attachment H-22A
                                                                                                                                         Page 5 of 6


      Formula Rate - Non-Levelized                                                                         For the 12 months ended 12/31 /_ _

                                                             Rate Formula Template
                                                           Utilizing FERC Form I Data

                                     DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

         General Note: References to pages in this formulary rate arc indicated as: (page#, line#, col.#)
                       References to data from FERC Form I arc indicated as: #.y.x (page, line, column)
Notes:
  A      DEOK l CP is Duke Energy Ohio ("DEO") Monthly Firm Transmission System Peak Load as reported on page 400, column b of Form
         I at the time of DEO's annual peak, plus load served by Duke Energy Kentucky at Longbranch. For years ending 12/31/20 IO and
         12/31/2011, this sum will be reduced by the amount of distribution load served by East Kentucky Power Cooperative via Duke
         Kentucky's Hebron substation. Excludes demands from grandfathered interzonal transactions and demands from service provided by
         ISO at a discount.
  B      DEOK 12 CP is DEO Monthly Firm Transmission System Peak Load as reported on page 400, column b of Form I at the time of
         DEO's monthly peaks, plus load served by Duke Kentucky at Longbranch. For years ending 12/31/20 IO and 12/31/2011, this sum will
         be reduced by the amount of distribution load served by East Kentucky Power Cooperative via Duke Kentucky's Hebron substation.
         Excludes demands from grandfathered interzonal transactions and demands from service provided by ISO at a discount.
  C      Reserved
  D      Reserved
  E      This deduction is to remove expenses recorded by DEOK for Postretircment Benefits Other than Pensions (PBOP). PBOP expense is
         set forth in line 3b and is fixed until changed as the result of a filing at FERC. The fixed amount of PBOP for DEO is $2,342,494 and
         for Duke Energy Kentucky ("DEK") is $575,908.
  F      The balances in Accounts 190, 28 I, 282 and 283, as adjusted by any amounts in contra accounts identified as regulatory assets or
         liabilities related to FASB I 06 or I09. Balance of Account 255 is reduced by prior now throughs and excluded if the utility chose to
         utilize amortization of tax credits against taxable income as discussed in Note K. Account 281 is not allocated.
  G      Identified in Form I as being only transmission related.
  H      Cash Working Capital assigned to transmission is one-eighth ofO&M allocated to transmission at page 3, line 8, column 5.
         Prepayments are the electric related prepayments booked to Account No. 165 and reported on Page 111 line 57 in the Form I.
         Line 5 - EPRI Annual Membership Dues listed in Form l at 353.f, all Regulatory Commission Expenses itemized at 351.h, and non-
         safety related advertising included in Account 930.1. Linc Sa - Regulatory Commission Expenses directly related to transmission
         service, ISO filings, or transmission siting itemized at 351.h.
         Includes only FICA, unemployment, highway, property, gross receipts, and other assessments charged in the current year. Taxes
         related to income are excluded. Gross receipts taxes are not included in transmission revenue requirement in the Rate Formula
         Template, since they arc recovered elsewhere.
  K      The currently effective income tax rate, where FIT is the Federal income tax rate; SIT is the State income tax rate, and p = "the
         percentage of federal income tax deductible for state income taxes". If the utility is taxed in more than one state it must attach a work
         paper showing the name of each state and how the blended or composite SIT was developed. Furthermore, a utility that elected to
         utilize amortization of tax credits against taxable income, rather than book tax credits to Account No. 255 and reduce rate base, must
         reduce its income tax expense by the amount of the Amortized Investment Tax Credit (Form l, 266.8.f) multiplied by (l/1-T) (page 3,
         line 26).
                Inputs Required:                                  FIT=       0.00%
                                                                  SIT=       0.00%       (State Income Tax Rate or Composite SIT)
                                                                  p=         0.00%       (percent of federal income tax deductible for state purposes)
  L      Removes dollar amount of transmission expenses included in the OATT ancillary services rates, including Account Nos. 561.1, 561.2,
         561.3, and 561.BA
  M      Removes transmission plant determined by Commission order to be state-jurisdictional according to the seven-factor test (until Form I
         balances are adjusted to reflect application of seven-factor test).
  N      Removes dollar amount of transmission plant included in the development ofOATT ancillary services rates and generation step-up
         facilities, which are deemed to be included in OATT ancillary services. For these purposes, generation step-up facilities arc those
         facilities at a generator substation on which there is no through-flow when the generator is shut down.
  0      Enter dollar amounts.
  p      Debt cost rate= long-term interest (line 21) /longterm debt (line 27). Preferred cost rate= preferred dividends (line 22) / preferred
         outstanding (line 28). ROE will be supported in the original filing and no change in ROE may be made absent a filing with FERC.
         Capitalization adjusted to exclude impacts of purchase accounting.
  Q      Line 33 must equal zero since all short-term power sales must be unbundled and the transmission component reflected in Account No.
         456. l and all other uses are to be included in the divisor.
  R      Includes income related only to transmission facilities, such as pole attachments, rentals and special use.
  s      Reserved
  T      The revenues credited on page I lines 2-5c shall include only the amounts received directly (in the case of grandfathered agreements)
         or from the ISO (for service under this tariff) reflecting the Transmission Owner's integrated transmission facilities. They do not
         include revenues associated with FERC annual charges, gross receipts taxes, ancillary services, or facilities not included in this
         template (e.g., direct assignment facilities and GSUs) which are not recovered under this Rate Formula Template.




                                                                    A-63
                 Case: 21-4072                Document: 52                Filed: 08/22/2023                   Page: 97




                                                                                                                             Attachment H-22A
                                                                                                                                    Page 6 of 6


      For111ula Rate - Non-Levelized                                                                   For the 12 111onths ended 12/31/_ _

                                                           Rate Formula Template
                                                         Utilizing FERC Form I Data

                                       DUKE ENERGY OHIO AND DUKE ENERGY KENTUCKY (DEOK)

         General Note: References to pages in this for111ulary rate are indicated as: (page#, line#, col.#)
                       References to data from FERC For111 I are indicated as: #.y.x (page, line, column)
Notes:
  u      On Line 35, enter revenues from RTO settle111ents that are associated with NITS and fir111 Point-to-Point Service for which the load is
         not included in the divisor to derive Duke Energy Ohio's and Duke Energy Kentucky's zonal rates. Exclude non-firm Point-to-Point
         revenues, revenues related to MTEP and RTEP projects, revenues fro111 grandfathered interzonal transactions and revenues fro111 service
         provided by ISO at a discount.
  V      Account Nos. 561.4, 561.8 and 575.7 consist of RTO expenses billed to load-serving entities and are not included in Trans111ission
         Owner revenue require111ents.
  w      Reserved
  X      Midcontinent ISO Fees include (I) the charges that DEOK paid to the Midcontinent ISO pursuant to the Settlement Agreement filed on
         July 29, 2011 in Docket No. ER 11-2059 and (2) the exit fees that DEOK paid to the Midcontinent ISO pursuant to the Exit Fee
         Agreement filed on October 5, 2011 in Docket No. ER 12-33.
  y      PJM Integration Costs are the fees that PJM assessed DEOK for the costs that PJM incurred in connection with DEOK's move into
         PJM. Internal Integration Costs are the internal ad111inistrative costs incurred by Duke Energy Ohio and Duke Energy Kentucky to
         accomplish their 111ove from the Midcontincnt ISO into PJM.




                                                                 A-64
               Case: 21-4072               Document: 52                Filed: 08/22/2023               Page: 98




                                                            Attachment H-22A
                                                                                                                                 Appendix A
                                                                                                                                  Page I of I

                                                                                                      For the 12 months ended I2/31 /_ _

                                            Duke Energy Ohio and Duke Energy Kentucky
                                           Transmission Formula Rate Revenue Requirement
                                                     Utilizing FERC Form I Data
                                                 For Rates Effective January I, 2012

                                                     Schedule I A Rate Calculation

      Line                                                                                                            Revenue
      No.                                                                                    Source                  Requirement



A.   Schedule IA Annual Revenue Requirements
               Total Load Dispatch & Scheduling (Account 561)                     Attachment H-22A, Page 4,      $
                                                                                  Linc 7

        2       Revenue Credits for Schedule I A - Note A                                                        $



        3      Net Schedule I A Revenue Requirement for Zone                                                     $



B.   Schedule IA Rate Calculations
        4      20 IO Annual MWh - Note B                                          (40la.22b & 24b)                                       MWh


        5      Schedule I A rate $/MWh (Line 3 / Linc 4)                          (Line 3 / Line 4)                        $0.0000       $/MWh




     Notes:
        A       Revenue received pursuant to PJM Schedule IA revenue allocation procedures for transmission service outside of
                DEOK's zone during the year used to calculate rates under Attachment H-22A.

        B      Load expressed in MWh consistent with load used for billing under Schedule I A for the DEOK zone. Data from RTO
               settlement systems for the calendar year prior to the rate year.




                                                              A-65
            Case: 21-4072                   Document: 52              Filed: 08/22/2023                  Page: 99




                                                                                                                          Attachment I 1-22A
                                                                                                                                Appendix B
                                                                                                                                 Page I of2
                                                                                                        For the 12 months ended 12/31 /_ _
                                                          Rate Formula Template
                                                    Utilizing Attachment H-22A Data

                                              Duke Energy Ohio and Duke Energy Kentucky
                                               RTEP - Transmission Enhancement Charges

                                          To be completed in conjunction with Attachment H-22A

                                  (I)                                                   (2)                          (3)            (4)

Line
No.                                                                   Attachment H-22A Page, Line, Col.         Transmission     Allocator
       TRANSMISSION PLANT

       Gross Transmission Plant - Total                             Sch. H-22A, p 2, line 2 col 5 (Note A)
   2   Net Transmission Plant - Total                               Sch. H-22A, p 2, line 14 col 5 (Note B)

       O&M EXPENSE
   3   Total O&M Allocated to Transmission                          Sch. l-l-22A, p 3, line 8 col 5
   4   Annual Allocation Factor for O&M                             (line 3 divided by line I col 3)                   0.00%         0.00%


       GENERAL AND COMMON (G&C) DEPRECIATION
       EXPENSE
   5   Total G&C Depreciation Expense                               Sch. H-22/\, p 3, lines IO & 11, col 5
                                                                    (Note 1-1)
   6   Annual Allocation Factor for G&C Depreciation Expense        (line 5 divided by line I col 3)                   0.00%         0.00%


       TAXES OTHER THAN INCOME TAXES
   7   Total Other Taxes                                            Sch. 1-1-22A, p 3, line 20 col 5
   8   Annual Allocation Factor for Other Taxes                     (line 5 divided by line I col 3)                   0.00%         0.00%


   9   Annual Allocation Factor for Expense                         Sum of lines 4, 6 and 8                                          0.00%

       INCOME TAXES
  10   Total Income Taxes                                           Sch. H-22A, p 3, line 27 col 5
  11   Annual Allocation Factor for Income Taxes                    (line 8 divided by line 2 col 3)                   0.00%         0.00%


       RETURN
  12   Return on Rate Base                                          Sch. H-22A, p 3, line 28 col 5
  13   Annual Allocation Factor for Return on Rate Base             (line IO divided by line 2 col 3)                  0.00%         0.00%

  14   Annual Allocation Factor for Return                          Sum ol'lines 11 and 13                                           ().00%




                                                              A-66
                                                  Case: 21-4072                Document: 52                       Filed: 08/22/2023             Page: 100



                                                                                                                                                                                              Attachment H-22A
                                                                                                                                                                                                    Appendix B
                                                                                                                                                                                                     Page 2 of2
                                                                                                                                                                            For the 12 months ended 12/31/_ _
                                                                                                 Rate Formula Template
                                                                                           Utilizing Attachment H-22A Data

                                                                                   Duke Energy Ohio and Duke Energy Kentucky
                                                                                    RTEP- Transmission Enhancement Charges

                                                                               Network Upgrade Charge Calculation By Project

                 (1)          (2)         (3)            (4)                 (5)                   (6)                (7)             (8)           (9)                   (10)                 (11)              (12)

I
r
     Line      Project
                           RTEP         Project
                                                      Annual
                                                     Allocation
                                                                    I     Annual
                                                                                                Project
                                                                                                                    Annual          Annual        Project
                                                                                                                                                                     Annual Revenue       True-Up
                                                                                                                                                                                                               Network
                          Project       Gross                             Expense                                 Allocation        Return      Depreciation                                                   Upgrade
     No.       Name                                  Factor for                                Net Plant                                                              Requirement        Adjustment
                          Number         Plant                            Charge                               Factor for Return    Charge       Expense                                                       Charge
                                                      Expense



                                                                                                                                                                                                               Sum Col.
                                                     (Page I line       (Col. 3 * Col.                                              (Col. 6 *                        (Sum Col. 5, 8                             10& 11
                                       (Note C)          7)                   4)           I   (Note D)        (Page 1 line 12)      Col. 7)     (Note E)                &9)                 (Note F)          (Note G)
                                                                                                                                                                 I                                         i
         lb                                  -             0.00%                   $0 00       $         -                  0.00%       $0.00               $0                   $0.00   $       -                $0.00

         le                          1:      -             0.00%                   $000        $         -                  0.00%       $0.00               $0                   $0.00   $       -                $0.00

                                                                                                                                                                 I                                         I
         2    Annual Totals                                                                                                                                                        $0                 $0                $0

         3    RTEP Transmission Enhancement Charges for Attachment H-22A, Page 1, Line 5c                                                                                                                               $0


    Notes:
    A         Gross Transmission Plant is that identified on page 2 line 2 of Attachment H-22A and includes any sub lines 2a or 2b etc. and is inclusive of any CWIP included in rate base when authorized
              by FERC order.
    B.        Net Transmission Plant is that identified on page 2 line 14 of Attachment H-22A and includes any sub lines 14a or 14b etc. and is inclusive of any CWIP included in rate base when
              authorized by FERC order.
    C.        Project Gross Plant is the total capital investment for the project calculated in the same method as the gross plant value in line I and includes CWIP in rate base if applicable. This value
              includes subsequent capital investments required to maintain the facilities to their original capabilities.
    D.        Project Net Plant is the Project Gross Plant Identified in Column 3 less the associated Accumulated Depreciation.
    E.        Project Depreciation Expense is the actual value booked for the project and included in the Depreciation Expense in Attachment H-22A page 3 line 12.
    F.        True-Up Adjustment is included pursuant to a FERC approved methodology if applicable.
    G.        The Network Upgrade Charge is the value to be used in Schedule 26.
    H.        The Total General and Common Depreciation Expense excludes any depreciation expense directly associated with a project and thereby included in page 2 column 9.




                                                                                                             A-67
                Case: 21-4072                  Document: 52              Filed: 08/22/2023                      Page: 101




                                                                                                                              Attachment H-22A
                                                                                                                                    Appendix C
                                                                                                                                     Page I or2
                                                                                                            For the 12 months ended 12/3
                                                              Rate Formula Template
                                                        Utilizing Attachment H-22A Data

                                                  Duke Energy Ohio and Duke Energy Kentucky
                                                             Legacy MTEP Credit

                                              To be completed in conjunction with Attachment H-22A

                                      (I)                                                                                             (4)



    Linc
    No.                                                                 Attachment H-22A Page, Linc, Col.         Transmission     Allocator

           TRANSMISSION PLANT
           Gross Transmission Plant - Total                             Sch. I-I-22A, p 2, line 2 col 5 (Note
                                                                        A)
2          Net Transmission Plant - Total                               Sch. I-l-22A, p 2, line 14 col 5 (Note
                                                                        B)
           O&M EXPENSE
3          Total O&M Allocated to Transmission                          Sch. ll-22A, p 3, line 8 col 5
4          Annual Allocation Factor for O&M                             (line 3 divided by line I col 3)                0.00%               000%

           GENERAL AND COMMON (G&C) DEPRECIATION
           EXPENSE
5          Total G&C Depreciation Expense                               Sch. H-22A, p 3, lines IO & 11, col 5
                                                                        (Note H)
6          Annual Allocation Factor for G&C Depreciation Expense        (line 5 divided by line I col 3)                0.00%               0.00%

           TAXES OTHER THAN INCOME TAXES
7          Total Other Taxes                                            Sch. H-22A, p 3, line 20 col 5
8          Annual Allocation Factor for Other Taxes                     (line 5 divided by line I col 3)                0.00%               0.00%


9          Annual Allocation Factor for Expense                         Sum oflines 4, 6 and 8                                          0.00%

           INCOME TAXES
10         Total Income Taxes                                           Sch. H-22A, p 3, line 27 col 5
II         Annual Allocation Factor for Income Taxes                    (line 8 divided by line 2 col 3)                0.00%               0.00%


           RETURN
12         Return on Rate Base                                          Sch. I-l-22A, p 3, line 28 col 5
13         Annual Allocation Factor for Return on Rate Base             (line IO divided by line 2 col 3)               0.00%               0.00%


14         Annual Allocation Factor for Return                          Sum of lines 11 and 13                                          0.00%




                                                                  A-68
                                                Case: 21-4072            Document: 52                     Filed: 08/22/2023                       Page: 102



                                                                                                                                                                                                 Attachment H-22A
                                                                                                                                                                                                       Appendix C
                                                                                                                                                                                                        Page 2 of2
                                                                                                                                                                               For the 12 months ended 12/31/_ _
                                                                                             Rate Formula Template
                                                                                       Utilizing Attachment H-22A Data

                                                                               Duke Energy Ohio and Duke Energy Kentucky
                                                                                          Legacy MTEP Credit

                                                                           Network Upgrade Charge Calculation By Project

             (I)          (2)             (3)           (4)              (5)                   (6)              (7)                 (8)               (9)                   (I 0)                 (11)              (12)


                       MTEP           Project
                                                     Annual
                                                                      Annual
                                                                                       I                      Annual              Annual            Project                                                       Network
 Line      Project                                  Allocation                              Project                                                                    Annual Revenue        True-Up
                       Project        Gross                           Expense                               Allocation            Return          Depreciation                                                    Upgrade
 No.       Name                                     Factor for                             Net Plant                                                                    Requirement         Adjustment
                       Number          Plant                          Charge                             Factor for Return        Charge           Expense                                                        Charge
                                                     Expense



                                                                                                                                                                                                                  Sum Col.
                                                    (Page I line    (Col. 3 * Col.                                                (Col. 6 *                            (Sum Col. 5, 8                              10& II
                                      (Note C)          7)                4)               (Note D)      (Page I line 12)          Col. 7)         (Note E)                &9)                  (Note F)      I   (Note G)
                                                                                                                                                                                                              I

                                                                                                                                                                                                              I
     lb                                         -         0.00%                $0.00       $         -                0.00%           $0.00                   $0                    $0.00   $            -           $0.00
                                  I$
     le                           I   $         -         0.00% I              $0.00       $         -                0.00%           $0.00                   $0                    $0.00   $            -           $0.00
                                  !
                                                                                                                                                                   i                                          I
                                                                                                                              i               I                    !                                          i
     2    Annual Totals                                                                                                                                                               $0                 $0                $0

     3    Legacy MTEP Credit for Attachment H-22A, Page I, Line 5a                                                                                                                                                         $0


Notes:
A.         Gross Transmission Plant is that identified on page 2 line 2 of Attachment H-22A and includes any sub lines 2a or 2b etc. and is inclusive of any CWIP included in rate base when authorized
           by FERC order.
B.         Net Transmission Plant is that identified on page 2 line 14 of Attachment H-22A and includes any sub lines !4a or 14b etc. and is inclusive of any CWIP included in rate base when
           authorized by FERC order.
C.         Project Gross Plant is the total capital investment for the project calculated in the same method as the gross plant value in line I and includes CWIP in rate base if applicable. This value
           includes subsequent capital investments required to maintain the facilities to their original capabilities.
D.         Project Net Plant is the Project Gross Plant Identified in Column 3 less the associated Accumulated Depreciation.
E.         Project Depreciation Expense is the actual value booked for the project and included in the Depreciation Expense in Attachment H-22A page 3 line 12.
F.         True-Up Adjustment is included pursuant to a FERC approved methodology if applicable.
G.         The Network Upgrade Charge is the value to be used in Schedule 26.
H.         The Total General and Common Depreciation Expense excludes any depreciation expense directly associated with a project and thereby included in page 2 column 9.




                                                                                                     A-69
          Case: 21-4072        Document: 52               Filed: 08/22/2023        Page: 103




                                                                                               Attachment J-1-22A
                                                                                                     Appendix D
                                                                                                      Page I of2
                                          DUKE ENERGY OHIO, INC.
                                           DEPRECIATION RATES

 FERC      Company
Account    Account                                                                                    Actual
Number     Number                                          Description                             Accrual Rates
  (A)        (B)                                               (C)                                      (0)
                                                                                                         %
                                               Wholly Owned Transmission Plant
 350        3403     Rights of Way                                                                     1.54
 352        3420     Structures & Improvements                                                         1.90
 352        3424     Structures & Improvements - Duke Ohio - Loe. in Ky.                               1.90
 353        3430     Station Equipment                                                                 1.44
 353        3434     Station Equipment - Duke Ohio - Loe. in Ky.                                       1.44
 354        3440     Towers & Fixtures                                                                 1.85
 354        3444     Towers & Fixtures - Duke Ohio - Loe. in Ky.                                       1.85
 355        3450     Poles & Fixtures                                                                  2.31
 355        3454     Poles & Fixtures - Duke Ohio - Loe. in Ky.                                        2.31
 356        3460     Overhead Conductors & Devices                                                     1.9 I
 356        3464     Overhead Conductors & Devices - Duke Ohio - Loe. in Ky.                           1.9 I
 357        3470     Underground Conduit                                                               1.43
 358        3480     Underground Conductors & Devices                                                  2.37

                                     Commonly Owned Transmission Plant - CCD Projects
 352        3421     Structures & Improvements - CCD Projects                                          2.50
 352        3425     Structures & Improvements - CCD Projects                                          2.50
 353        3431     Station Equipment - CCD Projects                                                  1.44
 353        3432     Station Equipment - CCD Projects                                                  1.44
 353        3435     Station Equipment - CCD Projects                                                  1.44
 353        3437     Station Equipment - CCD Pn(jects                                                  1.44
 354        3441     Towers & Fixtures - CCD Projects                                                  3.00
 354        3442     Towers & Fixtures - CCD Projects                                                  3.00
 354        3445     Towers & Fixtures - CCD Projects                                                  3.00
 354        3446     Towers & Fixtures - CCD Projects - Loe. In Ky.                                    3.00
 354        3448     Towers & Fixtures - CCD Projects                                                  3.00
 355        3451     Poles & Fixtures - CCD Projects                                                   3.00
 355        3455     Poles & Fixtures - CCD Projects                                                   3.00
 356        3461     Overhead Conductors & Devices - CCD Projects                                      2.50
 356        3462     Overhead Conductors & Devices - CCD Projects                                      2.50
 356        3465     Overhead Conductors & Devices - CCD Projects                                      2.50
 356        3466     Overhead Conductors & Devices - CCD Projects - Loe. In Ky.                        2.50


                                     Commonly Owned Transmission Plant - CD Projects
 352        3423     Structures & Improvements - CD Projects                                           2.50
 353        3433     Station Equipment - CD Projects                                                   1.44
 353        3438     Station Equipment - CD Projects                                                   1.44
 354        3447     Towers & Fixtures - CD Projects                                                   3.00
 356        3467     Overhead Conductors & Devices - CD Projects                                       2.50


                                                    General and Intagible Plant
 303        3030     Miscellaneous Intangible Plant                                                    20.00
 389        3890     Land and Land Rights                                                               NIA
 390        3900     Structures and Improvements                                                        2.50
 391        3910     Office Furniture and Equipment                                                     2.00
 391        391 I    Electronic Data Processing Equipment                                              20.00
 391        3920     Transportation Equipment                                                           8.33
 391        3921     Trailers                                                                          4.25
 392        3940     Tools, Shop & Garage Equipment                                                     4.00
 392        3950     Laboratory Equipment                                                               6.67
 393        3960     Power Operated Equipment                                                           5.88
 393        3970     Communication Equipment                                                            6.67
 394        3980     Miscellaneous Equipment                                                            5.00




                                                  A-70
          Case: 21-4072      Document: 52                Filed: 08/22/2023       Page: 104




                                                                                             Attachment H-22A
                                                                                                   Appendix D
                                                                                                    Page 2 of2
                                    DUKE ENERGY KENTUCKY, INC.
                                       DEPRECIATION RA TES

 FERC       Company
Account     Account                                                                                 Actual
Number       Number                                       Description                            Accrual Rates
  (A)         (B)                                            (C)                                     (0)
                                                                                                      %
                                                       Transmission Plant
 350         3501     Rights of Way                                                                  1.48
 352         3520     Structures & Improvements                                                      0.41
 353         3530     Station Equipment                                                              2.25
 353         3532     Station Equipment - Major                                                      2.77
 353         3535     Station Equipment - Electronic                                                 9.55
 355         3550     Poles & Fixtures                                                               2.28
 356         3560     Overhead Conductors & Devices                                                  231

                                                  General and Intangible Plant                      20.00
 303         3030     Miscellaneous Intangible Plant                                                 1.77
 390         3900     Land and Land Rights                                                          I 8.56
 391         39110    Structures and Improvements                                                    6.53
 392         3921     Electronic Data Processing Equipment                                           4.14
 394         3940     Transportation Equipment                                                       6.93
 397          3970    Stores Equipment




                                                A-71
                Case: 21-4072                   Document: 52               Filed: 08/22/2023                   Page: 105




                                                                                                                                  Attachment !-l-22A
                                                                                                                                        Appendix E
                                                                                                                                             Page I
                                                                                                               !'or the 12 months ended 12/3

                                                               Rate Formula Te111plate
                                                         Utilizing Attach111cnt H-22A Data

                                                  Duke Energy Ohio and Duke Energy Kentucky
                                             Firm PTP Service Revenue Credit Adjust111ent Calculation

                                              To be co111pleted in conjunction with Attach111ent H-22A

                                              (I)                                                        (2)                            (3)

    No.                                                                                             Reference                    Company Total

          REVENUE CREDIT TRUE-UP
            Difference Between Revenue Received In PJM vs. Midcontinent ISO                          (Note A)                                    $0


          ACCUMULATED HA LANCE OF REVENUE CREDIT TRUE-LIP
2           Accu111ulated Balance of Deferral                                                        (Note B)                                    $0
3           lnco111e Tax Rate for Deferral Calculation                                               (Note C)                                 0.00%
4           Deferred Income Taxes on Accumulated Deferral (line 2 * line 3)                                                                      $0


          Accumulated Deferral for Carrying Cost Calculation (Linc 2 - Line 4)                                                                   $0


          INCOME TAXES
6           CIT= (T/(1-T)) * (I - (WCLTD/R))                                            Attachment !-1-22, page 3, line 22                    0.00%



7         Inco111e Taxes (Line 6 * Line 9)                                                                                                       $0


          CARRYING COST ON DEFERRAL
8           FERC Refund Rate                                                                         (Note D)                                 0.00%
9           Carrying Cost (Linc 5 * Line 8)                                                                                                      $0


IO        Revenue Credit Adjustment (Line I + Linc 7 + Linc 9)                                                                                   $0


Notes
A.         From Appendix E, Workpaper, Colu111n (4).
B.         Accumulated balance of deferral as of Dece111ber 31 st of the year prior to effective date of new rates.
C.         Effective deferred tax rate during applicable test year.
D.         FERC Refund Rate is the approved rate as of December 31 of calendar prior to the rate year (see 18 C.F.R. Section 35.19a).




                                                                   A-72
                                                          Case: 21-4072                            Document: 52                          Filed: 08/22/2023                        Page: 106



                                                                                                                                                                                                                                     Attachment H-22A
                                                                                                                                                                                                                                           Appendix E
                                                                                                                                                                                                                                            Workpaper

                                                                                                            Duke Energy Ohio and Duke Energy Kentucky

                                                                                              Worksheet for Firm PTP Senrice Revenue Credit Adjustment Calculation

    (I)                        (2)                                      (3)                                   (4) -(2)-(3)                                     (5)                        (6)-(4)-(5)            (7) - Prior month's Balance + (6)
              Actual Firm PTP Sen:ice Revenue                Actual Firm PTP Service             Difference Between Revenue Received          Monthly True-Up Adjustment Included In
            Included in Test Year Rate Calculation          Revenue Received from PJM            and A.mount in Rates Excluding True          H-22A Net Revenue Requirement (1\.'ote   Amount Deferred for   Accumulated Balance of Deferred Fi:-m PTP
Period                    (Note Al                                   (Note Bl                                      UJ?.                                        C)                       Future Recove!r         Service Revenue Credit Adiustment
Jan-12
Feb-12
Mar-12
Apr-12
May-12
Jun-12
Jul-12
Aug-12
Sep-12
Oct-12
Nov-12
Dec-12
Total

Jan-13
Feb-13
Mar-13
Apr-13
May-13
Jun-13
Jul-13
Aug-13
Sep-13
Oct-13
Nov-13
Dec-13
Total                                                                                                                                        $


Jan-14
Feb-14
Mar-14
Apr-14
~fay-14
Jun-I~
Jul-14
Aug-14
Sep-14
Oct-14
't\ov-14
Dec-14
Total

Jan-15
Feb-15
Mar-15
Apr-15
\fay-15
Total

Notes.
A          Monthly Firm PTP service revenue from Midcontinent ISO during test year applicable to currently effectives NITS and PTP service rates
B.         Actual monthly Firm PTP service revenue received from PJM during current period.
C          Recovery of deferral begins with the first period for billing rates approved using a test year for Attachment H-22A that includes actual operations in PJM.
           The recovery of the amounts deferred between January 1, 2012, and December 31, 2012, will begin on June 1, 2013, and will end on May 31, 2014
           The recovery of the amounts deferred between January 1, 2013 and May 3 L 2013, v.-ill begin on June L 2014, and v.-i!l end on May 3 I. 2015




                                                                                                                              A-73
     Case: 21-4072          Document: 52           Filed: 08/22/2023          Page: 107




                           ATTACHMENT H-22B
              DEOK FORMULA RATE IMPLEMENTATION PROTOCOLS

Definitions

"Annual Transmission Revenue Requirements" means the result produced by populating the
Formula Rate Template with data as provided by the Formula Rate.

"Annual Update" means the posting and informational filing submitted by DEOK on or before
May 15 of each year that sets forth the DEOK Cost of Service ("COS") for the subsequent Rate
Year.

"Discovery Period" means the period after each annual Publication Date to serve information
requests on DEOK as provided in Section 2,b below.

"DEOK" means Duke Energy Kentucky, Inc., and Duke Energy Ohio, Inc.

"First Rate Year" means the period that begins on January I, 2012, and ends on May 3 I, 2012.

"Formal Challenge" means a challenge to an Annual Update submitted to the Federal Energy
Regulf:ltory Commission ("FERC") as provided in Section 3.a below.

"Formula Rate" means these Formula Rate lmplemcntation Protocols (to he included as
Attachment H-22B of the PJM Interconnection, L.L.C. ("P.IM"), FERC Electric Tariff
("PJM Tariff')) and the Formula Rate Template.

"Formula Rate Template" means the collection of formulae, and worksheets, unpopulated with
any data, to be included as Attachment H-22A of the PJM Tariff.

"Interested Party" means any person or entity having standing under Section 206 of the Federal
Power Act ("FPA") with respect to the Annual Update.

"Material Changes" means (i) material changes in DEOK's accounting policies and practices, (ii)
changes in FERC's Uniform System of Accounts ("USofA"), (Iii) changes in FERC Form No. I
reporting requirements as applicable, or (iv) changes in the FERC's accounting policies and
practices, which change causes a result under the Formula Rate different from the result under the
Formula Rate as calculated without such change.

"Preliminary Challenge" means a written challenge to the Annual Update submitted to DEOK as
provided in Section 2,a below.

"Protocols" means these Formula Rate Implementation Protocols (to be included as Attachment
H-22B of the PJM Tariff).

"Puhlication Date" means the date on which the Annual Update is posted under the provisions of
Section 1.b below.




                                             A-74
     Case: 21-4072          Document: 52           Filed: 08/22/2023          Page: 108




"Rate Year" means the twelve consecutive month period that begins on June I and continues
through May 31 of the subsequent calendar year except for the First Rate Year.

"Review Period" means the period during which Interested Parties may review the calculations
in the Annual Update as provided in Section 2.a below.

Section 1     Annual Updates

a.     Beginning with the Rate Year that commences on June I, 2012, and during each Rate
       Year thereafter, the Annual Transmission Revenue Requirement calculated in accordance
       with Attachment H-22A and the Network Integration Transmission Service and
       Point-to-Point rates derived therefrom shall be applicable to transmission services
       provided by PJM for the DEOK zone during the Rate Year,

b.     On or before May 15, 2012, and on or before May 15 of each succeeding Rate Year,
       DEOK shall recalculate its Annual Transmission Revenue Requirement, producing the
       "Annual Update" for the upcoming Rate Year, and:
       (i)   post such Annual Update on PJM's Internet website (via a link to the
             Transmission Services page or a similar successor page) as both a .pdf (Po11able
             Document Format) document and a fully-functioning Excel file;
       (ii)  submit such Annual Update as an informational filing with the FERC;
       (iii) provide contact information for inquiries concerning the Annual Update;
       (iv)  send an email or other similar electronic communication to all Interested Parties
             that have previously requested such notification through procedures to be
             established by DEOK that informs the recipient that the Annual Update is
             available and that provides the Uniform Resource Locator or other similar
             identifying location information from which the Annual Update can be obtained,

c.     If the date for making the Annual Update posting/filing should fall on a weekend or a
       holiday recognized by the FERC, then the posting/filing shall be due on the next business
       day.

d.     The date on which the last of the events listed in Section J ,b or 1.c occurs shall be that
       year's "Publication Date."

e.     Within two business days of the Publication Date, DEOK shall also provide notice on
       PJM's Internet website (via a link to the Transmission Services page or a similar
       successor page) of the time, date and location of an open meeting among interested
       parties ("Annual Meeting"). This Annual Meeting shall (i) permit DEOK to explain and
       clarify its Annual Update and (ii) provide interested parties an opportunity to seek
       information and clarifications from DEOK about the Annual Update. The Annual
       Meeting shall take place no sooner than ten ( I 0) days after posting of the notice and no
       later than thirty (30) days after the Publication Date.

f.     Inputs to the formula Rate are based on DEOK's books, which reflect:
       (i)     the FERC's Uniform System of Accounts, and




                                            A-75
     Case: 21-4072           Document: 52               Filed: 08/22/2023               Page: 109




      (ii)   applicable FERC Form No. 11 as each exists as of the later of the date ofDEOK's
             initial filing of the Formula Rate or the last day of the calendar year immediately
             preceding the effective date of the most recent revision to the Formula Rate.

g.    The Annual Update for the Rate Year:
      (i)   shall, to the extent specified in the Formula Rate, be based upon DEOK's FERC
            Form No, 1 data for the most recent calendar year, and to the extent specified in
            the Formula Rate, be based upon the books and records of DEOK consistent with
            Section 1.f above;
      (ii)  shall, as and to the extent specified in the Formula Rate, provide the formula rate
            calculations and all inputs thereto, as well as supporting documentation for data
            not otherwise available in the FERC Form No. 1 that are used in the Formula
            Rate; 2
      (iii) shall provide sufficient information 3 to enable customers to replicate the
            calculation of the formula results from FERC Form No, 1 and other applicable
            accounting inputs and to compare that calculation to that of prior years, including
            all workpapcrs necessary to explain any changes made since the last update, and
            to include as applicable:

             ( 1)    a copy of the FERC Form No. I used for the update if it is not otherwise
                     publicly available;
             (2)     identification of any changes in the formula references to the FERC Form
                     No, I;
             (3)     identification of all adjustments made to the rERC Form No. I data in
                     determining formula inputs, including relevant footnotes to the FERC
                     Form No. I and any adjustments not shown in a FERC Form No, I
                     footnote;


             If the referenced form is superseded, the successor form(s) shall be utilized and supplemented as
             necessary to provide equivalent information as thut provided in the superseded form. If the
             referenced form(s) Is (arc) discontinued, equivalent information as that provided in the
             discontinued form(s) shnll be utilized.
      2.
             fl is the intent of the Formula Rate, including the supporting explanations und al\ocutions
             described therein, thut each input to the Formula Rate will be either taken directly from the FERC
             Form No. 1 for the most recent calendar year or reconcilable to the FERC Form No. I by the
             application of clearly identified and supported information provided by DEOK with the Annual
             Update. Where the reconciliation is provided through a worksheet included in the filed Formula
             Rate Template, the inputs lo the worksheet must meet this trnnsporency standard, and doing so
             will satisfy this trnnspurency requirement for the amounts that urc output from the worksheet und
             input to the main body of the Formula Rate.
      3.
             t\s appropriate, competitively sensitive information may be provide(] only to those persons bound
             by the terms of u suitable confidentiality agreement or protective order.




                                                A-76
     Case: 21-4072           Document: 52               Filed: 08/22/2023                Page: 110




             (4)      a reconciliation of annual and monthly peak demands shown on the FERC
                      Form 1 and annual and monthly peak demands used in the formula in
                      sufficient detail to enable transparent reconciliation of these two measures;
             (5)      a description of those factors influencing any change in the annual revenue
                      requirement, including an identification of any respects in which charges
                      under the formula rate materially differ from the preceding Annual Update
                      (e.g., due to changes in accounting procedures, the purchase or sale of
                      major assets, or other such significant changes) and identification of the
                      major reason(s) for the differences, if any, between the Annual Update and
                      the prior year's Annual Update; and
             (6)      any changes to the data inputs made as a result of a reconciliation made
                      under Section 4 below.
      (iv)   shall describe material changes, if any, in DEOK 's accounting policies, practices
             and procedures from those in effect for the calendar year upon which the
             immediately preceding Annual Update was based that could or did affect the
             charges under the Formula Rate ("Material Accounting Changes"); 4
      (v)    shall be subject to challenge and review only in accordance with the procedures
             set forth in this Attachment 1-1-228, as to the appropriateness of the input data, the
             prudence of the costs and expenditures included for recovery in the Annual
             Update, and the application of the Formula Rate according to its terms and the
             procedures in this Attachment 1-1-228 (including terms and procedures related to
             challenges concerning Material Accounting Changes);
      (vi)   except as provided for in Section 1.j below, shall not seek to modify the Formula
             Rate and shall not be subject to challenge by anyone for the purpose of modifying
             the Formula Rate (i.e., all such modifications to the Formula Rate will require, as
             applicable, a Federal Power Act ("FPA") Section 205 or Section 206 filing).

h.    Formula Rate inputs for rate of return on common equity, depreciation rates and
      Post-Employment Benefits Other Than Pensions ("PBOP") shall be stated values until
      changed pursuant to an FPA Section 205 or 206 filing made effective by the
      Commission, An application under Section 205 or Section 206 to modify stated values
      for depreciation rates or PBOP expense under the Formula Rate or Protocols shall not
      open review of other components of the Formula Rate or Protocols.

i.    Extraordinary property losses recorded in FERC Account 182. I shall be amortized for
      Formula Rate purposes pursuant to a Section 205 or 206 filing made effective by the
      Commission.




             Such notice muy incorporate by reference applicable disclosure statements filed with the Securities
             and Exchange Commission ("SEC"),




                                                A-77
     Case: 21-4072          Document: 52          Filed: 08/22/2023           Page: 111




j.     Any change to the underlying Uniform System of Accounts or FERC Form No, l as
       described in Section I, f above shall be grounds for a presumption that the application of
       the Formula Rate shall be modified to restore the balance of the Formula Rate as
       accepted by the FERC (the intent being to prevent such changes in these underlying
       Uniform System of Accounts or FERC Form No. I from causing an automatic shift in the
       charges calculated under the Formula Rate without input from other interested parties).
       Any interested party seeking changes to the application of the Formula Rate due to a
       change in the Uniform System of Accounts or FERC Form No. I as described in
       Section l .f: shall first raise the matter with DEOK,

Section 2     Annual Review Procedures

      Each Annual Update shall be subject to the following review procedures ("Annual
      Review Procedures"):

a.    Interested parties shall have up to one hundred eighty ( I 80) days after the Publication
      Date (unless such period is extended with the written consent of DEOK or by FERC
      Order) to review the inputs, supporting explantitions, allocations and ctilculations
      ("Review Period") and to notify DEOK in writing, which may be made electronically, of
      any specific challenges, including challenges related to the rate treatment of Material
      Accounting Changes, to the application of the Formula Rate and to chtinges to the
      Uniform System of Accounts or FERC Form No, I as described in Section 1.f, above,
      ("Preliminary Challenge"). Failure to make a Preliminary Challenge or Formal
      Challenge with respect to an Annual Update shall preclude use of these procedures with
      respect to that Annual Update but shall not bar a subsequent Preliminary Challenge or
      Formal Challenge related to a subsequent Annual Update to the extent such Challenge
      affects the subsequent Annual Update.

b.    Interested Parties shall have up to one hundred fifty ( 150) days after each annual
      Publication Date (unless such period is extended with the written consent ofDEOK or by
      FERC Order) to serve reasonable information requests on DEOK. Such information
      requests shall be limited to what is necessary to determine if DEOK has properly applied
      the Formula Rate, the requirements and procedures of this Attachment H-22B, and the
      prudence of the costs and expenditures included for recovery in the Annual Update, and
      shall not otherwise be directed to ascertaining whether the Formula Rate is just and
      reasonable.

c.    DEOK shall make a good faith effort to respond to information requests pertaining to the
      Annual Update within fifteen ( 15) business days of receipt of such requests.
      Notwithstanding anything to the contrary contained in these Protocols, with respect to
      any information requests received by DEOK within the Discovery Period and for which
      DEOK is unable to provide a response within fifteen ( 15) business days after the end of
      the Discovery Period, the Review Period shall be extended day-for-day until DEOK's
      response is provided,




                                            A-78
     Case: 21-4072          Document: 52           Filed: 08/22/2023          Page: 112




d.     To the extent DEOK and any interested party(ics) are unable to resolve disputes related to
       information requests submitted in accordance with these Annual Review Procedures,
       DEOK or any interested party may petition the FERC to appoint an Administrative Law
       Judge as a discovery master, The discovery master shall have the power to issue binding
       orders to resolve discovery disputes and compel the production of discovery, as
       appropriate, in accordance with the Annual Review Procedures and consistent with the
       FERC's discovery rules.

e.     Preliminary Challenges shall be su~ject to the resolution procedures and limitations in
       Section 3, Formal Challenges shall be filed pursuant to these Protocols and shall include
       the information required under 18 C.F.R. § 385,206 (b) (1), (2), (3), (4), and (7).

f.     Preliminary or Formal Challenges related to Material Changes are not intended to serve
       as a means of pursuing other objections to the Formula Rate. Failure to make a
       Preliminary Challenge or Formal Challenge with respect to an Annual Update shall
       preclude use of these procedures with respect to that Annual Update but shall not
       preclude a subsequent Preliminary Challenge or Formal Challenge related to a
       subsequent Annual Update to the extent such Challenge affects the subsequent Annual
       Update,

g.     In any proceeding initiated to address a Preliminary or Formal Challenge or sua sponte
       by the FERC, a party or parties seeking to modify the Formula Rate in any respect shall
       bear the applicable burden under the FPA.

Section 3     Resolution of Challenges

a,     If DEOK and any interested party(ies) have not resolved any Preliminary Challenge to
       the Annual Update within twenty-one (21) days after the Review Period, an interested
       party shall have an additional twenty-one (21) days (unless such period is extended with
       the written consent of DEOK to continue efforts to resolve the Preliminary Challenge) to
       make a Formal Challenge with the FERC, which shall be served on DEOK by electronic
       service on the date of such filing, However, there shall be no need to make a Formal
       Challenge or to await conclusion of the time periods in Section 2 if the FERC already has
       initiated a proceeding to consider the Annual Update. Parties shall make a good faith
       effort to raise all issues in a Preliminary Challenge prior to filing a Formal Challenge;
       provided, however, that a Preliminary Challenge shall not be a prerequisite for bringing a
       Formal Challenge, Failure to notify DEOK of an issue with respect to an Annual Update
       shall not preclude an Interested Party from pursuing such issues in a Preliminary
       Challenge or Formal Challenge.

b,     Any response by DEOK to a Formal Challenge must be submitted to the FERC within
       twenty (20) days of the date of the filing of the Formal Challenge, and shall be served on
       the filing party(ies) by electronic service on the date of such tiling.

c.     In any proceeding initiated by the FERC concerning the Annual Update or in response to
       a Formal Challenge, DEOK shall bear the burden, consistent with Section 205 of the




                                            A-79
      Case: 21-4072          Document: 52            Filed: 08/22/2023           Page: 113




       Federal Power Act, of proving that it has correctly applied the terms of the Formula Rate,
       consistent with Section I .g(v), and that it followed the applicable requirements and
       procedures in this Attachment H-22B, in that year's Annual Update. Nothing herein is
       intended to alter the burdens applied by the Commission with respect to prudence
       challenges.

d.     Subject to judicial review of FERC orders, each Annual Update shall become final as to
       the Annual Transmission Revenue Requirement calculated for the Rate Year for which
       the Annual Update was calculated and no longer subject to challenge pursuant to these
       Protocols or by any other means by the FERC or any other entity on the later to occur of
       (i) passage of the twenty-one (21) day period (or extended period, if applicable) for
       making a Formal Challenge if no such challenge has been made and the FERC has not
       initiated a proceeding to consider the Annual Update, or (ii) a final FERC order issued in
       response to a Formal Challenge or a proceeding initiated by the FERC to consider the
       Annual Update.

e.     Nothing herein shall be deemed to limit in any way the right of DEOK to file unilaterally,
       pursuant to PPA Section 205 and the regulations thereunder, to change the Formula Rate
       or any of its inputs (including, but not limited to, rate of return and transmission incentive
       rate treatment), or to replace the Formula Rate with a stated rate, or the right of any other
       party to request such changes pursuant to Section 206 of the Federal Power Act and the
       regulations thereunder. These Protocols in no way limit the rights of DEOK or any
       Interested Party to initiate a proceeding at the FERC at any time with respect to the
       Formula Rate or any Annual Update consistent with the party's full rights under the FPA,
       including Sections 205, 206 and 306, and the FERC's regulations.

f'.    Su~ject to Section 2.e above, it is recognized that resolution of Formal Challenges
       concerning Material Accounting Changes or related to the Uniform System of Accounts
       or FERC Form No. 1 as described above may necessitate adjustments to the Formula
       Rate input data for the applicable Annual Update or changes to the Formula Rate to
       achieve a just and reasonable end result consistent with the intent of the Formula Rate.

g.     In making or resolving any Preliminary or Formal Challenge under this Section, a party
       may rely on all information provided by DEOK, including information provided under
       the terms of a confidentiality agreement or protective order; provided, however, that
       parties receiving such information pursuant to a confidentiality agreement or protective
       order shall be bound by the restrictions placed by such agreement or order on disclosure
       or use of confidential information.

Section 4      Changes to Annual Informational Filings



       a.     Notice, If any changes are required to be made to the Annual Update, whether
       because of changes made under these Protocols, due to revisions made to a prior year's
       FERC Form No. I report of Duke Energy Kentucky, Inc., or Duke Energy Ohio, Inc., or




                                              A-80
Case: 21-4072          Document: 52            Filed: 08/22/2023            Page: 114




 input data used for a Rate Year or calendar year that wou Id have affected the Annual
 Update for that Rate Year or calendar year, or as the result of any FERC proceeding to
 consider a prior year's Annual Update, DEOK shall promptly notify the Interested
 Parties, file a correction to the Annual Update with the FERC as an amended
 informational filing describing the change(s) and the cost impact, and provide a copy of
 the amended informational filing to PJM for prompt posting by PJM.

 b.      Necessary Changes When Made. Except as provided for below in Section 4.c,
 any corrections or revisions to the inputs and resu !ting rates that are required as a result of
 a change reported in Section 4.a shall be reflected in the next Annual Update, including
 any resulting refunds or surcharges for corrected past charges which shall be made with
 interest as per section 35.19a of the Commission's regulations,

  c,      Changes Made During the Review Period, Unless otherwise agreed by DEOK
  and the Interested Parties, a correction made under Section 4.a prior to the time
  determined for filing of a Formal Complaint shall reset the performance dates under
  Sections 2 and 3 of these Protocols for Interested Party Annual Review, and the revised
· dates shall run from the posting date(s) for each of the corrections, The scope of the
  Annual Review shall then be limited to the aspects of the Formula Rate affected by the
  corrections,




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                                         A-81
            Case: 21-4072     Document: 52       Filed: 08/22/2023      Page: 115




                               ATTACHMENT JJ
                 MTEP PROJECT COST RECOVERY FOR DEOK ZONE

I. Definitions

       A.     DEOK-Duke Energy Ohio, Inc., and Duke Energy Kentucky, Inc.

       B.      Midcontinent ISO or MISO- The Midcontinent Independent System Operator, Inc.

       C.    Midcontinent ISO Tariff-The Midcontinent ISO's Open Access Transmission,
Energy, and Operating Reserve Markets Tariff.

       D.      Midcontinent ISO Transmission Owner - Any transmission owner in the
Midcontinent ISO, including any independent transmission company, responsible for the
construction of MTEP Projects under Attachment FF of the Midcontinent ISO Tariff.

        E.    MTEP - The Midcontinent ISO Transmission Expansion Plan established pursuant
to Attachment FF of the Midcontinent ISO Tariff.

        F.      MTEP Project - A transmission project constructed by DEOK or by Midcontinent
ISO Transmission Owners pursuant to Attachment FF of the Midcontinent ISO Tariff for which all
or a portion of the revenue requirement is allocated to DEOK pursuant to the Midcontinent ISO
Tariff.

        G.     Network Service Peak Load- A Network Service Transmission Customer's share
of the previous year's DEOK zonal peak load (1 CP).

II. Introduction and Purpose

Transmission Customers taking transmission service for deliveries in the DEOK Zone shall pay a
portion of the cost of MTEP Projects constructed by Midcontinent ISO Transmission Owners.
This Attachment JJ sets forth the method by which Transmission Customers taking transmission
service for deliveries into the DEOK Zone are charged for the cost of MTEP Projects constructed
by Midcontinent ISO Transmission Owners. This Attachment also sets forth the method by which
the PJM Office of the Interconnection will transmit to the Midcontinent ISO the revenues received
from Transmission Customers taking transmission service for deliveries into the DEOK Zone for
the cost of MTEP Projects to be constructed by Midcontinent ISO Transmission Owners. Finally,
it addresses the manner in which the PJM Office of the Interconnection will distribute to Duke
Energy Ohio, Inc. on behalf of DEOK the revenues received from the Midcontinent ISO for the
cost of MTEP Projects constructed by DEOK.

III. MTEP Project Revenue Requirements Allocated to DEOK Zone

   A. Recovery of Annual Revenue Requirements for Midcontinent ISO Transmission
      Owners' MTEP Projects




                                            A-82
         Case: 21-4072        Document: 52       Filed: 08/22/2023       Page: 116




      Each month, and pursuant to agreed-upon settlement procedures, PJM shall bill each
      Network Customer in the DEOK Zone thirty percent (30%) of the Network Customer's
      monthly share of the revenue requirements allocated to DEOK for MTEP Projects
      constructed by the Midcontinent ISO Transmission Owners, as determined in accordance
      with the Midcontinent ISO Tariff and as billed by the Midcontinent ISO to PJM, and shall
      bill the balance of such revenue requirements to Duke Energy Ohio, Inc. (on behalf of
      DEOK). For charges associated with Midcontinent ISO Tariff Schedule 38 (or successor
      schedule), a Network Customer's share of such revenue requirements shall be based on its
      Network Service Peak Load within the DEOK Zone divided by the total Network Service
      Peak Load within the DEOK Zone. For charges associated with Midcontinent ISO Tariff
      Schedule 39 (or successor schedule), the Network Customer's charge in any month shall be
      based upon the methodology set forth in Schedule 39, as it may be amended from time to
      time, applied to the energy withdrawals of the Network Customer in that month rather than
      to the energy withdrawals of a Withdrawing Transmission Owner (as such term is defined
      in Schedule 39).

   B. Revenue Distribution from Payments Made by Transmission Customers in DEOK
      Zone; Shortfall in Payment

      Each month, and pursuant to agreed-upon settlement procedures, the PJM Office of the
      Interconnection shall remit to the Midcontinent ISO the revenue requirements allocated to
      DEOK for MTEP Projects constructed by the Midcontinent ISO Transmission Owners, as
      set forth in Section III.A. In addition, in the event that the revenues received by PJM from
      a Network Customer pursuant to Section III.A. are less than the Network Customer's share
      of such revenue requirements as calculated pursuant to Section III.A. ("Shortfall"), and
      PJM makes up such Shortfall in its remittance to the Midcontinent ISO, (a) PJM shall apply
      such Shortfall to the financial settlement of Duke Energy Ohio, Inc.' s account (on behalf of
      DEOK), and (b) such Network Customer shall thereafter be obligated to remit such
      Shortfall directly to DEOK instead of to PJM, together with any Late Payment Charges that
      would otherwise be due to PJMSettlement under Section 7. lA of this Tariff DEOK shall
      have all rights to seek recovery of such Shortfall directly from the Network Customer, and
      such rights shall be enforceable by DEOK at FERC and in any court of competent
      jurisdiction. DEOK shall be a third party beneficiary under the Network Customer's
      service agreement with PJM for the limited purpose of seeking recovery of such Shortfall.

IV. DEOK MTEP Project Revenue Requirements Allocated to Midcontinent ISO Zones

   A. Derivation of Annual Revenue Requirements

      Under the methodology provided under Attachment H-22 to this Tariff, DEOK will
      periodically update the Annual Revenue Requirements for MTEP Projects constructed by
      DEOK. No later than May 15 each year, DEOK shall provide these updated revenue
      requirements to the Midcontinent ISO for the upcoming June 1 May 31 rate year.

   B. Allocation of Annual Revenue Requirements to Midcontinent ISO Zones




                                            A-83
      Case: 21-4072       Document: 52       Filed: 08/22/2023     Page: 117




   The portion of the Annual Revenue Requirements derived under Section IV.A that will be
   recovered from transmission customers taking transmission service in the Midcontinent
   ISO shall be calculated by the Midcontinent ISO in accordance with the Midcontinent ISO
   Tariff.

C. Monthly Revenue Requirements Owed from the Midcontinent ISO Zones

   Each month, and pursuant to agreed-upon settlement procedures, the Midcontinent ISO
   shall remit an amount to the PJM Office of the Interconnection from revenues collected by
   the Midcontinent ISO in proportion to DEOK's annual pro-rata share of the total Network
   Upgrade Charge as described in the Midcontinent ISO Schedule 38.

D. Revenue Distribution from Payments Made by Transmission Customers in the
   Midcontinent ISO

   Pursuant to agreed-upon settlement procedures, PJM shall credit to Duke Energy Ohio,
   Inc.'s account (on behalf of DEOK) in the subsequent month the amount of revenue
   requirements that the Midcontinent ISO remits to PJM pursuant to Section IV.C for the
   prior month.




                                       A-84
